                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN
                             GREEN BAY DIVISION


CONVERGEN ENERGY WI LLC and THEODORE
HANSEN,
                                               Index No.
                              Plaintiffs,

-against-                                      Brown County Circuit Court,
                                               Wisconsin, Case No. 2020-CV-000495
CONVERGEN ENERGY LLC, L’ANSE WARDEN
ELECTRIC COMPANY, LLC, and LIBRA CAPITAL
US, INC.,

                               Defendants.


                               NOTICE OF REMOVAL


TO:    Honorable William C. Griesbach          Attorney Benjamin LaFrombois
       United States District Court            Von Briesen & Roper, S.C.
       125 South Jefferson Street              2905 Universal Street, Suite 2
       P.O. Box 22490                          Oshkosh, WI 549404
       Green Bay, WI 54305-2490

       Clerk to:
       Honorable Marc A. Hammer
       Brown County Courthouse
       100 South Jefferson Street
       Green Bay, WI 54301




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       PLEASE TAKE NOTICE THAT Defendants, Convergen Energy LLC (“CE”),

L’Anse Warden Electric Company, LLC (“Lanse”), and Libra Capital US, Inc. (“Libra”)

hereby removes Case No. 2020-CV-000495 from the Circuit Court for Brown County,

Wisconsin, to the United States District Court for the District of Wisconsin, Eastern

Division, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, and as grounds for removal states

as follows:

                                NATURE OF THE CASE

       1.      On May 14, 2020 Plaintiffs Convergen Energy WI, LLC (“CE-Wisconsin”)

and Theodore Hansen (“Hansen”) filed a Complaint in the Circuit Court for Brown County,

Wisconsin, styled, Convergen Energy WI, LLC et al vs. Convergen Energy LLC et al, Case

No. 2020CV000495 (the “State Court Action”). A copy of the Complaint, with exhibits, is

attached hereto as Exhibit 1.

       2.      Defendants were not served with the State Court Action summons and

Complaint until May 15, 2020.

       3.      In the State Court Action, the Plaintiffs seek declaratory judgment and

allege that a series of agreements have released Plaintiffs from claims that were detailed in

Defendants’ draft complaint that was shared with Plaintiffs on May 11, 2020 and ultimately

filed in the U.S. District Court for the Southern District of New York the same day the

State Court Action was filed.

       4.      In its prayer for relief, Plaintiffs seek attorneys’ fees, expenses and the

following declarations that:




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               a. “they have been released of all claims that Libra or CE may have had

                     against Plaintiffs CE-Wisconsin and Hansen, including but not limited

                     to the claims set forth in the Draft New York Complaint.”

               b. “CE and Libra knew of and consented to all material conditions and

                     terms of the acquisition prior to closing, such that the claims set forth in

                     the Draft New York Complaint are without merit.”

               c. “the terms of the Pellet Supply Agreement are fair and enforceable.”

               d. “the terms of the Services Agreement are fair and enforceable.”

THERE IS COMPLETE DIVERSITY OF CITIZESHIP BETWEEN PLAINTIFFS

                                    AND DEFENDANTS

       5.      The Complaint in the State Court Action alleges that CE-Wisconsin is a

Delaware limited liability company and “currently a wholly-owned subsidiary of

NianticVista Energy, LLC” (“Niantic”) (Cmplt. ¶ 9).

       6.      For purposes of establishing the citizenship of the Partnership for diversity

jurisdiction, the well-established rule is that, “General partnerships, limited partnerships,

joint stock companies, and unincorporated membership associations all are treated as

citizens of every state of which any partner or member is a citizen.” Indiana Gas Co. v.

Home Ins. Co., 141 F.3d 314, 317 (7th Cir. 1998) (citing Carden v. Arkoma Associates, 494

U.S. 185 (1990)).

       7.      Libra is a Delaware Corporation with a principal place of business in New

York. (Declaration of Michael Stolper ¶ 3) (“Dec.”).

       8.      Lanse is a Delaware limited liability company and wholly owned subsidiary

of CE. (Dec. ¶ 4).




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       9.      CE is a Delaware limited liability company and wholly owned subsidiary

of Convergen Energy Holdings LLC, a Delaware limited liability company. (Dec. ¶ 5).

       10.     Convergen Energy Holdings LLC is a wholly owned subsidiary of First

North American Holdings II, Inc., a Delaware corporation. (Dec. ¶ 6).

       11.     Upon information and belief, CE-Wisconsin and Niantic are not citizens of

Delaware or New York. (Dec. ¶ 7). Plaintiffs have requested Defendants identity the

members of CE-Wisconsin and Niantic but have not received an answer. (Dec. ¶ 8).

              THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

       12.     The Plaintiffs seek attorneys’ fees in addition to declaratory judgement on

claims in excess of $10,000,000.00 as alleged in Defendants’ complaint filed in filed in the

U.S. District Court for the Southern District of New York and in Defendants’ draft

complaint attached to the Complaint in the State Court Action, thereby putting its claims

well above the threshold of an amount exceeding $75,000.00 in controversy as required for

diversity jurisdiction under 28 U.S.C. § 1332(a). Indeed, the breach of fiduciary duty claim

and aiding and abetting claims against Hansen are valued in excess of $10,000,000.00. The

rescission claim against CE-Wisconsin is alone valued in excess of $4,000,000.00.

       13.     Although Plaintiffs have not specifically quantified their damages because

they are seeking a declaratory judgment, aggregating the actual and punitive damages

Defendants seek to avoid with the State Court Action, the amount in controversy certainly

exceeds $75,000.00, exclusive of interests and costs.

       14.     Legal fees and attorney fees “count toward the jurisdictional minimum if

the party is entitled to recover them.” Willis v. Tyco Int’l, No. 10-CV-293, 2010 WL

3835249, at *1 (E.D. Wis. Sept. 27, 2010).




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       15.     Plaintiffs’ State Action is one that may be removed to this Court by

Defendants pursuant to the provisions of 28 U.S.C. §§ 1332(a) and § 1446(b) in that it is a

civil action in which there is complete diversity of citizenship between Plaintiffs and

Defendants and the amount in controversy exceeds the sum of $75,000.00, exclusive of

interest and costs.

       16.     The United States District Court for the Eastern District of Wisconsin,

Green Bay Division is the appropriate venue for removal of Plaintiffs’ State Action

pursuant to 28 U.S.C. § 1441, which permits any civil action brought in any state court in

which the District Courts of the United States have original jurisdiction to be removed to

the District Court of the United States for the district and division embracing the place

where the state court action is pending. 28 U.S.C. § 1441(a).

       17.     Defendants reserve the right to amend or supplement this Notice of

Removal.

       18.     By filing this Notice of Removal, Defendants do not waive any defenses

that may be available to them.

       19.     Defendants have timely filed this Notice of Removal pursuant to 28 U.S.C.

§ 1446(b) in that it is filed within thirty (30) days of the date Defendants received a copy

of the Complaint.

       20.     This Notice of Removal is accompanied by written Notice to Plaintiffs, and

a written Notice to Clerk of Removal filed with the Clerk of the Circuit Court of Brown

County, Wisconsin, on this date, all as required by 28 U.S.C. § 1446(d).

               WHEREFORE, Defendants, Convergen Energy LLC, L’Anse Warden

Electric Company, LLC, and Libra Capital US, Inc. provide Notice of Removal of the




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above-styled action pending in the Circuit Court of Brown County, Wisconsin to the United

States District Court for the Eastern District of Wisconsin.


                       Respectfully submitted,


                       LAW FIRM OF CONWAY, OLEJNICZAK & JERRY, S.C.
                       Attorneys for Defendants


                       By: Electronically signed by George Burnett
                             George Burnett
                             231 S. Adams Street
                             P.O. Box 23200
                             Green Bay, WI 54305
                             (920) 437-0476 - Telephone
                              (920) 437-2868 – Facsimile
                             GB@lcojlaw.com
                             State Bar No. 1005964


                             CERTIFICATE OF SERVICE

       I hereby certify that I have on June 2, 2020, served a true and correct copy of the
foregoing via the Court’s e-filing system and email upon the following:

       Attorney Benjamin LaFrombois
       Von Briesen & Roper, S.C.
       2905 Universal Street, Suite 2
       Oshkosh, WI 549404
       blafrombois@vonbriesen.com
                                                     /s/Bonnie K. Houlihan




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       As their Complaint for Declaratory Judgment, Plauitiffs Convergen Energy WI, LLC and

Theodore Hansen, by their attomeys von Briesen & Roper, s.c., hereby do allege and state as

follows:

                                    NATUI2E OF ACTIOti

   1. At the center of this action is the transaction orchestrated by Libra Capital US, LLC

       (hereinafter "I,ibra''), 'and its wholly owned subsidiaiy Convergen Ener~y (hereinafter

       "CE") by Libra's Chief Investment Officer/CE's President, Fidel Andueza (hereinafter

       "Andueza") to divest Libra/CE of Convergen Energy WI, LLC (hei-einafter "CE-

       Wisconsin")

   2. To satisfy debt covenants, Libra needed to raise cash by December 31, 2019. In order to

       do so, Libra directed CE and Fidel to quicicly divest itself of CE-Wisconsin.

   3. Andueza then arranged a transaction, whereby Fidel's subordinate employee at Libra,

       Steven Brooks (hereinafter, "Brooks"), Gregoiy Merle and two of Andueza's contacts,

       Daniel Garcia Escandon and .Ramon Uriarte Inchausti, would acquire CE-Wisconsin

       from CE and Libra. Andueza further arranaed for his contact, Javier Busto Ferraz to

       provide debt financing in the acquisition of CE-Wisconsin.

   4. Libra, tliroubh its employee Anclueza, vvas aware of and approved every detail of the

       transaction.

   5. Inimediately after the transaction closed, Libra denied having knowledge of the persons

       ulvolved in the transaction and sought concessions.




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6. Libra was granted concessions in the foi-ni of additional consideration and a payment by

   Brooks personally as he separated from Libra, each representinb a release and satisfaction

   of the matter.

7. Then on May 11, 2020, Libra demanded an additional payment of S10,000,000 by May

   14, 2020, or it would Eile suit in New York State Courts. A copy of the demand and draft

   New York complaint is attached hereto as Exhibit A. (The `°I3raft iTew York

   Conaplaint.")

8. The Plaintiffs seelc declaratory judbment as to the riglits and duties of the parties and

   persons involved in the transaction.

                                          PARTIES

9. Plaintiff CE-Wisconsin is a Delaware limited liability company registered as a foreign

   limited liability Company in Wisconsin with a principal place of business of 600 Liberty

   Street, Green Bay, WI 54304. CE-Wisconsin is currently a wholly-owned subsidiai-y of

   NianticVista Energy, LLC (hereinafter, "hliantic")

10. Plaintiff Theodore Hansen (hereinafter "FIansen") is an adult private person with no legal

   disabilities with an address. Hansen is a resident of the State of Wisconsin, with an

   address of 798 Terra Cotta Drive, Neenah, WI 54956. At all relevant times, Hansen was

   the chief eYecutive officer of CE-Wisconsin. Hansen reported to Fidel Andueza at Libra.

11. Defendant CE, is a Delaware linuted liabilitv company, with its registered agent as

   Corporation Service Company, 251 Little Falls Drive, Wilminbton, Delaware. Through

   other interinediate subsidiaries, CE is wliolly owned and controlled by Libra. At all

   relevant times, Andueza served as CE's President.




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12. Defendant L"Anse Warden Electric Company, LLC (hereinafter, "L'Anse"), is Delaware

   limited liability company registered as a forei;n limited liability company in Ylichigan

   with principal place of business 601 Abbot Road, East Lansing, iVII 48823. L'Anse is a

   wholly-owned subsidiary of CE and, tlu-ough other interniediate subsidiaries, is owned

   and controlled by Libra.

13. Defendant Libra is a Delaware corporation registered as a foreign business corporation in

   New Yorlc with a principal place of business of 134 East 40`" Street, New Yorlc, NY

   10016. Libra is a conglomerate consisting of several affiliates and subsidiaries. Thoubh

   inteimediate subsidiaries, Libra wholly owns and controls CE and L'Anse. Andueza

   serves as Libra's Cl>ief Investment Officer.

                              JURISDIC'TION AND VE>1UE

14. The Coui-t has jurisctiction over the parties in this matter pursuant to Wis. Stat.

   § 801.05(1), because each of the parties are engaged in substantial and not isolated

   activities within this state. The Court furtlier has jurisdiction pursuant to Wis. Stat.

   § 801.05(5), in that the action arises out of contracts, promises and ~oods made, created

   or othei-wise perfoi-med in the State of Wisconsin.

15. The Court has jurisdiction over the subject matter of this suit pursuant to Wis. Stat.

   § 806.04, because this suit aslcs the Court to declare rights, status and other legal relations

   between the parties hereto.

16. Venue in Brown County is proper, because CE-Wisconsin's—the acquisition of which is

   at the center of this dispute—principal place of business is located at 600 Liberty Street,

   Green Bay, Wisconsin.




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                                   RELEVANTFACTS
17. CE-Wisconsin (f/k/a Greenwood Fuels) was purchased by Libra, throu~h CE, in 2010.

   CE is a wholly owned subsidiary of Libra, and CE-Wisconsin becaine a wholly-owned

   subsidiary of CE. At all relevant times, Hansen has been the CEO of CE-Wisconsin.

18. CE-Wisconsin developed a proprietary process to convert waste matei-ials such as paper

   and plastic and convert it to a coal substitute fiiel pellet.

19. L'Anse produces electric power utilizing, in part, the Conver;en pellets as fuel.

20. CE-Wisconsin provided management services to L'Anse prior to January 31, 2020.

21. As of December 31, 2019, Libra was required to satisfy bank lendin(y covenants.

22. To satisfy the lending covenants, Libra pursued the sale of CE-Wisconsin with the goal

   of raising cash by Deceniber 31, 2019.

23. The effoi-t to sell CE-Wisconsin was directed by Fidel, Libra's Chief Investment Officer

   and CE's Presicient.

24. Brooks was a senior vice president for Libra who reported to Andueza.

25. Andueza indicated to Broolcs that Libra wanted to sell CE-Wisconsin before December

   31, 2019 and that this could be a~ood investment for Brooks. Andueza further introduced

   personal contacts of lus as investors in the business. Andueza arranged an in-person

   meeting, which he attended, to discuss the investment, and had multiple one-on-one

   conversations with the investors. Andueza further was aware of the financial pressures

   that Libra faced including bank covenants that were tested at year-end and pressured both

   Brooks and the investors to close the transaction.




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26. Andueza contactecl Gregory vlerle, Daniel Garcia Escandon and Ramon Uriarte Inchausti

   to solicit their interest in joining Brooks in the acquisition of CE-Wisconsin, as well as

   Javier Busto Fen•az in the form of debt financing.

27. Andueza worked with Merle, Escandon, Inchausti and Ferraz to structure a transaction

   suitable to Libra.

28. On December 15, 2019, at the request of Andueza, Brooks prepared and emailed a

   transaction summary to Andueza. A copy of the Email and summary report are attached

   hereto as EXhibit B.

29. BMO Harris, N.A. was the lender to Libra/CE related to their investments in L'Anse and

   CE-Wisconsin prior to and after the January 31, 2020 transaction.

30. With Andueza's knowledge and direction, Brooks comtnunicated with BMO in

   connection with the debt financing of the CE-Wisconsin transition.

31. Andueza traveled to Wisconsin to meet with BMO Han-is and helped arrange the debt

   financing for the transaction.

32. Prior to the acquisition, L'Anse and CE-Wisconsin were co-borrowers under a credit

   facility w.ith BiVIO. The facility included a tei-in loan, a line of credit, and a letter of credit

   which was placed as an operating security uncier a provision of a power purchase

   agreement ("PPA") to which L'Anse was a party. CE-Wisconsin supplied fuel pellets to

   L'Anse to use for the production of electricity. After the acquisition, BVIO agreed to

   continue to extend crectit to L'Anse, on the condition that CE-Wisconsin and L'Anse

   enter into a supply contract to ensure that CE-Wisconsin would continue to supply fuel




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   pellets to L'Anse after the acquisition. A copy of the supply agreement is attached hei-eto

   and made a pai-t hereof as Exhibit C(the "Supply Agreement")

33. The Supply Agreement is a matei7al condition under the loan agreements between

   L'Anse and BMO and C.E-Wisconsin and BMO. The loan agreements require, through

   the Supply Agreement, that L'Anse receive an adequate supply of fuel and that CE-

   Wisconsin be paid market price for the fuel. Both conditions were required to unclerwrite

   the loans.

34. Andueza and the investors in the acquisition decided to use Merle's pre-existing

   company, Niantic, to consummate the transaction. Andueza was not only aware of but

   arranged for Merle's and Niantic's role in the transaction.

35. Andueza is an expert in the financial analysis of conipanies in acquisition. He reviewed

   the proposed tenns of the CE-Wisconsin acquisition, including the purchase price, and

   adjudged them fair.

36. The original closing date of the acquisition was January 31, 2020, at which time CE, CE-

   Wisconsin and Niantic entered into the acquisition agreement attached hereto as Exhibit

   -D   (the "Acquisiti®n Agreement")

37. As part of the closing, CE-Wisconsin and L'Anse entered into the Supply Agreement.

38. Also, as part of the closing, CE-Wisconsin and L'Anse entered into an Operations and

   Management Services Agreement, to ensure continuity of management and a smooth

   transition for both companies. (the "Services Agreement"). Pursuant to that agreement,

   CE-Wisconsin, tlu•ough Hansen, has provided management and transition sei-vices to

   L'Anse. A copy of the Services Agreement is attached hereto as Exhibit E.




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39. Upon information and belief, the sale of CE-Wisconsin and Brooks' involvement as an

   investor was known of, approved, and directed by Andueza and other executives at

   CE/Libra, including George Logothetis, Chairman and CEO of Lib.ra.

40. Andueza was fully aware of and intricately involved in all aspects of the negotiation and

   closing of the acquisition, including that Brooks would be one of the investors who

   ultimately acquu•ed a share of CE-Wisconsin.

41. Andueza's knowledge as CE's President and Libra's CIO is attributed to CE and Libra.

   CE and Libra therefore had full knowledge of the negotiation, conditions, terms and

   nature of the acquisition pt-ior to the original January 30, 2020 closing date, and did not

   object to any of the transactions.

42. Nevertheless, immecliately after the acquisition closed, Libra executives approached

   Brooks, accused him of improper self-dealing, breaches of duty, and other wrongdoing in

   connection witli the acquisition, and tln•eatened him with legal action and criminal

   prosecution.

43. Brooks and Libra thereafter negotiated a separation agreement, which was executed on

   Febi-uary 19, 2020 (the "Brooks Separation Agreement").

44. Brooks, CE, CE-Wisconsin, and Niantic also negotiated an Amended and Restated

   Closing Statement, which was executed on Febi-uary 21, 2020. The Amended Closing

   Statement is attached hereto as Exhibit F(the "Amended Closing Statement").

45. The Amended Closing Statement states in pertinent part: "The Buyer and Seller agree

   that there will be no furtlier adjustments or changes to this Amended and Restated




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    Closing Statement after the date hereo£ as both Parties have conlirmed that this

    document is now complete and accurate in all regards.'•

46. Plaintiffs assei-t that tlus languace, read in conjunction with the Acquisition Agreement

    and Brooks Separation Agreement, means that Plaintiffs and Brooks were released from

   any liability that may liave arisen in connection with the acquisition, and othei•wise

    resolved all differences between the parties.

47: Plaintiffs further assei-t that CE and Libra had full knowledge and understanding of the

   tenns of the ne(yotiation, conditions, tei-ins anct nature of the acquisition prior the

   execution of the Amended Closing Statement.

48. On or about May 11, Plaintiffs received an email and the attached Draft New York

   Complaint from Attorney iVlichael Stolper, on behalf of Libra. (See Exhibit A).

49. Attorney Stolper's email threatens that he will file the Draft New Yorl: Complaint no

   later than noon on May 14, 2020, if Plaintiffs and Brooks did not tirst resolve the matter.

   (See Exhibit A).

50. The Draft New York Complaint levels sevet:al causes of action against CE-Wisconsin, its

   owner ,Niantic, Hansen and Brooks, generally alleging that Brooks fi•audulently

   engineered an advantabeous deal for himself, Niantic, CE-Wisconsin and Hansen without

   Libra's knowledge.

51. The Draft New Yorlc Complaint fiu-ther asserts that the Pellet Supply Agreement is

   fi•audulent and unenforceable.




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52. The Draft New York Conlplaint furtlier asserts tllat the Services A;reement, which

    provides compensation to CE-Wisconsin for transition services provided to L'Anse

    tluou`h Hansen, is unfair, fi•audulent and unenforceable.

53. Plaintiffs deny any and all liability for all claims a~ainst them asserted in the Draft New

    York Complaint.

54. The Draft New York Complauit is predicated on the notion that the claims set forth

   therein sui-vived the acquisition of CE-Wisconsin, as recorded in the Acquisition

   Abreement and the Amended Closin~ Statenient. As noted above, Plaintiffs assert that

   all such claiins have been released.

55. The Draft New York Complaint is further predicated on the notion that Libra and CE

   were unaware of the material tei•ms and conditions underlvin~ the Acquisition A~reement

   and the Amended Closing Statement. As set forth sccpra, Libra and CE, throubh Anclueza

   and others, had fiill knowledge of, and consented to, the terms and conditions underlying

   the Acquisition A~reement and the Amended Closinb Statement.

56. As a result, there is an actual and justiciable controversy between the parties warrantula

   a declaration by the Court pursuant to Wis. Stat. § 806.04.

                    COUNT I: DECLARATORY JUDGEiVTENT

57. Plaintiffs incoiporate paragi•aphs 1 tluough 58 of this complaint as if f-ully set forth

   herein.

58. Section 806.04 of the Wisconsin Statutes confers upon courts within this state the "power

   to declare ri~hts, status and other legal relations whether or not further relief is or could

   be claimed." Wis. Stat. § 806.04(l).




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59. Parties to contracts are proper pai-ties to seek a declaratory judgment:

           Any person interested under a deed, will, wt-itten contract or other writings
           constitutin; a contract ... may have determined any question of
           construction or validity arising under the ... contract or fi•anchise and
           obtain a declaration of riglits, status or other legal relations thereunder.

    Wis. Stat. § 806.04(2). A party may seek a court's declaration relatinc, to contract rights,

    "either befoi-e or after there has been a breach thereof." Wis. Stat. § 806.04(3).

60. Wisconsin's declaratory judgment statute is "remedial; its purpose is to settle and to

   afford relief from uncei-tainty and insectu-ity with respect to rights, status and other le~al

   relations; and is to be liberally construed and administered." Wis. Stat. § 806.04(12).

61. In this matter, contract and equitable ribhts against the Defendants have been asserted by

   Plaintiffs. Plaintifts have a rioht to take advantage of releases granted to them or for their

   benefit in the Acquisition Agreement, and Amended Closing Statement, and to a

   declaration that CE and Libra knew of and consented to all material conditions and ternis

   of the acquisition prior to closing.

62. All justiciability requirements are met. Olson v. Totim of Cottage Gr-ove, 2008 WI 51,

   '(29, 309 Wis. 2d 365, 379-80, 749 N.W.2d 211.

63. Plaintiffs seek a declaration that, pursuant to the Acquisition Agreement, and the

   Amended Closinb Statement, read in conjunction with the Brooks Separation Agreement,

   they have been released of all claims that Libra or CE may have had against Plaintiffs

   CE-Wisconsin and Hansen, including but not limited to the claims set forth i.n the Draft

   New York Complaint.




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    64. Plaintiffs seelc a fi.u-ther declaration that CE and Libra knew of and consented to all

        matei-ial conditions and tenns of the acquisition prior to closing, such that the claims set

        forth in the Draft New York Complaint are without merit.

    65. Plaintiffs further seek a declaration that the terms of the Pellet Supply Agreement are fair

        and enforceable.

    66. Plaintiffs fui-ther seek a declaration that the tenns of the Sei-vices Agreement are fair and

        enforceable.

    67. The declarations plaintiffs seek will also directly impact the interests of .Brooks, who has

       been named a party defendant in this matter as a result.

       WI3EREF®RE, Plaintifls CE-Wisconsin and Hansen hereby ask the Court for the

following relief:

   A. A declaration that, pursuant to the Acquisition Agreement, and the Amended Closing

       Statement, read in conjunction with the Brooks Separation Agreement, they have been

       released of all claims that Libra or CE may have had against Plaintiffs CE-Wisconsin and

       Hansen, including but not limited to the claims set forth in the Draft New York

       Complaint.

   B. A declaration that CE and Libra knew of and consented to all niaterial conditions and

       tei7ns of the acquisition prior to closing, such that the claims set forth in the Dratt New

       York Complaint are without merit.

   C. A declaration that the terms of the Pellet Supply Agreement are fair and enforceable.

   D. A declaration that the terms of the Services Agreement are fair and enforceable.

   E. Any necessary and proper supplementary relief, pursuant to Wis. Stat. § 806.04(8).




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     F. Costs, attotlleys' fees, and expenses allowed by law.

    G. Such fui-ther relief as the Cotn-t deems proper.




Dated this 14°i day of May, 2020.               von BRIESEN & ROPER, s.c.,
                                                Attorneys for Plaintiffs
                                                Electronicallv siQned bi- BerrJcrnaira LaFrotytboi.s. Esc.
                                                Benjamin D. LaFrombois, Esq.
                                                State Bar No. 1027910
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                                                                     EXHIBIT A TO COMPLAINT




-From:-Michael Stolper <mstolper@seidenlegal.com>
Date: Mon, May 11, 2020 at 1:08 PM
Subject: Convergen Legal matter - Time Sensitive
To: stevebrooksl7@gmail.com <stevebrooks17@gmail.com>, ruriarte@moninvest.es <ruriarte@moninvest.es>,
laura.luo@us.kwm.com <laura.luo@us.kwm.com>, vincent.fiiardo@us.kwm.com <vincent.filardo@us.kwm.com>,
greg.merle@riverviewenergy.com <greg.merle@riverviewenergy.com >, ted.hansen@convergenenergV.com
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<brian.mikkelson@convergenenergy.com>
Cc: Robert Seiden <rseiden@seidenlegai.com>, Amiad Kushner <akushner@seidenlegal.com>, Dov B. Gold
<dgold@seidenlegal.com>




To whom it may concern:



Absent resolution of the issues raised in the attached complaint by noon Thursday, May
14, 202.0, we will be seeking relief in a New York court, as time is of the essence due to the
ongoing irreparable harm at issue. Be guided accordingly.



Michael Stolper



Michael Stolper, Esq.

Seiden Law Group, LI,P

469 Seventh Avenue



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SUPREME COURT OF TFIE STATE OF NEW YORK
COUNTY              OF-----------
  ----------------------- NEW     ---
                                      YORK --- -------------------------------------

CONVERGEN ENERGY LLC, L'ANSE WARDEN                                                    Commercial Division
ELECTRIC COiVIPANY, LLC, and LIBRA '
CAPITAL US, INC.

                            Plaintiffs.                                                Index No.

                      -against-
                                                                                       SUNLyIONS
STEVEN J. BROOKS, NIANTICVISTA ENERGY
LLC, GREGORY NIERLE, RIVERVIEW ENERGY                                                  Plaintiffs desibnate New York County
CORPORATION, DANIEL GARCIA ESCANDON,                                                   as the place of trial
RAMON URIARTE NCHAUSTI, CHIPPER
INVESTMENT SCR, SA, URINCHA SL,                                                        The basis of Venue is:
THEODORE JOHN HANSEN, BRIAN R.                                                         Plaintiffs' Principal Place of Business
MIKKELSON, and CONVERGEN ENERGY WI,
LLC,

                            Defendants.



TO THE ABOVE-NAMED DEFENDAi~1TS:

       YOU ARE HEREBY SUlviMONED to answer the complaint in tlus action and to serve
a copy of your answer on the Plaintiffs' Attorney within twenty (20) days after the service of this
summons, exclusive of tlie day of service; and in case of your failure to appear or answer,
judgment will be taken a~ainst you by default for the relief demanded in the complaint.

Dated:                New York, New York
                      May _, 2020

                                                                                          SEIDEN LAW GROUP, LLP




                                                                                          Nlichael Stolper
                                                                                          Dov Byron Gold
                                                                                          Attorneys for Plaintiffs
                                                                                          469 7th Avenue, Suite 502
                                                                                          New York, New York 10018
                                                                                          (212) 337-3502


                                                                                          Attorneys_for Plaintiffs




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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY                   OF NEW YORK
-------------------------------------------------------------- -------------- --------- ------- -- - -- - -- --- - - ---- ---

CONVERGEN ENERGY LLC, L'ANSE WARDEN                                                                                             Coanmercial I)ivision
ELECTRIC COiVIPANY, LLC, and LIBRA
CAPITAL US, INC.,

                                          Plaintiffs,                                                                           Index No.

                                 -against-

STEVEN J. BROOKS, NIANTICVISTA ENERGY                                                                                           COiVIPLAINT
LLC, GREGORY vIERLE, RIVERVIEW ENERGY
CORPORATION, DANIEL GARCL4 ESCANDON,
RANION URIARTE NCHAUSTI, CHIPPER
INVESTiV1ENT SCR, SA, URINCHA SL,
THEODORE JOHN HANSEN, BRIAN R.
iVIIKKELSON, and CONVERGEN ENE.RGY WI,
LLC,


                                 Plaintiffs Convergen Energy LLC ("Convergen"), .L'Anse Warden Electric

Company, LLC (the "Power Plant"), and Libra Capital US, Inc. (the "Company") allege as

follows:


                                                                                ietATIII2E OF AC'TION

                                                 This is a case about corporate betrayal at the highest level; a saboteur who

stole millions of dollars from his employer with the help of fellow deceitful insiders and coi-n.ipt

outside investors.

                                                 Plaintiffs are part of an intei-national conglomerate headquartered in New

Yoi-k known as the Libra Group (the "Group"). Defendant Steven J. Brooks ("Brooks") was,

until his recent teimination, Senior Vice President, Investments, of the Group. Amonb other

responsibilities. Brooks was responsible for overseeing the Group's energy investments, which

included Convergen, a 100% owned subsidiaty of the Group that owns and operates a portfolio

of alternative energy assets includinb two cogeneration or combined head and power (CHP)


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facilities in Manhattan, several biogas facilities in Latvia (Northern Europe), a 20 megawatt

electric power plant in iVlichi~an (tlie Power Plant) and a renewable pellet manufactui~in~ plant in

`Visconsin (the "Pellet Plant"). The Pellet Plant provides renewal fuel pellets to the Power Plant.

                        In 2019, Brooks arranged for the sale of the Pellet Plant to what he

represented was a third party, defendant Nianticvista Energy LLC ("Niantic"). Brooks

introduced defendant Greg Merle as the principal of Niantic and the representative of Niantic's

other investors, to the Conipany's principal at the Company's New York headquarters. Brooks

was the senior Company officer charged with vetting, nebotiating and consununating the

transaction. As part of the sale, Brooks ai-ranaed for the Pellet Plant to continue supplyinb the

Power Plant with fuel pellets pursuant to a 10-year agreement. The sale closed on January 31,

2020.

                4.      Shortly after the sale closed, the Group uncovered evidence of Brooks'

treachery: (i) Brooks was secretly the buyer of the Pellet Plant (i.e., he is an owner ofNiantic);

(ii) Brooks provicled a$2.3 million personal guaranty to finance the purchase; (iii) he also

solicited investments in Niantic from the other defenciants while employed by the Company in

New Yorlc; (iv) the purchase price paid by Brooks and his co-conspirators was at least ten

million dollars less than the fair market value of the Pellet Plant; (v) contrary to Company policy

and practice and in order to ensui-e his multi-million dollar booty, Brooks failed to procure other

competing bids, going so fai- as to affiniiatively rebuff interest fi•om other potential buyers; (vi)

Brooks inflated the price of the pellets in the long tei-m supply contract with the Power Plant,

effectively shitting future profit from the Power Plant to his new business, the Pellet Plant; (vii)

without the knowledge or approval of the Group Brooks instructed Convergen to pay for

hundreds of tllousands of dollars of improvenients to the Pellet Plant right before the closing; and




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(viii) acting in concert with other with other defendants, Brooks failed to account for and then

absconded with S 196,420 in cash that was supposed to be paid to Convergen at the closing. The

Company had unknowingly entrusted the fox with guai-ding the hen house.

                       When his employer confronted Brooks with his self-dealing scheme in a

face-to-face recorded meeting in Manhattan, Brooks, after repeated denials, confessed to his

fi•audulent conduct, saying "I am very much responsible" and acicnowledged the knowing

participation of the other defendants. He later asked for forgiveness and an oppoi-tunity to repay

the Group for what he had done. Unfoi-tunately, despite his confession and expressions of

remorse, Brooks and the other defendants have not remedied tlieir wrongdoing.

               6.      On the contrary, the Group veiy recently discovered that as part of the

Pellet Plant sale, Brooks and his co-conspirators retained access to active Office 365 email

accounts of other Convergen subsidiaries containing higlily proprietaiy and confidential

infoi-mation, including trade secrets. Office 365 is a cloud-based software that includes a hosted

email Exchange Server and data storage, which Convergen uses for email accounts and data

storage. Among other things these files contain records of Convergen's operation and

management of two CHP facilities in Manhattan, the Power Plant in Michigan and Biogas

facilities in Latvia: These Office 365 accounts should have been segregated and migrated to

Convergen as part of the sale. There was absolutely no justification for defendants to maintain

adniinistrator access to the Office 365 accounts of Convergen and its subsidiaries that were

unrelated to the Pellet Plant. Upon this discovery, the Company requested inunediate cessation

of access to and transfer of those Office 365 accounts email files to Convergen. Defendants

refiised. As a result, defendants continue to have unauthoi-ized access to Convergen's emails that

contain proprietaiy infonnation, including financial and personal infoi-mation and intellectual




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property and trade secrets. Defendants also refused to tum over the historical email files of the

Pellet Plant (needed by Convergen for tax, audit, and compliance purposes), presumably to

conceal inci-iminating emails.

                7.      By this action, Plaintiffs seek compensatoiy and punitive damages and

related relief arising out of: (i) the theft of the Company's assets by Brooks and his co-

conspirators; and (ii) defendants' reftisal to hu•n over access to active, proprietaiy email files of

Convergen entities and the Pellet Plant.

                                             PA12'1<'IES

                        Plaintiff Convergen Energy LLC is a Delaware lin-lited liability company

with a principal place of business in New York, New York. Convergen is owned by the Group.

Convergen was the owner of defendant Convergen Energy WI, LLC, the entity that owned and

continues to own the Pellet Plant. Convergen is also the owner of the other entities whose emails

have been misappropi-iated by the defendants.

                9.      Plaintiff L'Anse Warden Electric Company, LLC is a Delaware luiiited

liability company with a principal place of business in L'Anse, Michigan. L'Aiise Warden

Electric Company, LLC is a subsidiary of Convergen and owns the Power Plant that purchases

fuel pellets fi•om the Pellet Plant.

                10.     Plaintiff Libra Capital US, Inc. is a Delaware corporation with a pi-incipal

place of business in New York, New York.

                11.     Defendant Broolcs resides at 201 East 36t1i Street, Apartment 19B, New

York, New York 10016.

                12.     Defendant Convergen Energy WI, LLC is a Delaware limited liability

company with a principal place of business at 600 Libei-ty Street, Green Bay, Wisconsin 54304.




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                13.     Defendant NianticVista Energy LLC is a Delaware limited liability

company with a principal place of business at 222 Ridgedale Avenue, Suite 302, Cedar Knolls,

New Jersey 07927.

                14.     Defendant Gregory Merle ("llerle") is a member and CEO of Niantic and

Brooks' close fi-iend and partner in the scheme to defi•aud Plaintiffs. Merle became the President

of the Pellet Plant after the fraudulent acquisition. Upon infonnation and belief,. Merle resides at

15797 111th Terrace North, Jupiter, Florida 33478-6730.

                15.     Defendant Riverview Energy Corporation ("12iverview") is a Dclaware

coi-poration. Upon infoi-mation and belief, Riveiview has a principal place of business at 6671

W. Indiantown Road, Suite 50, #240, Jupiter, FL 33458. 1Vlerle is the President of Riverview and

Niantic is, upon infoimation and belief, a special puipose entity and instnnnent of Riverview and

Merle.

                16.     Defendant Chipper hzvestment SCR, SA ("Chipper") is a co-investor of

Niantic in the fi•audulent acquisition of the Pellet Plant. Chipper's principal place of business is

at Plaza de La Independencia 6, 28001, Madrid, Spain.

                17.     Defendant Urincha SL ("Urincha") is a co-investor of Niantic in the

fraudulent acquisition of the Pellet Plant. Urincha's principal place of business is at Calle Isla de

Lanzarote 5, Boactilla Del Monte 28660, Madrid, Spain. Upon infonnation and belief, Ui-incha is

Chipper's coi-porate president and advisor.

                18.     Defendant Ramon Uriarte Inchausti ("Iiichausti") is a co-investor of

Niantic in the fraudulent acquisition of the Pellet Plant. Inchausti resides at Calle Isla de

Lanzarote 5, Boadilla Del Monte 28660, Madrid, Spain. Inchausti is an owner of Urincha and

Chipper. Upon information and belief, hlchausti is the president, advisor and attoi-ney- in- fact of




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Urincha.

               19.     Defendant Danielle Garcia Escandon ("Escandon") is a co-investor of

Niantic in the fi•audulent acquisition of the Pellet Plant. Escandon resides at Calle Alcala, 105,

Piso 1 DR, Madrid, 28009, Spain. Upon infonnation and belief, Escandon is an owner of

Clupper. Fuirther upon information and belief, Escandon is a representative and attorney-in-fact

of Clupper.

               20.     Chipper, Escandon, Inchausti, and Urincha are collectively refei-red to as

the "Spanish Investors."

               21.     Defendant Theodore John Hansen ("Hansen") was an employee of

Convergen wlio sei-ved as the President of the Pellet Plant and Vice President of the Power Plant

prior to the fraudulent acquisition. Hansen is now the CEO of the Pellet Plant and resides at 798

TetTa Cotta Drive, Neenah, Wisconsin 54956.

               22.     Defendant Brian R. Mikkelson ("idlikkelson") was an employee and Vice

President of Convergen, Vice President and Controller of the Pellet Plant and Vice President of

the Power Plant prior to the fraudulent acquisition. Mikkelson is now the Controller of the Pellet

Plant and resides at 2144 Barberry Lane, Green Bay, Wisconsin 54304.

                                 JURISDICTION A1>Il) VENUE

               23.     This Coui-t has personal jurisdiction over defendants because each

participatect in and benefitted from the fraudulent scheme orchestrated and consummated in New

Yorlc where Brooks was employed, and where victims of the fraudulent scheme — the Company

and Convergen — are headquartered. Upon infoimation and belief, each clefendant wired money

to New York, d'u•ectly or indirectly thi•ough Niantic, to constimmate the fi•audulent transaction.

Further upon information and belie£ each of the defendants had extensive contacts witli Brooks




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while he was in New Yorlc and employed by the Company in New York as part of the traudulent

scheme set foi-th in this complaint.

               24.     Venue is appropriate in New York County because the acts giving rise to

defendants' misconduct occui-red in substantial part in this county and because the Coinpany and

Convergen (victims of the fraud) are located in this county.

                                  FACTUAL ALLEGATIONS

   A. Background

               25.     The Group is a privately owned international business group that is active

in 35 counties and focused primarily on energy, hospitality, real estate, shipping and aviation that

traces its origin to a shipping company established in 1976. In parallel to its business interests,

the Group is well known for its extensive social programs, which are for the most part focused

on those that have been traditionally denied opportzulity. The Group was founded on the values

of mutual ti-ust, respect, and loyalty and operates with these same values, empowei-ing and

placing significant tnist in its employees and officers. The Group was created and runs on the

premise of empowei-ment, as is well known to anyone that has transacted with the group.

               26.     The Company, a member of the Group, is a 1 5-year-old in-house asset

management and professional service company that supports other companies that are part of the

Group, including Convergen, the Power Plant and the Pellet Plant prior to its sale to Niantic.

               27.     In Januaiy 2014, the Company hired Brooks. Brooks was introduced to the

Company through a close personal relationship with one of the principals of the Group. Brooks

worked closely with a senior officer at the Company's New York office and ove.r time Broolcs

was elevated to Senior Vice President, Investments, of the Group.

               28.     One of the areas that Brooks oversaw as a Senior Vice President (and for




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the relevant period here) was Convergen's investments in sustainable enervy, including the Pellet

Plant. The Pellet Plant produces cost-effective fuel alternatives that can be used as a substitute

for traditional fossil fiiels and bumed by the Pellet Plant's customers, includin` biomass

industi-ial power plants such as the Power Plant, to generate electricity in an environmentally

sustainable manner. The pellets efficiently combust to generate sufFicient power with less

industrial residue and waste products than otlier alternative fuel sources, which, in turn, reduces

scheduled plant outa~es and lowers maintenance costs. The Pellet Plant generates income from

supply a~reements that char~e a llat fee per ton for its fuel pellets. The Group expected the Pellet

Plant to yield a sizable return and foi-ined Convergen to acquu-e the Pellet Plant in June 2010 for

$5 million. In addition to the initial purchase price, since the acquisition Convergen has made

additional equity investments in excess of $ 10.2 million to upgrade the Pellet Plant and enhance

the business. Prior to the fi•audulent acquisition, defendant Hansen managed the day-to-day

operations of the Pellet Plant and repoi-ted directly to Broolcs.

               29.     The Group authorized Conver;en to acquire the Power Plant in 2016 as

part of a strategy pitcheci in part by Brooks to unlock value at the Pellet Plant. The strate~y was

to add the Power Plant as a customer of. the Pellet Plant and thereby increase the Pellet Plant's

profitability and showcase the advantages of using the Pellet Plant's pellets to attract more

customers. In 2019, the Power Plant started purchasing increasing amounts of fuel pellets from

the Pellet Plant at S40 per ton. Prior to the fraudulent acquisition, Hansen and Brooks oversaw

the Power Plant.

   B. T'he Sale of the Pellet Plant

               30.     Over the last few years, the Group lias instituted a strategy of selling non-

core assets to streamline the Company's port:folio nianagement fiuzction and to reallocate capital




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for new Group investments in core assets. This strategy notwithstanding, in 2019 the Group had

no plans or intentions to sell the Pellet Plant or any other Convergen business. As stateci above,

the Pellet Plant was the primary reason Convergen acquired the Power Plant just three years

prior. In 2019, after his direct manager suffered a near fatal accident that required him to go on

disability for a good part of the year, Brooks stood as the sole Company executive t.rusted with

overseeing these assets and ensui-ing that the strategic pui-poses for theu• acquisitions were

achieved.

               31.     Notwit.hstariding Convergen's lonQ-teim corporate objectives, which were

supposedly being curated by Brooks, on September 3, 2019 Brooks reached out to the

Company's General Counsel to request a non-disclosure agreement for Niantic, a firm Brooks

stated was interested in purchasing the Pellet Plant. Brooks represented that Niantic's interest

was unsolicited and that Niantic was an affiliate of defendant Riverview, and that both entities

were owned and controlled by defendant Merle. Brooks never even hinted at his association with

these defendants.

               32.     Thereafter, Brooks inserted himself as the point person for a potential deal

with Niantic. He facilitated the due diligence and negotiated the sale price and terms with

Niantic, taking great care to maintain the appearance of a borarc firle transaction when

communicating with Company's e-mail. Shoi-tly after the NDA was signed, Hansen and

Mikkelson, under Brooks' direction, prepared and provided complete disclosure of the Pellet

Plant to Niantic.

               33.     On November 5, 2019, Merle executed a letter of intent on behalf of

Niantic to acquire the Pellet Plant for $5.8 million. The letter of intent was sent from Merle's

Rivei-view einail and confu•mect that Niantic is "an affiliate of Riverview." Around this time,




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Brooks said in a text message to an Executive Board member of the Group in New York,

"[Niant.ie] appears to be serious."

               34.     On November 12, 2019, Brooks emailed an Executive Board member of

the Group that Merle would be in New York (where the Company has offices) and had a short

window to meet the next morning. The choreographed introduction of Merle to the Group took

place at 9:30 am on November 13, 2019. Brooks was present and represented Merle as the CEO

of Niantic. Brooks did not disclose that he is an owner of Niantic and close fi-iend of Merle.

               35.     As the sole arbiter within the Group of the merits of this transaction in

2019, Broolcs reconunended that Converaen accept the offer. The parties subsequently executed

the Acquisition Agreement with an effective date of January 29, 2020. The sale closed on

January 31, 2020 for $5.5 million. I

               36.     The employees of the Pellet Plant, including Hansen and Mikkelson, went

to worlc for the new owners. Because Hansen had overseen both the Pellet Plant and the Power

Plant prior to the sale, Brooks ai-ranged as a condition of the Acquisition Agreement for Hansen

to continue overseeing the Power Plant after the sale until a replacement could be installed. Thus,

one of the teims required the Power Plant to reimburse the Pellet Plant $.120,000.00 for 12

months of Hansen's ti.me (20 hours per month for 12 months). Unbelcnownst to the Company,

the $120,000.00 fee represented the vast majority ofHansen's total compensation from the Pellet

Plant for overseeing both the Pellet Plant and the Power Plant after the sale.

               37.     Another condition of the Acquisition Agreement required the Power Plant

to enter into a 10-year supply agreement with the Pellet Plant, the tei-ms of which Brooks never

disclosed to, nor sought approval for from, any other niember of the Group's comniercial team.


~       Brooks negotiated a$300,000.00 reduction in the sale price from the original $5.8 million
offer in exchange for a$1 million hard deposit from Niantic.




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The ensuin~ Supply A~reement dated January 31, 2020 required the Powei- Plant to pay the

Pellet Plant $50 per ton of pellet fuel, which was $10 more per ton than the Power Plant had paid

before the sale to Niantic; this put the value of the Supply Agreement at S40 million.

               38.     Brooks spearheaded the entire sale process and "aQreed" to the ternis on

behalf of Convergen. As a result, the sale process was relatively quick anci without issue. This is

reflected in the fact that Niantic was initially represented by attorneys from the law firins of

Clemente 1Vlueller, P.A. and Andolino & Associates but on the date of the ctosina, the law tinns'

involvement was negligible.

    C. The Fraudulent Scheme LTncovered

               39.     On the day immediately following the closinc, the Company foi-tuitously

learned that Brooks may have had an economic interest in Niantic. The sug~estion was breeted

by extreme shock and utter disbelief by other principals of the Group and senior employees of

the Company. Broolcs was not only a trusted senior executive within the Company, but he also

was a personal friend of one of the principals of the Group.

               40.     At approximately 5:00 pm on February 3, 2020, a senior prulcipal of the

Group confi•onted Brooks in a face-to-face meeting at the Conipai.iy's headquarters in New York.

The meetinb was recorded. Up until the meeting, the Group's senior principal had held out hope

that the suspicions about Brooks were unfounded.

               41.     To the Group's surprise, in that recorded meeting, .Brooks admitted to

having an undisclosed ownership interest in Niantic and to orchestrating the sale of Convergen's

asset to his own entity for less than fair market value. When asked who benefitted fi•om the

transaction, Brooks stated, "at this point myself, Greg [Merle], and [the Spanish Investors]."

Brooks explained that he had raised the fiinds to buy the Pellet Plant fi•om Merle and the Spanish




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Investors. Brooks eYpressed remorse and aslced for forgiveness saying, "I'm genuinely sorry." 1-Ie

was told that he had no fiitui-e with the Company based on his massive breacli of trust. At a

meeting the following day, Broolcs acknowledged "this was a huge huge mistake."

                42.      Brooks' adinissions sent shockwaves through the Group. Brooks was the

person charged with overseeing the Group's assets and maximizing value of Convergen, and it

tLn-ned out that he had secretly engaged in self-dealing for his own personal benefit and to the

detriment of the Company with respect to those veiy assets under his watch. The pressing

question for the Company was how much damage Brooks had caused the Company as a result of

his faitl-dessness and thievery. The Company immediately launchect an examination of Brooks

and the sale of the Pellet Plant to Niantic. The investigation uncovered a number of disturbing

ways in which Brooks unlawfully embezzled Convergen funds, most of which Brooks did not

admit to when confronted with his fi•audulent scheme.

                43.      First, while Brooks acknowledged that he seci-etly "undersold" the Pellet

Plant, he did not acknowledge the magnitude of how much he had unctersold the asset to himself

and the other defendants. After its initial investigation, the Conipany conservatively believes that

the Pellet Plant was worth at least $10 million more than Niantic paid for it at the time of the

sale. In other words, Brooks negotiated a purchase price that was as low as one third of the

asset's fair marlcet value.'-

                44.      Through its preliminaiy investigation, the Company learned that, contrary

to longstanding Company divestiture policy and his fiduciary duties, Brooks did not obtain

competing bids for the asset to be sold (the Pellet Plant). Broolcs had gone so far as to rebuff

unsolicited interest in the Pellet Plant fi•om an energy sector investment banker who


'-     Convergen had invested $15.2 million in the Pellet Plant by the time of the sale and
Brooks ai-i•anged for Niantic to pay $5.5 million.


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coincidentally reached out to Brooks at around the time Brooks was arran~in~ the sale to Niantic.

               45.      Second, a closer examination of the supply terms between the Pellet Plant

and the Power Plant revealed that Brooks increased the price of pellets $ 10 per ton above the fair

market value for such pellets and $ 10 more per ton than the Pe11et Plant had previously sold the

pellets for. Brooks locked in tlus significantly above market price for 10 years and foi- a

minimum contracted tonna~e of 40,000 per year. In one move, Brooks shifted $4 million in

profit ($400k per year for 10 years) from the Power Plant to the Pellet Plant. The long-term

agreement also effectively precluded the Power Plant fi•om purchasin~ the much less expensive

fiiel sourcecl over t.he previous 10 years by the Power Plant fi•om alternative fuel suppliers; this

less expensive fuel is readily available and continues to be a viable and competitive substitute for

the pellets in the Power Plant's energv ffeneration process.

               46.     Third, after the letter of intent had been executed but prior to closing,

Brooks, Mil:kelson and Hansen purchased a new shredder for the Pellet Plant at a cost of

S350,000.00. Brooks knew that under the tei-ms of the acquisition, this capital expense would be

borne by Convergen immediately prior to the sale but would exclusively benefit the Pellet Plant

and the defendants after the sale. In other words, Brooks had the seller "gift" the buyer with a

new $350,000.00 shi•edder for the personal benefit of Brool:s and the other defendants. Emails

subsequently discovered show that both Mikkelson and Hansen, both full time employees of

Convergen at the time, lcnew of the financial windfall to Niantic resulting from the pre-sale

purchase of the slu•edder, specifically that Conver~en's net proceeds from the sa.le would be

reduced if a new shredder were purchased by the Pellet Plant prior to its sale to Niantic. In an

email exchange between Mikkelson and Brooks on December 17, 2019, Mikkelson writes,

"From what we discussed a few weeks ago, it would be best to wait until early 2020 to close on




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the slu-edcter loan since it would reduce sale proceeds to Libra."

                47.    Fourth, Brooks arranged for the Power Plant to pay the Pellet Plant for

Hansen's continued oversight of the Power Plant after the sale of the Pellet Plant. On its face,

this seemed like a favorable term to assist Convei-gen transition management of the Power Plant

until a replacement could be found. However, a closer examination of the fmancial tenns

indicates that Broolcs secretly shifted the vast majority of the cost of Hansen's employrnent from

the Pellet Plant to the Powei• Plant (the Power Plant is payin; Hansen $120,000.00 per year,

which, upon infoi-mation and belief, represents most of his total compensation, includin~ lus

responsibilities for Niantic). This is consistent with Brooks' self-serving scheme to shift as much

profit from the Power Plant to the Pellet Plant after his acquisition.

               48.     Fifth, Brooks ensured that Niantic did not pav Conver~en $196,420.00

that the Pellet Plant liad in cash as of the closuia. In accordance with the Acnuisition Agreement,

that cash was to be transferred to the seller (Convergen). As pai-t of its investigation, Convergen

detei-mined that the cash was never paid to it because Brooks was in charge and he made sure his

new coinpany and not his soon to be former eniployer received those monies.

   D. Defendants' Roles in the Fraudulent Sclneine

               49.     As stated above, Brooks was able to eYecute his fraudulent schenie (and

nearly get away with it) because in 2019 he was the senior most officer charged and trusted with

vettino, and overseeing these kinds of transactions. He also benefitted fi•om the lcnowin(y

assistance he received fi•om his co-conspiring underlings, Hansen and Miklcelson, who as

employees of Converuen were also responsible for the mana~ement of both the Power Plant and

Pellet Plant. The investigation uncovered emails that unequivocally contlim Hansen and

Mikkelson's knowledge of and roles in the fraudulent scheme. For example, a September 12,




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2019 email from Mikkelson to Brooks and copied to Hansen indicated that he and Hansen knew

of Brooks' fiindraising trom the Spanish Investors at around the time Brooks foni7ally initiated

the sale process with Niantic: "Hola Tio Esteban ["Hello Uncle Steve], [Hansen] mentioned that

you are in Spain."

                   50.    The Spanish Investors knew that Broolcs was a senior officer of the

Company, knew that he was overseeing the sale of the Pellet Plant and was a financial

stalceholder in the buyer (Niantic). During the Febi-uary 3rd taped confession, Brooks admitted

that the Spanish Investors had funded the fi•audulent acquisition of the Pe.11et Plant. Upon

infonnation and belief,, Brooks solicited the Spanish Investors on the basis that his double-

dealing was expected to yield the Pellet Plant at a purchase price several million dollars below its

fair market value. Brooks solicited investments fi•om the Spanish Investors in September 2019, in

and around the time he introduced Niantic to the Group. Upon infoimation and belief, the

Spanish Investors had extensive contacts with Brooks while he was in New York and employed

by the Company in New York, and each wired funds directly or indirectly to New York for the

fi•audulent purchase of the Pellet Plant.

                   51.    Defendant Merle suliilarly knew of Brooks' duplicity and the finaiicial

- windfall   he would achieve as -a result. Neither he nor Brooks disclosed their long-standing

personal relationship to anyone at the Group. In fact, they botli took deliberate steps to keep their

relationship a secret. The two exchanged vei-y few emails via Brooks' Company email account

and those limited eYchanges were written in an obvious foi-mal, contrived arnis' length manner.

The lack of emails on a deal of this type and magnitude suggests that the parties engaged in

discussions tlu•ough some other clandestine means. Not sui-prisingly, the Company's

investigation uncovered eniails between the two utilizing Brooks' personal Gmail account. The




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Gmail account emails reflect the hidden personal relationship and stand in sharp contrast to the

fauY formal emails to and from Brooks' Company email account. Indeed, in one ofthe i-ecently

cliscovered emails.. Brooks refei-red to iVlerle as a"close friend" in pitching an energy project of

Merle's to thc above-referenced investment banker. None of this was disclosed to anyone at the

Group, including during the meeting at which Merle was introduced to the Group's principal in

New Yorlc.

                52.    Also not disclosed was the signiticant fact that Brooks covet-tly signed a

personal guaranty of more than two million dollars to finance the frauclulent acquisition of the

Pellet Plant. At closing Plaintiffs lcnew that Niantic's ability to close the transaction was

predicated on obtaininb a credit agreement. Unbeknownst to anyone at the Company, the

personal guaranty from Brooks enabled Niantic to obtain the credit agreement (this only came to

light fi•om the post-sale investigation). Each of the defendants had to know of the personal

guaranty and that it was signed while Brooks was employed by the Company. Tliere is no

legitimate basis for Brooks to have personally guaranteed the paynient obli"atlons ot

Convergen's countei-party. The contlict of interest could not have been more pronounced and yet

not one of the defendants raised the issue with the Company - presumably because to do so .

would have revealed and undone the fraudulent scheme and the opportunity to "buy" an asset for

many million dollars less than what it was worth.

   E. Misappropriation of Convergen's 'I'rade Secrets

               53.     Prior to the fraudulent acquisition, Convergen personnel based in

Wisconsin at the Power Plant, including Hansen and Mikkelson, had managed the Office 365

accounts for all of the Convergen entities, including the Power Plant, the Pellet Plant and

EuroEnergy Biogas Latvia Limited, a subsidiary of Convergen with assets and operations in the




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Republic of Latvia (in Northem Europe). Those ConverQen personnel remained in `Visconsin

workin; with the new Pellet Plant ownership ancl ceased working for Conver(yen. As part of the

Pellet Plant transaetion, Brooks, Hansen ancl Mikkelson shoulcl have segregated and relinquislied

control of the Office 365 accounts of the other Convergen entities like the Power Plant and

EuroEnergy Biogas Latvia Liniited, and should have maintained access to only a limited number

of the Pellet Plant's emails necessary tor operations. Plaintiffs recently learned that this did not

happen.

                54.     In late Apri12020, the email account of a Convergen senior manager in

Latvia was haciced, which resultect in Convergen's Chief Accountant in Latvia receiving an

unauthorized request to pay an unknown party soniewhere in ELlrope. As per Group protocol, this

cybersecurity breach was imtnediately reported to the Group's Chief Information Officer, whose

responsibility it is to ensure that the lughest level of cybersecurity is maintained across all of the

Group's businesses. When the Group's Cliief Inforniation Officer contacted Convergen's senior

manager in Latvia to access the Office 365 account to assess the extent of the cyberattack and

install counteimeasures, he discovered that he lacked access because Brooks and the foi-mer

Converben employees (notably Miklcelson) still controlled the Office 365 accounts for the

Latvian entity, the Power Plant and other Convergen entities. In other words, Brooks and his

minions failed to segre;ate the electronic files as part of the Pellet Plant transaction.

                55.    The Group's Chief Infoimation Oflicer unmediately contacted Milckelson

to gain access to Convergen's emails and remove any unlawful access by the defendants. His

requests went unheeded. More senior Group personnel reached out dii-ectly to Merle, pointing

out that, amona other things, access was needed inunediately to adclress the illegal hacicing and

lonb teim for audit and compliance pui-poses. Merle rebuffed these requests as well.




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               56.     The irreparable harm to the Company is obvious. Without any basis in fact

or law, the defendants are depriving Convergen of the ability to protect its own data, especially

fi•om unknown hackers. The defendants are also unlawfully granting themselves continued

access to Convergen and the Company's propi-ietary and confidential information and trade

secrets (all contained within the Company's email tiles located on the Office 365 accounts). In

addition to engaging in nusappropriation, defendants are denying Convergen access to the email

files of the Pellet Plant prior to the sale, which, as stated above, are needed for futLu•e compliance

requirements. Defendants' motive for denying access is also obvious: presumably among those

files are incriminating emails about defendants' fraudulent scheme.

                             FIRST CAUSE OF ACTION: >F'RAUD
                                              (Brooks)
               57.     Plaintiffs repeat and reallege the allegations contained in the preced'uig

paragraphs of this Complaint.

               58.     As set forth in detail above, Brooks engaged in a fi•audulent scheme to

acquire the Pellet Plant for at least $10 million less than what it was worth and loot his employer

of additional monies for the benefit of his new acquisition, including the $196,420.00 in cash that

went missing instead of being paid to Convergen. To accoinplish this, Broolcs made materially

false representations to the Company about: (a) the sale price of the Pellet Plant; (b) his

relationship to Merle and the other defendants; (c) the appropi7ateness of the new Supply

Agreement between the Power Plant and the Pellet Plant; and (d) the appropriateness of

Convergen fiinding the purchase of a new shi•edder for the Pellet Plant on the eve of its sale to

Niantic.

               59.     Brooks also intentionally lud fi•om his employer material facts comlected

to the fi•audulent scheine, notably his interest in Niantic and his longstanding relationship with



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Merle. For example, on November 13, 2019 Brooks attended a meetinc, that he had organized for

an Executive Board member of the Group to meet Nlerle who had just bid on the Pellet Plant. At

the choreographed meetino -, Brooks represented Merle as the CEO of Niantic and failed to

disclose his own interest in Niantic and close fi-iendship with Merle. Brooks also executed the

personal ~uaranty discussed above on January 31, 2020 without making any disclosure to the

Company. Finally, Brooks did not disclose to the Company that, at Brooks' instruction and

without consulting the Company's General Counsel, Niantic's attorneys liad previously

represented Convergen in a substantially related matter. Niantic's attorneys did not clear

conflicts or even seelc Convergen's consent prior to representing N.iantic in the acquisition of the

Pellet Plant. When confronted with suspicions of his wrongdoing on Febn.iary 3, 2020, Broolcs

confessed to his fi•aud and that he personally benefited fi•om the sale of the Pellet Plant.

               60.     Plaintiffs justifiably relied, to their deti-iment, upon each of the

misrepresentations set foi-th above in enterinc, into the Acquisit.ion Agreement with Niantic.

               61.     Plaintiffs have been injured as a proxullate cause of each of these

fraudulent acts and concealments in at least the followinj ways: (a) the Pellet Plant has been sold

for millions of dollars below its value; (b) the final purchase price was reduced to account for a

new expensive shredder without any basis or consideration; (c) the Power Plant is being

overcharged in its supplv contract with the Pellet Plant; (d) the Power Plant is bein~ overchar~ed

for Hansen's time to help ilni the Pellet Plant post-acquisition; and (e) $196,420.00 in cash went

to the Pellet Plant instead of Convergen at the closing.

               62.     Because Brooks' fraudulent scheme was intentional, malicious and

demonstrateci a wanton disregard of Plaintiffs' ri~hts, Plaintiffs are entitled to punitive damabes.




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             SECOND CAUSE OF AC'I'ION: BREACH OF FIDCIAI2Y DUTY
                                (Brooks, Hansen and vlikkelson)
               63.     Plaintiffs repeat and reallege the allegations contained in the precedin~

paragraphs of this Complaint.

               64.     As an ofticer of the Company, Brooks owed a fiduciary duty to his

employer. He was afforded and empowered with considerable discretionary authority to manage

Convergen and its subsidiaries, includin~ the Pellet Plant. As a senior employee of the Company,

Broolcs was required to mana~e and invest assets of Convergen and the Pellet Plant in good faitl7

and for the benefit of his employer.

               65.     Pursuant to Brooks' E.mployment A`reement with the Company dated

January 7, 2014, Brooks a~reed "not to be engagecl in any other business activity without the

prior written consent of the Company." In accordance with the Employee Handbook, Brooks

a~reed not to engage in the "theft of moneyfproperty [of the Company]" and "any action, which

can be construed as intent to defraudldeceive."

               66.     Hansen and Mikkelson also served as officers of Convergen and,

therefore, owed a fiduciaiy duty to theu- employer. Both exercised considerable control over the

Power Plant and the Pellet Plant, including managing the flow of infoi-ination (e.g., EBITDA) to

the Cotnpany. Had senior members of the Group's Executive Committee been made aware that

the .Pellet Plant's projected EBITDA for 2020 was substantially higher than represented by

Brooks, the Group would never have a~reed to pursue Niantic's of.fer to purchase the Pellet Plant

for $5.8 million.

               67.     By participating in the fraudulent scheme, Broolcs, Hansen and Mikkelson

violated their fiduciary obligations and contractual prohibitions. Each acted as a faithless servant

by self-dealing and otherwise enga~ing in and enabling the fraudulent scheme to the detriment of



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their employers. As faitliless servants each must forfeit all compensation paid during their period

of disloyalty.

                 68.    Plaintiffs have been injured as a proximate result of Brooks, Hansen, and

Mikkelson's bi-eaches of their fiduciaiy duties in at least the following ways: (a) the Pellet Plant

has been sold many millions of dollars below its value; (b) the final purchase price was reduced

to account for a new expensive slu•edder without any basis or consideration; (c) the Power Plant

is being overcharged in its supply contract with the Pellet Plant; (d) the Power Plant is being

overcharaed for 1-iansen's time to help nui the Pellet Plant post-acquisition; and (e) $196,420.00

in cash went to the Pellet Plant instead of Convergen at the closi.ng.

                 69.    Based on all of the above, Plaintiffs are entitled to compensatoiy damages

in an amount to be deterniined at trial, tobethei• with interest at the statutory rate, plus punitive

damages.

             THII2D CAtiSE ®F ACTION: AIDING AND ABETTING FI2AUD
                                (All Defendants other than Brooks)

                 70.    Plaintiffs repeat and reallege the allegations contained in the preceding

paragraphs of this Complaint.

                 71.    Brooks confessed on tape that he fi•audulently induced the Plaintiffs into

selling the Pe.11et Plant significantly below value in a self-dealing transaction. As set forth in

detail above, Brooks engaged in an extensive fraudulent scheme to transfer profits, cash,

equitable value and assets from Convergen to the Pellet Plant.

                 72.    As insiders, Hansen and Mikkelson knew about the fi-audulent scheme and

in their positions managing the Pellet Plant they substantially assisted Brooks in evety facet of

the scheme by, among other thin~s, facilitating the sale, arranging for the purchase of the

shredder, not transferring the Pellet Company cash at closing to Convergen, signing off on an



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inflated pellet price in the Supply Agreement. They provided confidential information about the

Pellet Plant to Merle and, upon infonnation and belief to the other defendants. Further upon

information and belie.f, Hansen and Mikkelson assisted Brooks' efforts to fiindraise from the

Spanisli Investors, all in an effort to better themselves financiallv. Brooks could not have

perpetrated the fraud without the substantial assistance of Hansen and Mikkelson. There was no

one left at Converaen or the Company who was in a position to question or challenge the tenns

of the Niantic transaction, as Brooks, Hansen and Mikkelson were the tlu•ee charored with

overseeing all aspects of the Pellet Plant and its sale to Niantic.

               73.     The Spanish Investors, Merle and his two entities, Rivei-view and Niantic,

knew that Brooks was using his unique position at the Company to double deal and close a

fraudulent transaction to their benefit and to the detriment of Plaintiffs. Brooks coulct not have

pei-petuated the fraud without fundinb from the Spanish Investors, Merle and his entities.

               74.     Consequently, Plaintiffs have suffered millions of dollars in losses fi•om

the fraudulent sale, the inflated supply agreement, the incut-rence of.Hansen's compensation, the

purchase of the shredder and the thett of $196,420 in cash due to ConverQen at the closing,

among other things.

               75.     Based on all of the above, Plaintiffs are entitled to compensatory damages

in an amount to be determined at trial, tobether with interest at the statutory rate, plus punitive

damages.

 FOURT.I-I CAUSE OF ACTION: AIDING AND ABETTING BREACH OF FIDUCIARY
                                 DUTY
                                (All Defendants other than Drooks)

               76.     Plaintiffs repeat and reallege the allegations contained in the precedin~

paragraphs of this Complaint.




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                77.     At all relevant times, Brooks owed fiduciary duties to Plaintiffs.

                78.     Plaintiffs have been injured as a pi-oximate result of Brook's breaches of

his fiduciary duties.

                79.     All of the defendants other than Brooks l:new of Brooks' role and

responsibilities at the Company. .In flct, it was Broolcs' unique position as the Company's

gatekeeper of its ener-y assets, including the Pellet Plant, that made the opportunity to

participate in the fi•auciulent scheme so attractive. The defendants knew of enabled and

participated in Brooks' ti-audulcnt scheme.

               80.      Plaintiffs have been injured as a result of Brooks' breaches of his ficluciary

duties and the other defendants' substantial participation in those breaches.

               81.      Consequently, Plaintiffs are entitled to compensatory clamages in an

amount to be determined at trial, together with interest at the statutory rate, plus punitive

damages.

     FIF'I'H CAUSE OF ACTI®N: THEFT AND IVTISAPi'ROPRIA'I'IaN OF TRADE
                                 SECRETS
              (Niantic, the Pellet Plant, Merle, Brooks, Hansen and Niil:l:elson)

               82.      Plaintiffs repeat and reallege the allegations contained in the preceding

paragraphs of this Complaint.

               83.      Convergen stored trade secrets of Convergen entities via the Oflice 365

accounts that, prior to the fraudulent sale, had been overseen by Pellet Plant personnel, including

Hansen and iVlilckelson.

               84.      Under sti-iet guidelines from the Group, which places the Iiighest possible

degree of importance on securing its entities from cybersecurity breaches and threats, the

Company and Convergen had taken deliberate steps to secure the data, including, among other




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things, the use of unique passwoi-ds for each email account and single administrator control to

prevent unauthorized access.

               85.     After the sale, Hansen and Mikkelson maintained control over all of the

Convergen Office 365 accounts without basis or authority; they should have oi-dy maintained

access to accounts for the Pellet Plant.

               86.     Consequently, the defendants named in this claim knowingly and without

authorization have ongoing access to Convergen trade secrets and otlier proprietaiy and

conf dential infonnation and refuse to turn it over to Plaintiffs. Nor are the defendants willing to

provide Plaintiffs with the Pellet Plant Office 365 accounts for the period prior to the sale.

               87.     Upon information and belief, defendants are accessincy Plaintiffs' data and

may be using it to Plaintiffs' detriment: at a minimum, defendants are obstructing Convergen's

access to Pellet Plant emails presumably to thwart efforts to further uncover the fi•aud.

               88.     Defendants should be immediately enjoined fi-om fiu-ther accessing

Convergen's clata and should be ordered to turnover exclusive aecess to Convergen to its own

files.

                         SIX'TPI CAiJSE OF ACTION: 12ESCISSIOly1
                                    (i\Tiantic, the Pellet Plant)
               89.     Plaintiffthe Power Plant repeats and realleges the allegations contained in

the preceding paragraphs of this Complaint.

               90.     The Power Plant was fraudulently induced to enter the Pellet Supply

Agreement with the Pellet Plarit by Brooks who engaged in self-dealing, and Niantic and Merle

who collaborated with Broolcs to make the Pellet Supply Agreement a condition of the

transaction.

               91.     There is no complete and adequate remedy at law and damages would not



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be adequate because of the extenclect 10-year term and unfair pi-icing of the Pellet Supply

A~reement.

                92.       Rescission of the Pellet Supply Agreement would substantially restore the

status quo for the Power Plant as the terms could revert to those prior to the sale of the Pellet

Plant, thus restoi7ng the Power Plant's projected EBITDA and operational fle~:ibility.

                93.       The Power Plant promptly filed this claim for rescission inunediately after

discoverin~ the fraud.

                dVH. EREFORE, Plaintiffs demand that judgment be entered in its favor and

against defendants as follows:

                1.        Compensatory damages in excess of $10 million.

                2.        Forfeiture of conipensation earned durin(y their period of disloyalty.

                3.        Disoorgement of anv profits resultine, fi•om their disloyalty.

                4.        Rescission of the Pellet Supply Agreement.

                5.        Punitive damages to be detenninecl at trial.

                6.        Injunctive relief.

                7.        Attorneys' fees, costs of suit, interest and such other relief as the Court

deems fair and equitable.

                8.        That Plaintiffs be awarded such other and further relief as the Court may

cleeni just and proper.


                                               JIJRY DEVIAiVD

                Plaintiffs clemand a trial by juiy on all issues in this action.




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DATED: New York, New York           Respectfully submitted,
       May _, 2020
                                    ld la"WAl            Y

                                    Michael Stotper
                                    Dov Byron Gold
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                                    Attoyneys, for Plcuintiffs




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-From: Steve Brooks <stevebrooks17@gmail,com>
 Date: Sun, Dec 15, 2019 at 9:08 PM
Subject: Memo
To: Fidel Andueza <fidel.andueza@hotmail.com >



I put together the attached. We can discuss tomorrow.

Best Regards,

Steve




Steve J. Brooks
stevebrooksl7@gmail.com




Steve J. Brooks
stevebrooksl7@Qmail.com




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Investment Memo: Convergen Energy Wisconsin, LLC


                                                                                     December 15, 2019


Purchase Price: .                               $5,800,000


Purchase price corresponds to Total Assets of $5,770,828 on the August 31, 2019 CEWI Balance Sheet.
Further, the purchase price represents a 6.5x multiple to the CEWI FY 2018 EBITDA of $886,773 inclusive
of the CE LLC Administrative Expenses.

Total Cash Consideration:         ................. $2,026,018


$
Total Consideration                             (5,800,000)
Hard Deposit Discount                                50,000
Due Diligence Reimbursement                          50,000
Bank Debt                                        2,592,167
Equipment Financing                                 211,498
Capital Expenditure                                377,850
Inter-Company Receivable                           357,621
Working Capital Adjustment                         284,880
Cas h                                             (150, 034)
Net Consideration - NianticVista                (2,026,018)


   •     The Purchase Price was made on a Debt-Free basis, consequently CEWI's Bank Debt and
         Equipment Financing facilities are subtracted from the Purchase Price.
   •     The Capital Expenditure line refers to deferred maintenance capital items needed at CEWI and
         are based on quotes received from local service providers for each item.
   •     The Inter-Company Receivable refers to an intercompany loan with sister Convergen Energy
         company which will be transferred from the CEWI Balance Sheet.
   •     The Working Capital Adjustment represents the change in working capital from the August 31,
         2019 Balance Sheet to the closing December 31, 2019 Balance Sheet. This will be determined
         with a final adjustment 30-days after Closing.
   •     The Cash item is the cash that will be on the December 31, 2019 Balance Sheet, which will be
         removed and transferred to CELLC.
   •     The $2,026,018 Net Consideration refers to the cash component NianticVista is committed to
         pay.

Sources & Uses:




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$
Sources
RU + DG                                              500,000
S B+ FA                                              500,000
TH                                                   100,000
Mezzanine Facility - CK                              700,000
Mezzanine Facility - JB                              300,000
Total Sources                                       2,100,000


Uses
Purchase Hard Deposit                             (1,500,000)
Purchase Final Payment                              (526,018)
Arrangement Fee - GM                                  (50,000)
Working Capital                                       (23,982)
Total Uses                                      (2,100,000)


     ®    The Mezzanine facilities refer to two separate lenders. Both Mezzanine facilities will have a term
          of 1-year and carry an annual interest rate of 10.0%.


Closing Calendar:


$                                      Total             31-Dec-19        31-Jan-20      1-Feb-20


Purchase Hard Deposit                 (1,500,000)       (1,500,000)
Purchase Final Payment                 (526,018)                          (526,018)
Arrangement Fee - GM                     (50,000)                          (50,000)
Working Capital                          (23,982)                                         (23,982)
Total Uses                            (2,100,000)       (1,500,000)       (576,018)       (23,982)


R U+ DG                                 500,000            500,000
SB + FA                                 500,000            500,000
TH                                      100,000                             76,018         23,982
MezzanineFacility - CK                  700,000            500,000         200,000
Mezzanine Facility - JB                 300,000                           300,000
Total Sources                         2,100,000          1,500,000         576,018        23,982


     •    The initial $1,500,000 portion of the Purchase Price made on December 31, 2019 is in the form
          of a hard deposit which secures the transaction.
     •    The final closing on January 31, 2019 assumes the rollover of the CEWI Bank Debt. The final
          working capital adjustment will be made based on the December 31, 2019 Balance Sheet.
     •    The Working Capital Use refers to an injection of $23,982 by NianticVista into CEWI for working
          capital purposes as the cash in the CEWI accounts will be transferred out of the Company at
          Closing.




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Management:

Prior to closing the CELLC employees, listed below will be transferred to CEWI:
    - Ted Hansen, CEO
   -    Dennis Conn, SVP — Business Development and Technical Services
   -    Brian Mikkelson, Controller
   -    Randy Parmentier, Accounting Assistant




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                                                                                               EXHIBIT C
                                                                                               TO COMPLAINT

                                 En6ineerecl Fuel Pellet Supply Aareement

                                                  January 31, 2020
Buyer agrees to purchase Pellets fi-om Seller, and Seller agrees to deliver Pellets to Buyer in accordance with terms and
conditions in this Pellet Supp(y Agreement ("Agreement").


Buyer:            L'Anse Warden Electric Company, LLC            Seller:         Convergen Energy WI, LLC



Commodity:        The engineered fuel pellets (tlie "Pellets") sold and delivered to Buyer hereunder fi-om Seller's faci(ity
                  located in Green Bay, WI ("Facility"), and shall generally satisfy the Typical Specifications, as set forth
                  herein.

Contract Term: The term of this Agreement shall coininence on January 31, 2020 (the "Effective Date") and continue
               for a period of ten (10) years (the "Terni"), subject to early termination of this Agreement as set forth. in
               this Section below. Subject to the rights of the Bank (as defined below) under the Collateral
               Assignments (as defined below) and the Bank's rights set fortli below, this Agreement may be
               terminated (eacli, a"Default"): (a) By either party, effective immediately upon written notice to the
               other party, if such other party: (i) becomes insolvent or is generally unable to pay, or fails to pay, its
               debts as they become due; (ii) tiles or has filed against it, a petition for voluntary or involuntary
               bankruptcy, or otherwise becomes subject, voluntarily or involuntarily, to aily proceeding under any
               domestic or foreign bankruptcy or insolvency law; (iii) seeks reorganization, an-angement, adjustment,
               winding-up, liquidation, dissolution, composition or other relief with respect to it or its debts; (iv)
               makes or seeks to make a general assigmnent for the benefit of its creditors; or (v) applies for or has a
               receiver, trustee, custodian, or similar agent appointed by order of any court of competent jurisdiction to
               take charge of or sell any material portion of its propet-ty or business, or (b) By either party if the other
               party is in material breach of, or threatens to breach, this Agreement and either the breach cannot be
               cured or, if the breach can be cured, it is not cured by such other pai-ty within a cotnmercially reasonable
               period of time under the circumstances, in no case exceeding thirty (30) days following such other
               party's receipt of written notice of such breach or threatened breach from the non-breaching party.

                  The parties hereby ackiiowledge that each party has entered into a Collateral Assigntnent, dated January
                  31, 2020, with BMO Harris Banlc N.A. (the "Bank"), pursuant to wliich each party has (A) collaterally
                  assigned to the Bank all of its right, title and interest of, in and to this Agreement and any extensions or
                  renewals of this Agreement, and (B) granted to Bank a security interest in and to all rights and remedies
                  of such pat-ty arising under this Agt-eement (each, a"Collateral Assignment", and collectively, the
                  "Collateral Assignments"). Each party hereby consents to the Collateral Assignment entered into by the
                  other party and hereby acknowledges and agrees to the terms thereof. Neitlier party shall terminate this
                  Agreement by reason of the occun-ence of any Default, unless and until the party seeking to terininate
                  this Agreement (the "Tenninatin, Party") shall have given Bank a copy of the notice of Default
                  delivered to the; otlier party (the "Defaulting Party"). Each party agrees that the Bank shall have the
                  right to cure such Default within forty-five (45) days of Bank's receipt of such notice (or, if such
                  Default cannot reasonably be cured within such forty-five (45) day period, Banlc shall have such longer
                  time as may be necessary to cure such Default; provided that Bank commences the cure within such
                  period and diligently pursues the cure thereafter). The Bank's right to cure under this Agreement shall
                  not be construed as a requirement or affinnative duty to take such action. Upon Bank succeeding to a




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                  party's interest under this Agreement pursuant to the Collateral Assigninent of such party, the otlier
                  party a6a7o«-ledges and agrees to recognize Bank (and its successors and assigns) as party to tliis
                  Agreement and to be bound by and perforin all of the obligations and conditions imposed upon such
                  other party under this Agreement.

Base Price:       Subject to adjustinent as provided below, the initial price for the Pellets shall be $50 per ton at Delivery
                  Point (the ".Base Price"). Conmiencing on the tirst anniversai-y of the Effective Date, and thereatter on
                  each subsequent aiuiiversary thereof during the Term, the Base Price shall increase by 1.5% on a
                  cumulative basis (i.e., to $50.75 after the first anniversary date, $51.51_after the second anniversary date,
                  etc.). Seller will airange for transpoi-tation of the Pellets based on a mutually agreed upon deliveiy
                  sctiedule. Transportation of the Pellets will be ai7anged and paid for by Seller. Buyer will reimburse
                  Seller for transportation at cost based on invoices sent by Seller. Sell.er will negotiate with transpoi-tation
                  providers on a coinniercial best efforts basis.

Contract          Subject on.ly to Force Majeure, Seller shall s11ip and Buyer shall accept for purchase a minimu.m of40,000
Quantity          total tons per year (the `.`Muiimum Amount"). In order to account for scheduled power plant outages and
                  other situations that could substantially reduce deliveries in any given month, the parties agree to target
                  regular monthly shipments of approximately 4,500 tons per month. Buyer and Seller shall provide each
                  other with advance notice of any scheduled power plant outages or other circumstances that would result
                  in a material deviation from the agreed regular monthly shipping schedule.

Delivery Point:   Buyer's Facility in L'Anse, MI, or any other location mutually agreed in writing by the parties. Seller
                  shall be responsible for arranging all shipments of Pellets to Buyer.

Specifications:   As used herein, the following capitalized terms shall have the meanings set forth herein: (i) "Shipments"
                  means a shipment of Pellets loaded by Seller into one or more tnicks for transportation to Buyer; and (ii)
                  "Typical Specifications" means a set of specifications representing the general quality (subject to the
                  acceptable variations as set forth lierein) of the Pellets sold to Buyer from time to time; with the
                  understanding that "Typical Specifications" are not to be considered guaranteed specifications and any
                  given Shipment of Pellets may vary from the Typical Specifications and shall be accepted by the Buyer
                  so long as such Pellets do not exceed the maximum sulfur, maximum chlorine, or ash content or fall below
                  the minimum BTU/lb level, as the case may be, as set forth in the following Rejection Limits:

                                                                        Tvpical-Dry Basis        Rejection Lirnits-Dry Basis

                           Sulfur Content (% by weight)                        0.17                        0.5 Max
                                     BTU/lb                                   11,250                      8,500 Mui
                             Moisture (% by weight)                            5.5%                         14 Max
                            Ash Content (% by weight)                           6.5                         16 Max
                             Chlorine Content (ppm)                            1,000                      1,800 Max



Epa Alternative Convergen Energy WI LLC was previously granted by U.S.EPA Altenzative Fuels designation for the
Fuels           fuel pellets to be supplied froin its Green Bay ftiel production facility. This EPA designation or "comfort
Designation     letter" indicates that the CE engineered fuel pellets are classitied as a"non-waste", non-hazardous
                secondai-y material under 40 CFR 112. This alternative fuel designation is important in that solid fuel
                production of steam and power authorized under an applicable Federal or State pernut will n. ot be subject
                to the Commercial and Industrial Solid Waste Incinerator (CISWI) rules, i.e. the CE fuel pellets can be
                used sunilar to traditional fuels such as coal, tire-derived fiiel, railroad ties, construction demolition
                material, traditional biomass, etc. While "coinfort letters" are no Ionger issued under the more recent

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                  changes to the U.S. EPA Altemative Fuels Proaram they are still approved as an Alteniative Fuel on a
                  case by case basis durincy the applicable Federal and/or State Air Perinitting process.

BTU               If the actual Btu of the Pellets varies from the Typica111,250 BTU/lb +/- 250 BTU/lb level, there will
Adjustment:       be a per ton price adjustinent (increase or reduction) for each ton of Pellets detennined as follows:

                  BTUPrice Adjustrnent =[(_4ct Btil — 11,250) = 11,250] * Contract Price

                   Where: Act Btu = Actual avera~e BTU content of the Pellets for deliveries made during any given
                   month. If the pellets are between the 11,250 +/- 250 BTU/lb ran;e, no BTU adjustment will be made.

BTU Quality     BTU quality to be tested, at Seller's cost, at Seller's in-house laboratoiy based on representative sainples
Determination: collected by Seiler fi-om daily production at the Facility. Seller will prepare a monthly composite
                sainple by combining daily representative samples. Seller, at Seller's cost, will test monthly composite
                sample at a certified third-party laboratory. These tests will consist of short proxiinate analysis
                (BTU/1-., Moisture, Ash, Clilorine and Sulfiir). The results of the inonthly coinposite test shall be
                provided to Buyer on a periodic basis. If Buyer requires a split test independently, Seller shall provide
                Buyer with the sainples necessary to perfonn such tests. Buyer shall pay the cost ofsuch split tests and
                any other additional sample testing perfonned by an outside laboratory.

Weibhts:          The weight of all Pellets purchased and sold pursuant to this Agreement shall be detennined by certified
                  truck scales at the Delivery Point. Seller shall provide notice of such weights to Buyer within 48 hours of
                  truck loadin;.

Rejection:        Buyer may reject any Shipment of Pellets that fails to confomi to any one of the Rejection Limits.
                  Rejection of such non-confoi-ining Pellets shall be Buyer's sole and exclusive remedy for Seller's failure
                  to deliver coiifoi-rninQ Pellets under this Ajreement. Disposal of rejected Pellets, including all
                  transportation charges associated with the rejected Pellets, shall be for Seller's account. Buyer and Seller
                  sliall cooperate to minimize Seller's cost of disposal.

dnvoices and      Seller will invoice Buyer for Pellets delivered and correspondiiig transportation costs, promptly at the end
 Payment          of each week for Pellets loaded on trucks during the ilnrnediately prior week. Invoices shall be mailed to:
 Terms:
                  L'Anse Warden Electric Company LLC
                  157 S. Main Street
                  L'Anse, M149946
                  Attn: Plant Manager


                  Buyer shall pay uivoices no later tlian thirty (30) days following receipt of Seller's invoice, based on
                  weights of Pellets and Adjustments as detei-inined in this Agreement. Payment shall be remitted to Seller
                  at the address provided in the invoice. Late payment shall be subject to interest at the rate of 0.75% per
                  month of amount due.

                  BTU acijustments will be calculated based on the monthly composite average and billed on a separate
                  invoice at the end of each month.

Additional        The attached document entitted "Convergen — Additional Tei-ins and Conditions" shall be part of this
Conditions:       Agreement.




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            ConverwOft Energy WI LLC                          L'An     rde lectric Company, LLC

:                                                   By:

Name              ory Merle                         Name:     T -EL -AAU
Title:      President                               Title:




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                                  CONVERGEN ENERGY WI LLC
                               ADDITIONAL TERMS AND CONDITIONS


1. LIMITATION ON WARRA!~1TY. EXCEPT AS EXPRESSLY SET FORTH HEREliN, SELLER
EXPRESSLY DISCLAIivIS ANY OTHER REPRESENTATIONS OR WARRANTIES, WRITTEN OR
ORAL, EXPRESS OR IMPLIED, INCLUDI'~
                                  ilG, WITHOUT LINIITATION, ANY WARRA.NTY WITH
RESPECT TO CONFOR!VIITY TO SANIPLES, MERCHANTABILITY, OR FITNESS FOR A
PARTICULAR PURPOSE.

2. FORCE iVIAJEURE. If, by reason of: (i) strikes or other labor troubles, (ii) goverruiiental prohibitions,
preeinptions, restrictions or otlier controls, (iii) shortages of fuel, supplies or labor, (iv) acts of God or the
elements (such as tornado, hun-icane, flood, or abnormaLly inclement weather for the season), (v) civil
cominotion, acts of war, terrorism or the public enemy, (vi) fire or other casualty or catastrophe, (vii)
accidents or mechanical breakdowns, (viii ) any other cause beyond an affected party's reasonable control
(excluding, however, any tinancial uiability), or (ix) the making of alterations, installations, improvements,
repairs, additions or other physical change in, to or about an affected party's premises (the events described
in the preceding clauses being herein referred to as "Force Majeure"), the observance, pertormance or
compliance with, any non-monetary obligation (i.e., any obligation other than the obligation to pay a sum
of money) on the part of an affected party to observe, perfoi7n or comply with, is prevented or delayed,
including the inability to supply, provide or furnish, or a delay in supplying, providing or furnishing, any
product expressly or implicitly to be supplied, provided or fiirnished, or the inability to malce, or a delay in
making, any alteration, installation, improvemcnt, repair, addition or other physical change in, to or about
such affected party's premises or any other portion thereof, or the inability to supply, or a delay in
supplying, any equipment, fixtures or other materials, then, for so long as such affected party shall be unable
to observe, perfonn or comply with, or shall be delayed in the observance, performance or compliance with,
any such non-monetary obligation, this Agreement and such affected party's obligation to observe, perfoi-in
and comply witli any such non-monetary obligation shall be excused for the period during which the Force
Majeure prevents or delays such observance, perforcnance or compliance. The party claiming suspension
of performance by reason of Force Majeure shall notify the other party as soon as practicable but no later
than ten (10) days after the commencement of the event of Force Majeure. During such event of Force
Majeure, the affected party shall use reasonable commercial efforts to remedy or eliminate such Force
Majeure. . Any deticiencies in deliveries or acceptance of delivery caused by Force Majeure shall not be
taken into consideration for purposes of calculating damages suffered by a party as a result of the other
party not shipping or accepting shipinent of the Minimtmi Amount. In no event shall a Force Majeure be
construed to relieve a party of any obligations under this Agreement solely because of increased costs or
other adverse economic consequences that may be incurred by such party through perfoi-inance of such
obligations.

3. LIiV1ITATION ON LIABILITY. Neither Seller nor Buyer shall. be liable to the other for consequential,
incidental, punitive, exemplary or indirect damages, lost profits, or business interruption damages, whether
by statute, in tort or in contract, under any indeinnity provision or otherwise.

4. TITLE/RISK OF LOSS. Seller warrants good title to all Pellets delivered hereunder free and clear of
all claims and encumbrances. Title and risk of loss shall pass fi-om Seller to Buyer upon delivery at the
specified Delivery Point.

5. ASSIGNiVIENT. Neither party shall assign this Agreement without the prior written consent of the
other party, which consent may not be unreasonably withlield or delayed.



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6. NO WAIVER. Waiver of any breach of this AQreement shall not be construed as a waiver of any other
breach.

7. GOVERi\`ING LAW. THIS AGREEMENT SHALL BE CONSTRUED AND GOVERi~IED BY THE
LAWS OF THE STATE OF WISCONSIN, WITHOUT GIVING EFFECT TO PRINCLPLES OF
CONFLICTS OF LAW.

8. CONFIDENTIALITY. Each party ackitowledges that this Agreement contains confidential
information wliich would put them at a competitive disadvantage if disclosed to the public. Therefore, the
tei-ins of this Agreement shall be kept confidential by the parties, except to the estent disclosure may be
required by law, regulation, or judicial or an administrative order, or to affiliated companies as necessary
for the administration of this Agreement. Norivithstanding the above, in connection with the sale,
disposition or financing of the Facility, Seller may disclose this Agreement to any lender, potential lender
or any investor or potential investor, provided in each case that the party to whom the infonnation is to be
disclosed agees in writing to be bound by confidentiality provisions at least as restrictive as those in this
Agreenient.

9. NOTICES TO BUYER. Notices required to be sent under this Agreement shall be in w~rituig, shall be
sent to Buyer, and shalt be effective when received by mail, email or via facsimile at the address shown
below:

10. FORWARD CONTRACT. The parties agree that this transaction constitutes a"foi-ward
contract" and that the parties shall constitute "forward contract merchants" within the meaning of
the United States Bankruptcy Code 11 U.S.C. Section 10.1 (25) and (26) respectively.

11. ARBITR.ITION. All Disputes shall be exclusively, finally and conclusively settled by binding
arbitration under the Rules of Arbitration of the American Arbitration Association in accordance with its
Commc;rcial Arbitration Rules (the "Arbitration Agency") tiien in effect (the "Rules") (e.xcept as
specifically modified by this Abreenient). The parties shall continue to perform their respective obligations
under this Agreement pending conclusion of the arbitration. As used herein, Dispute means any
disagreement, controversy or claim that arises between Vendor and Customer regarding the interpretation,
fulfillinent, or implementation of any provision of this Agreement, or regardinc the rights and obligations
of the parties (including, without limitation, the validity of the agreement of the parties to arbitrate, the
arbitrability of the issues submitted to arbitration hereunder, and any conflict of laws issues in coimection
with this Agreement).

The arbitration shall be conducted by a single independent and impartial arbitrator (the "Arbitral Tribunal")
to be appointed by the Arbitration Autliority. Unless as otherwise required hereunder for a particular
Dispute, the Arbitration Authority shall appoint an independent arbitrator that is generally familiar with the
business which is the subject of this Agreement, and preferably has no fewer tlian five years of practical
experience in the relevant field that is implicated by the Dispute in issue in accordance herewith. No more
than 30 days atter the Request for Arbittation has been delivered to the Arbitration Authority, the
Arbitration Authority shall submit a list of at least five potential arbitrators to each party. Each party shall
have a period of no more than 15 business days in which to register objections to any of the proposed
arbitrators based upon lacic of independence, lacls of qualification or any other material factor which would
substantially impair the arbitrator's effectiveness for the Dispute in issue. The Arbitration Authority shall
then consider such objections, if any, and shall then appoint the Arbitral Tribunal no more than 60 days
after the Request for Arbitration has been delivered to the Arbitration Authority. The appointment of the
Arbitral Tribunal by the Arbitration Authoritv shall be final and binding on the parties.



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Each partv acknowledges and agrees that the other party wrould be damaged irreparably in the event any of
the provisions of this Agreement are not performed in accordance with their specific tei-ins. Accordingly,
pending completion of arbitration ptirsuant to this provision, either party shall have the right to seek a
temporary restraining order, iiijunctive relief or other interim or provisional relief on the grounds that such
relief would otherwise be available at law or in equity. If any such relief is obtained, the arbitrator will
address the continuance, modification or tennination of such relief, and the decision regarding such relief
shall be binding on tlie parties.

The arbitration shall be conducted in the English language in Madison, Wisconsin. The Arbitral Tribunal
conduct a hearing no later than 90 days after delivery of the Request for Arbitration, and a decision shall
be rendered by the Arbitral Tribunal within 30 days after the final heai-ing.

At the heai-ing, the parties shall present such evidence and witnesses as they may choose, with or without
counsel. Adherence to fonnal rules of evidence shall not be required, and the Arbitral Tribtmal shall
consider any evidence and testimony that it determines to be relevant, in accordance with procedures that
it detei-inines to be appropriate.

The arbitration award shall be in writing and shall specify the factual and legal bases for the award. Except
with respect to (i) Seller's failure to ship the Minimum Amount (absent Foree Majeure applicable to Seller)
or (ii) Buyer's failure to pay for conforniing Pellets actually received by Buyer up to the Minimum Amount
(absent Force Majeure applicable to Buyer), neither party shall be entitled to, and no award shall include,
any amount for, lost profits or revenues, lost business opportunities, business interruption, or punitive or
exemplary damages for any claim arbitrated pursuant to this Agreement.

The Arbitral Tribtmal shall be entitled to a fee conunensurate with fees for professional services requiring
similar time and effort in the location where the arbitration takes place. The fees of the Arbitral Tribunal
and other costs of the arbitration stiall be borne equally by the parties, except when the arbitrator decides
to impose the total cost on the defeated party.

All decisions of the Arbitral Tribunal shall be final and binding on the parties and may be entered against
them in any court of competent jurisdiction. Any j udgment rendered by the Arbitral Tribunal against a party
may be executed agauist such party's assets in any jurisdiction where the party has asscts.

Each of the parties in•evocably submits to the non-exclusive jurisdiction of the appropriate courts in the
country in which it has assets and in the United States in any legal action or proceeding relating to sucli
execution of judgtnent.

Any Dispute brought pursuant to the tenns of this provision imist be brought withiti tzvo years of the date
that the party aggrieved by tlie event or condition, or notice of such event or condition giving rise to the
dispute, becomes aware of the same.




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                                                                              EXHIBIT D
                                                                              TO COMPLAINT
                             ACQIJISIT'ION AGREEyiEN'I'

         This ACQUISITION AGREEiVIENT (this "Agreement") is effective between the parties
as of January 29, 2020, by and among NIAioITICVISTA ENERGY, LI.C, a Delaware limitcd
liability company (` NVE"), C®NVERGEN ENERGY VdT, LLC, a Delaware limited liability
company ("CEW"), and C®NVERGEN ENERGY, LLC, a Delaware limited liability
company ("CE"). Each of the parties to this Agreement is individually referred to herein as a
"Party" and collectivel,v as the "Parties".

                                          Eackaround

        WHEREAS, the Parties desire to enter into tliis Agreement pursuant to vvhich NVE will
acquire CEW, with CEW continuing as a wholly-owned subsidiary of NVE (the "Acqttisition"),
in accordaiice with this Agreement and the applicable provisions of the Delaware Limited
Liability Company Act, codified in Chapter 1S of Title 6 of the Delaware Code, as the same may
be amended from time to time (t.he "Act").

        WHEREAS, the Manager and Member of NVE have unanimously approved and declared
advisable the Acquisition, upon thc terms and subject to the conditions set forth herein, and has
determined that the Acquisition and the other transactions contemplated by this Agreement
(collectively, the "Contemplated Transactions") are fair to, and in the best interests of, NVE
and its shareholders.

         WHEREAS, the members of the iVlanagement Committee of CE have unanimously
approved and declared advisable the Acquisition, upon the terms and subject to the conditions set
forth herein, and have detei-mined that the Acquisition and the Contemplated Transactions are
fair to, and in the best interest of CE.

        WHEREAS, the parties intend that the Acquisition shall, through the binding
commitinents set forth in this Agreement be effected immediately following the Closing Date
(as defined below), on the tenlis and subject to the conditions of this Agreement and in
accordance with the Act, without further approval, autliorization or direction from or by any of
the parties hereto;

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein and intending to be legally bound hereby, the parties agree that they vvill carry
out and consummate tliis Agreement pursuant to the following terms:




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                                          AR'I'ICLE I

                                  PLAN OF ACQUISITION

 l.l. The Acguisition.

        On the Closing Date, as defined ill Section 1.3(b) below, and subject to and upon the
terms and conditions of this Agreement and the appl..icable provisions of the Acts, NVE will
acquire all (100%) of inembership interest of CEW and CEW will become a wholly owned
subsidiary of NVE.

1.2.    Consideration.

      (a)     Sale anci Purchase of the CEW Menibership hlterest. In accordance with the
provisions of this Agreement, on the Closing Date, (i) CE shall sell, transfer, assign and deliver
to NVE all (100%) of the membership interest of CEW (the "CEW Interest") in exchange for
the Acquisition Consideration in accordance with Sections 1.2(b), and (ii) NVE shall purchase
and acquire from CE, all (100%) of the CEW Interest.

        (b)    Acquisition Consideration. The purchase price to be paid by NVE for the CEW
Interest (the "Acquisition Consideration") will be an amount equal to (i) $5,500,000, minus
(ii) the Closing hidebtedness (as delined below), minus (iii) $377,850, the capital expenditures
deduction hereby stipulated by the Parties, minus (iv) the CEW's receivables from Affiliates of
CE, if any, at the Closing Date, minus (v) $50,000 for NVE's due diligence costs and expenses,
  lus or minus, as applicable (vi) the Working Capital Payment (as detined in Section 1.2(c)(iii)
below). NVE will pay the Acquisition Consideration in cash or other immediately available
funds on the Closing Date. For purposes of this Section 1.2(b), the term "Closing
Indebtedness" means the sum of the outstanding principal a.mounts, at the Closing Date, owed
by the Company under the following credit arrangements: (a) the "Term Note" in the original
principal amount of $1,800,000 referenced in the Credit Agreement, dated as of January 24,
2019 (as amended on the Closing Date), entered into between the CEW, L'Anse Warden
Electric Company, LLC and BMO Harris Bank N.A., (b) the State Energy Program Agreement,
dated as of October 22, 2010 (as amended on November 4, 2011, December 7, 2012, January
14, 2013, January 10, 2014, Marcb 10, 2015, September 12, 2016, October 25, 2016, May 27,
2019), entered into between the CEW and the Wisconsin Depai-tment of Cominerce/Wisconsin
Economic Development Corporation (which arrangement is subject to the Selective Business
Security Agreement, dated May 23, 2012, entered into between the CEW and the Wisconsin
Department of Commerce/Wisconsin Economic Development Corporation), (c) the Master
Lease Agreement, dated November 7, 2016, between the CEW and Conger Industries Inc., (d)
the Commercial Retail Installment Sale Contract, dated April 22, 2016, between the CEW and
Conger Industries Inc., (e) the Loan Contract, dated April 26, 2019, between the CEW and



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 Brooks Tractor Incorporated, and (f) the Equipment Finance Agreement, dated ivlarch 16, 2018,
 between the CEW and Huntington Technology Finance, I~ic.

        (c)     WorkinQ Capital Adjustment. CEW's Target Net Working Capital shall be an
 amount equal to the Net Working Capital of CEW on the Base Balance Sheet of Auglist 31,
 2019 (the "Target Net Working Capital"). On or about January 28, 2020, but no later than
 close of bitsiness on January 29, 2020, CEW's financial staff shall prepare an updated balance
 sheet showing the Almost Actual Closing Date Net Working Capital, which amount will be
 used to adjust the Acquisition Consideration payable at C.losing when compared to the Target
 Net Worlcing Capital. If on the Closing Date CEW's actual Closing Date Net Working Capital
 (as detined below) is more or less than the Almost Actual Closing Date Net Working Capital by
 an amount greater than S 10,000, an adjustment shall be made to the Acquisition Consideration
 in accordance with the following provisions:

                (i)     NVE shall prepare, on an Accrual Basis consistent with CEW's past
practices, a report containing a balance sheet of CEW as of the close of business on the day prior
to the Closing Date (the "Closing Balance Sheet"), together with a statement based upon such
report which: (x) states that it was prepared in accordance witli this Agreement; (y) sets forth tlie
Closing Date Net Working Capital; and (z) sets forth the Working Capital Payment (as defined
bclow) required to be made to make the Closing Date Net Working Capital equal the Almost
Actual Closing Date Net Workulg Capital as required under tliis Section (the "Special
Determination"). NVE shall deliver a copy of the Special Determination to CE no later than six
(6) months after the Closing Date.

                 (ii)    If CE does not agree that the Special Determi.n.ation correctly states the
 Working Capital Payment calculation, CE shall promptly (but not later than 45 days after the
 delivery to CE of the Special Determination) give written notice to NVE of any exceptions
 thereto (in reasonable detai.l describing the nature of the disagreement asserted). If CE and NVE
 reconcile their differences, the Working Capital Payment calculation shall be adjusted
.accordingly and shall tllereupon become binding, final and conclusive upon all of the parties
 hereto. If the dispute relates to an accounting issue, and if CE and NVE are unable to reconcile
 their differences in writing within 20 days after written notice of exceptions is delivered to NVE
 (the "Reconciliatioti Period"), tlie accounting item(s) in dispute shall be stibmitted to a mutiially
 acceptable accounting firm (the "Independent Auditors") for fiiial determinatioti. The Working
 C.apital Payment calculation shall be deemed adjusted in accordance with the detei-mination of
 the Independent Auditors and shall become binding, final and conclusive upon all of the parties
 hereto. The Independent Auditors sliall consider only the accounting item(s) in dispute and shal.l
 be instructed to act within 20 days (or such longer period as CE and NVE may agree) to resolve
 all accounting item(s) in dispute. If the dispute involves a non-account'tng issue and such dispute
 is not reconciled within the Reconciliation Period, the dispute shall be settled by arbitration in
 accordance with Section 9.7 of this Agreement. If CE does not give written notice of any
 exception withi.n 45 days after the delivery to CE of the Special Determination or if CE gi.ves
 written notification of their acceptance of the Worlcing Capital Payment prior to the end of such


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45-day period, the Working Capital Payment calculation set forth in the Special Determination
shall thereupon become binding, final and conclusive upon all the parties hereto.

               (iii)   If the Special Determination reveals that the Closing Date Net Working
Capital was less than the Almost Actual Closing Date Net Working Capital by more than
$10,000, as finally determined pursuant to the procedures set forth above, CE shall pay NVE the
amount by -vvhich the Closing Date Net Worlcing Capital is less than the Almost Actual Closing
Date Net Working Capital. If the Closing Date Net Working Capital is greater than the Almost
Actual Closing Date Net Workuig Capital by more than $10,000, as tlnally determined pursuant
to the procedures set forth above, NVE shall pay CE the difference between the Closing Date
Net Working Capital and the Almost Actual Closing Date Net Workvig Capital. Any amount
paid pursuant to this Section shall be refei-red to as the "Working Capital Payment".

The tenn "Closing Date Net Working Capital" shall mean CEW's actual cui-rent assets
(including, accounts receivable and prepaid cui-rent expenses but excluding cash and cash
equivalents), less current liabilities (including, but not limited to, accounts payable, accrued
credit card debt, accrued lease expenses and deferred revenue but exclud'u1g interest-bearing
debt) as of the effective date of the Acquisition immediately prior to the Closing, which
determination shall be made within 120 days thereafter, as set forth in the following paragraphs.

1.3. Timina

       (a) ' Member Approval. The Manager and Members of NVE and the management
committee of CE have unanimously approved and consented to the execution of, this Agreement
and the Contemplated Transactions, as conclusivel.y evidenced by their execution hereof.

        (b)     Closing Date. The parties shall hold a closing (the "Closing") on a mutually
agreeable date (the "Closing 1)ate") no later than the flfth business day after the satisfaction or
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waiver of the conditions set forth in Article V and Article VI of this Agreement, at 10:00 A.M.,
local time, at the offices of Clemente Mueller P.A., 222 Ridgedale Avenue, Cedar Knolls, NJ
07927, or at such other place or time as the Parties agree upon. The legal effective date of the
Acquisition shall be the Closing Date, which is targeted to be on or about January 31, 2020.

1.4.     Certificate of Formation. Operating Aareemen.t, and Officers of CEW.

       (a)    The Certificate of Foi-mation of CEW     uieffect immediately prior to tlle Closing
Date shall remain in effect as the Certificate of Formation of CEW after the Closing Date. The
Operating Agreement of CEW after the Closing Date shall be in the form attached hereto as
Exhibit E.

         (b)    The Manager and Sole Officer of CEW after the Closing Date shall be Gregory
Merle.




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                                            ARTICLE II

                    REPRESENTATIONS AND WARRANTIES OF THE CE

       In order to induce NVE to enter into this Agreement and consumniate the Contemplated
Transactions, CE hereby make to NVE the representations and warranties contained in this
Article II. Such representations and warranties are subject to the qualifications and exceptions
set forth in the disclosure schedule delivered to NVE pursuant to this Agreement (the
"Disclosure Schedule"). The Disclosure Schedule will be arranged to correspond to the
representations and wai-rantics in Article II of this Agreement, and the disclosure in any portion
of the Disclosure Schedule will qualify the co.rresponding provision in Article II and any other
provision of Article II to which it is reasonably apparent on its face tha.t such disclosure relates.

2.1     Organization, Powers and Qualifications. CEW is a limited liability company duly
organized, validly existing and in good standing under the laws of the State of Delaware and is
duly qualified as a foreign entity in the State of Wisconsin; and (ii) in each jurisdiction in which
the failure to be so duly qualified or registered lias had, or could reasonably be expected to have,
an CBW vlaterial Adverse Effect, as such term is defined in Exliibit A. CEW has all required
corporate power and authority to carry on its Business as presently conducted, to enter into and
perform this Agreement and the agreements contemplated hereby to which it is a party and to
carry out the Contemplated Transactions. The copies of the Certificate of Formation, certified by
the Secretary of State of the State of Delaware, and the Operating Agreement of CEW, certified
by CE, have been furnished to NVE by CE, are correct and complete as of the date hereof, and
CEW is not in violation of any material term of its Certificate of Foimation or Operating
Agreement (together, the "®rganizational Documents").

2.2     Authorization and Non-Contravention.

       (a)     This Agreement and all agreements, documents and instniments executed and
delivered by CE pursuant hereto are valid and binding obligations of CE, enforceable in
accordance with their respective terms. The execution, delivery and performance of this
Agreement by CE and all agreements, documents and instruments executed and delivered by CE
pursuant hereto, have been duly authorized by all necessary corporate or other action of CE.

        (b)     Except as set fortli in Section 2.2(b) of the Disclosure Schedule, the execution and
delivery of this Agreement and all agreements, documents and instruments executed and
delivered by CEW and CE pursuant hereto, and the performance of the Contemplated
Transactions, do not and will not: (i) violate or result in a violation of, conflict with or constitute
or result in a default (whether after the giving of notice, lapse of time or both) or loss of benefit
Linder any contract or obligation to which CEW is a party or by which its assets are bound, or any
provision of the Organizational Documents, or cause the creation of any all liens, claims,
options, charges, pledges, security interests, deeds of tilist, voting agreements, voting ti-usts,
encumbrances, rights or restrictions of any nature upon any of the assets of CEW; (ii) to the best
of CE's I{nowledge violate, conflict with or result in a violation of, or constitute a default

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(whether after the giving of notice, lapse of time or both) under, any pi-ovision of any law,
regulation or nile, or any order of, or any restriction imposed by, any court or Government
Authority applicable to CEW; (iii) require from CEW any notice to, declaration or filing with, or
consent or approval of any Government Authority or otber third party; or (iv) violate or result in
a violation of, or constitute a default (whether after the giving of notice, lapse of time or botli)
under, accelerate any obligation under, or give rise to a right of termination of, any agreement,
permit, license or authorization to which CEW is a party or by which CEW is bound, which has
not been waived in writing.

2.3    Corporate Authoritv and Records. As of the Closulg Date, the corporate records of CEW
will accurately reflect proper authority for all corporate actions taken by its Member and
Managcr. The corporate records of CEW, as delivered to NVE, are either originals or true and
complete copies of the originals of such docunients.

2.4     Capitalization.

       (a)      As of the date hereof, CE owns the CEW Interest. The CEW Interest represents
one-hundred (100%) percent of inembership interest of CEW. Except as othei-wise set forth in
Section 2.4 of the Disclosure Schedule, the CEW Interest is owned by CE free and clear of all
encumbrances whatsoever. The CEW Interest was issued in compliance with Applicable Laws.
The CEW Interest was not issued in violation of the Organizational Documents, or any other
agreement, ai-rangement or commitmen.t to which CEW is a parry or is otherwise bound.

       (b)      Except as otherwise set forth in Section 2.4 of the Disclosure Schedule, there are
no existing voting trusts, proxies, subscriptions, options, wai-rants, calls, commitments,
agreements, plans, conversion rights or other rights of any cliaracter (contingent or otherwise)
providing for the issuance, sale, purchase, redeniption, transfer, votina or registration, at any
time, or upon the happening of any stated event, of any CEW Interest, whether or not presently
issued or outstanding.

2.5     Subsidiaries: Investments. CEW does not own or control, directly or indirectly, any
interest in any other corporation, partnership, limited liability compajiy, association or other
business ent.ity that materially affects the Susiness. Except as disclosed in Section 2.5 of the
Disclosure Schedule, CEW do-es not have any outstanding loan or advance to or from, any
Person including, without limitation, any iVianager, Officer or CE.

2.6     Financial Statements: Projections.

        (a)    CEW has previously furnished to NVE copies of the following financial
statements: (i) CEW's unaudited balance sheets as of August 31, 2019 (the "Base Balance
Sheet"), December 31, 2019, December 31, 2018 and December 31, 2017 and the related
unaudited statements of inconie, retained earnings and cash flows for the fiscal years then ended,
and (ii) CEW's projected budget for 2020. Such financial. statements were prepared on an
accrual basis method of accounting ("Accrual Sasis" applied on a consistent basis, and are


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consistent in all matei-ial respects with the books and records of CEW and fairly preseiit in all
material respects the tinancial position of CEW as of the dates thereof and the results of
operations and cash flows of CEW for the periods shown therein, subject to normal and recurring
year-end adjustments in the case of any sucli financial statements that are unaudited; provided,
however, that any such normal and recurring year-end adjustments will not result in a inaterial
adverse effect on the financial results, results of operations and/or casli flows reported in such
unaudited tinancial statements. Nothing has come to the attention of CE since such respective
dates that would indicate that such financial statenients are not true and con-ect in all material
respects as of the date thereof.

       (b)    The 24-month projections provided by CE are reasonable good faith estimates of
the performance of CEW for the periods stated therein based upon assumptions which were
believed to be reasonable when made and continue to be reasonable as of the date hcreof;
provided, however, that the foregoing is not a guarantee that such projections will be achieved.

       (c)     CEW maintains a system of accounting controls sufficient to provide reasonable
asstirances that: (i) transactions are executed in accordance witll management's general or
specitic authorization; (ii) transactions are recorded as necessary to permit preparation of
financial statements on an Accrual Basis and to maintain accountability for assets; and (iii)
access to assets is pei-mitted only in accordance with management's specific or general
authorization.

       (d)     CEW has not received any written correspondence from any independent
accounting firm that has conducted a review of the financial statements for CEW that identifies
any "material weakness" or "significant deficiency" witli respect to the accounting practices,
procedures or policies of, or internal accounting controls employed by CEW.

2.7    Absence of Undisclosed Liabilities. CEW does not have any material debts or
obligations of any nature, whether accrued, absolute, contingent, asserted, un-asserted or
otherwise, except liabilities or obligations: (i) stated or adequately reserved against in the Base
Balance Sheet or the notes to the related financial statements; or (ii) as set forth in Section 2.7 of
the Disclosure Scliedule.

2.8      Absence of Certain Developments. Since the date of the Base Balance Sheet, CEW has
conducted its business only in the ordinary course consistent with past practice and, except as set
forth in Section 2.8 of the Disclosure Schedule, there has not been:

       (a)    any change in the assets, liabilities, condition (tinancial or other), properties,
business, operations or prospects of CEW, which change by itself or in conjunction with other
such changes, whetller or not arising in the ordinary course of business, has had or could be
reasonably expected to have an CEW Material Adverse Effect;

        (b)    any mortgage, licn or other encumbrance placed on any of the properties of CEW,
other than purchase money liens and liens for Taxes not yet due and payable;


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        (c)    any purchase, sale or other disposition, or any agreement or other arrangement for
the purchase, sale or other disposition, of any properties or assets by CEW, including any CEW
Intellectual Property Assets (as defned below), involving the payment or receipt of more than
$10,000;

       (d)     any damage, destruction or loss, whether or not covered by insurance, that has had
or could be reasonably expected to have a CEW Material Adverse Effect;

     (e)      any direct or indirect redemption, purchase or other acquisition by CEW of any of
CEW Interest;

        (f1    any claim of unfair labor practices involving CEW, any change in the
compensation payable or to become payable by CEW to any of its offcers or employees otlier
than normal merit increases to employees consistent with past practices, or any bonus payment
or arrangement made to or with any of such officers or employees or any establishment or
creation of any employment, defei-red compensation. or severance arran(yement or employee
benefit plan with respect to such persons or the amendment of any of the foregoing;

        (g)     any resignation, termination or removal of any officer of CEW or material loss of
personnel of CEW or material change in the terms and conditions of the employment of CEW's
officers or key persotulel;

        (h)      any paynient or discharge of a material lien or liability of CEW which was not
shown on the unaudited balance sheet of CEW as of the date of the Base Balance Sheet or
incui-red in the ordinary course of business thereafter;

        (i)     any contingent liability incui-red by CEW as guarantor or otlierwise with respect
to the obligations of others or any cancellation of any material debt or claim owing to, or waiver
of any material right of CEW, including any write-off or compromise of any accounts receivable
other than in the ordinary course of business consistent with past practice;

       (j)    any obligation or liability incurred by CEW to CE or CE's employees, or any
loans or advances made by CEW to CE or CE's employees, except nornial compensation and
expense allowances payable to CE or employees in the ordinary course of business;

        (k)    any change in accounting methods or practices, collection policies, pricing
policies or payinent policies of CEW;

       (1)     to the best of CE's Knowledge, there are no known losses, or any kiiown
development that could reasonably be expected to result in a loss, of any significant supplier,
customer, distributor or account of CEW; and neitlier CEW nor CE has received written notice
from such stipplier, customer, distributor or account of its intention to terminate, or change in a
material and negative way, its relationship with CEW;




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      (m)     any amendment or terminat'ion of any Material Contract or agreement to which
CEW is a party or by which it is bound, other than any expiration of any such contract or
agreement in accordance with its tenns;

        (n)     any arrangements relatuig to any royalty or similar paymeiit based on the revenues,
profits or sales volume of CEW, whether as part of the tenns of CEW's capital structure or by any
separate agreement;

        (o)    any transaction or agreement involving fiYed price terms or fixed volume
ai-rangements other than in the ordinary course of business;

       (p)    any other material transaction entered into by CEW other than transactions in the
ordinary course of business;

        (q)    any amendment to CEW's Organizational Documents;

        (r)     Except as otheiivise set forth in Section 2.8 of the Disclosure Schedule, any
agreement or understanding whether in writing or otherwise, for CEW to take any of the actions
specified in paragraphs (a) througli (q) above.

Notwithstanding the foregoing, the Parties acknowledge that, on or before the Closing Date,
CEW anticipates making distributions to CE representing all cash and cash equivalents available
to CEW prior to the Closing Date. For purposes of computing CEW's Closing Date Net
Working Capital, such distributions shall be deemed to have been made prior to the Closing
Date.

2.9     Accounts Receivable; Accounts Pa ~~able.

       (a)     To CE's Knowledge all of the accounts receivable of CEW are valid and
enforceable claims, are subject to no set-off or counterclaim otlier than in the ordinary course of
business, and are fully collectible in the ordinary course of business, after deducting the reserve
for doubtfiil acco.unts stated in the Base Balance Sheet. Since the date of the Base Balance
Sheet, CEW has collected its accounts receivable in the ordinary course of its business consistent
with past practices and has not accelerated any such collections. CEW does not have any
accounts receivable or loans receivable fi-om CE or CE's employees.

        (b)   To CE's Knowledge, all accounts payable and notes payable of CEW arose in
bona fide arm's lengtli transactions in the ordinary course of business and no such account
payable or note payable is delinquent in its payment. Since the date of the Base Balance Sheet,
CEW has paid its accounts payable in the ordinary course of its business consistent with its past
practices. CEW has no accotuit payable to any Person which is affiliated with it or any of its CE
or CE's employees that are outside the ordinary course of business or inconsistent with past
practices.




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2.10 Transactions with Affiliates. There are no loans, leases or other agreements or
transactions between C.EW and: (a) any present or former member, director, officer or employee
of CEW; (b) to CE's Actual Knowledge, any Affiliate of such member, director, officer, or
employee; or (c) to CE's Actual Knowledge, any person controlled by such member, director,
officer, or employee, or Affiliate of the foregoulg. No Member or employee of CEW, or, to CE's
Actual Knowledge, any of their respective Affiliates, owns directly or indirectly, on an
individual or joint basis, any interest in, or serves as an officer or director or in another similar
capacity of, any competitor, customer or supplier of CEW, or any organization which has a
Material Contract or arrangement with CEW.

2.11. Supply Aareement and Transition Services A~reement. Except as set forth in the Supply
Agreement and Transition Services Agreement (as such terms are detined in Section 5.9 hereof),
there shall be no intercompany transactions after the Closing Date between CEW and CE or any
Aftiliate of CE.

2.12 Properties. Except as otherwise reflected in Section 2.12 of the Disclosure Schedule,
CEW has good, valid and (if applicable) marketable title to, or a valid leasehold in, all assets
material to the Busin.ess and to those assets retlected on the Base Balance Sheet or acduired by it
after the date thereof (except for properties disposed of suice that date in the ordinary course of
business), in each case free and clear of encumbrances, except for liens for Taxes (as liereinafter
defined) not yet due and payable, and minor liens and encumbrances that do not materially
detract from the value of the property subject thereto or impair the operations of CEW.

2.13    Tax Matters.

        (a)     CEW is a disregarded entity. As such, prior to the Closing Date income tax
returns relating to CEW's .Business have been included as part of the consolidated tax return
filed by CEW's indirect parent, First North American Holdings II, Inc. CEW lias timely and
properly filed all federal, state, local and foreign Tax Returns required to be filed by it through
the date hereof, and al.l such Tax Reh.irns are true, coi-rect and complete in all material respects.
CEW lias paid or caused to be paid all federal, state, local, foreign and other taxes, including
without limitation, income taxes, estimated taxes, alternative minimum taxes, excise taxes, sales
and use taxes, franchise taxes, employment and payroll related taxes, withholding taxes, trans.fer
taxes, and all deficiencies or other additions to tax, interest, fines and penalties owed by it
(collectively, "'lcaxes"), required to be paid by it through the date hereof whether disputed or not
and whether or not on an Tax Return, except Taxes which have not yet accrued or otherwise
become due. Since the date of the Base Balance Sheet, CEW has not, to CE's Knowledge,
incurred any Taxes other than in the ordinary course of business. All Taxes and other
assessments and levies which CEW was or is reqtrired to withhold or collect have been withlield
and collected and have been paid over to the proper Government Authorities. CEW has not
waived any statute of limitations in respect of Taxes or agreed to any extension of time with
respect to any Tax payment, assessment, deficiency or collection.




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        (b)     (i) during the period CE has owned CEW, CEW has not received notice of any
audit or of any proposed deficiencies from the Internal Revenue Service (tlie "IRS") or any other
taxing authority (other than routine audits undertaken in the ordinary course and which have
been resolved on or prior to the date hereot); (ii) to CE's Knowledge, neither the IRS nor any
other taxing authority is iiow asserting or threatening to assert against CEW any deficiency or
claim for additional Taxes or interest thereon or penalties in connection therewith; (iii) CEW
does not have any liability for Taxes of any other Person under Treasury Regiilations S 1.1502-6
(or any similar provision of foreign, state or local law) as a transferee or successor, by contract or
otherwise; and (iv) CEW has not filed a consent tuider Section 341(t) of the Code concei7iing
collapsible corporations.

       (c)     During the period CE has owned CEW, CEW has not been a United States real
property holding coi-poration within the meaning of Section 897(c)(2) of the Code during the
applicable period specitied in Section 897(c)(1)(A)(ii) of the Code.

       (d)    The taxable year of CEW for federal and state income tax purposes is the calendar
year ending December 31 st.

         (e)    During the period CE has owned CEW, CEW has not been (i) a passive foreign
investment company, (ii) a foreign personal holding company, (iii) a foreign sales corporation,
(iv) a foreign investment company, or (v) a person otlier than a United States person, each within
the meaning of the Code.

        (f)     No claim has been made by a Government Authority in a jurisdiction where CEW
does not currently file Tax Rethirns that such f lings niay be required or that CEW is or may be
subject to taxation by that jurisdiction.

      (g)    CEW has been an accitiial method taxpayer for all tax purposes during the period
CE bas owned CEW.

       (h)     To CE's Knowledge, there is no power of attoniey in effect or binding upon CEW
with respect to Taxes for any period for which the statute of limitations (including any waivers or
extensions) has not yet expired.

       (i)    During the period CE has owned CEW, CEW has not been a party to any "tax
shelter" within the meaning of Section 6662(d)(2)(C)(ii) of the Code or any "reportable
transaction" within the meaning of Treasury Regulations Section 1.6011 4(b), or has otherwise
made or been required to malce a filing with respect to any such transaction.

       (j)    There are no private letter rulings, determination letters, closing agreements,
assessments, notices of deficiency and any other similar correspondence issued by or received
from the IRS or any other Government Authority with respect to Tax matters relating to the
Business, except as set fortli in Section 2.13(j) of the Disclosure Schedule.



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         (k)    All material transactions entered into by CEW with Affiliates reflect arm's length
tenns.

       (1)     To CE's Knowledge, CEW will not be required to viclude any item of income in,
or exclude any item of deduction from, taxable income for any taxable period (or portion thereof)
ending after the Closing Date as a result of any:

              (i)      cbange in method of accounting for a taxable period ending on or prior to
the Closing Date;

                (ii)  "closing agreement" as described in Section 7121 of the Code (or any
corresponding or similar provision of state, local or foreign income Tax law) executed on or
prior to the Closing Date;

                 (iii)   intercompany transactions, except as otherwise set forth in Section
2.12(1)(iii) of the D.isclosure Schedule;

                (iv)   installment sale or open transaction disposition made on or prior to the
Closing Date;

                (v)    prepaid amount received on or prior to the Closing Date; or

               (vi)   any similar election, action, or agreement that would have the effect of
deferring any liability for Taxes of CEW or any Subsidiary, if any, from any taxable period
ending on or before the Closing Date to any taYable period ending after such date.

         (m)     Since the date of the Base Balance Sheet, CEW has not: (i) made, changed, or
revolced any Tax or accounting election (ulcluding any change to the annual accounting period or
any change or adoption of any accounting method); (ii) settled any action in respect of Taxes;
(iii) entered into any contractual obligation in respect of Taxes with any taxing authority; (iv)
surrcndered any right to claim a Tax refi.ind; or (v) agreed, committed, arranged or entered into
any contract to do any of the foregoing.

       (n)    For purposes of this Agreement, "Tax Return" (and, with correlative meaning,
"Tax Returns") means any retLirn, declaration, report, claim for refund, or information return or
statement relating to Taxes, including any schedule or attachment thereto, and including any
amendment tllereof.

        (o)    If any realty transfer tax in connection with this transaction, such taxes shall be
paid for or provided for at Closing by CE.

2.14 Certain Contracts and Arrangements.




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       (a)     Except as set forth in Section 2.14 of the Disclosure Schedule (with true and
correct copies of each agreement referred to therein provided to and made available for review
by NVE), CEW is not currently a party or subject to or bound by:

               (i)     any contract or agreement under which the aggregate payments or receipts
for the past twelve (12) months, or for the following twelve (12) months is expected to exceed,
$25,000 (a "Vlaterial Contraet");

                (ii)   any Material Contract which is not cancelable by CEW without penalty on
not less than ninety (90) days' notice;

                (iii)  any contract conta.ining covenants directly or explicitly limiting in any
respect the right of CEW to compete in any line of btisiness or with any Person;

               (iv)    any contract or agreement relating to the licensing, distribution,
development, purchase, sale or servicing of its Products except in the ordinary course of business
consistent with past practices or relating to any CEW Intellectual Property Assets;

              (v)    any indenture, mortgage, promissory note, loan agreement, guaranty or
other agreement or commitment for boi-rowing or any pledge or security arrangement;

                (vi)    any membership redemption or purchase agreements or other agreements
affecting or relating to membership interest of CEW, including, without liniitation, any agreement
with any member which incltides votinQ ai7-angements, operatiiig covenants or similar provisions;

               (vii)   any pension, profit sharing, retirement or stock option plans;

              (viii) any royalty, dividend or similar arrangement based on. the revenues or
profits of CEW or any contract or agreement involving so called "most favored customer"
arrangements;

                 (.ix)   any joint venture, partnership, manufacturer, development or supply
agreement or other agreenient which involves a sharing by CEW of revenues or profits or losses,
costs or liabilities with any other Person;

               (x)     any acquisition, merger or similar agreement;

               (xi)  any collective bargaining agreement or other agreement with any labor
union or other employee representative of a group of employees;

               (xii)   any contract with any Government Authority;

               (Yiii)   any contract relating to the guaraiitee (whether absolute or contingent) by
CEW of (i) the perfonziance of any other Person (other than CEW) or (ii) the whole or any part
of the indebtedness or liabilities of any other Person (otlier than CEW);


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                (xiv) any contract that provides for post-employment or post-consulting liabilities
or obligations, includ'uig severance pay;

               (xv) any contract urider which payments or obliQations will be increased,
accelerated or vested- by occurrence (whether alone or in conjunction with any other event) of
any of the Contemplated Transactions, includ'uig the Acquisition, or under which the value of the
payments or obligations will be calculated on the basis of any of the Contemplated Transactions,
including the Acquisition, whether pursuant to a change in control or otherwise;

                  (xvi) any contract relating to the indemnification by CEW of CE, managers or
agents;

                  (xvii) any Material Contract of indemnification or guaranty;

               (xviii) any power of attorney authorizing the incurrence of an obligation on the
pai-t of CEW; or

                  (xix) any contract not executed in the ordinary course of business

Each contract of the type described in this Section 2.14(a) is refei-red to herein as a"CEW
Contract".

        (b)    An accurate and complete copy of each CEW Contract (including all amendments
thereto) has been made available to NVE.

       (c)      Neitlier CEW nor, to CE's Knowledge, any other party to an CEW Contract is in
material breach, violation or default thereunder, or has received written notice that it has
breached, violated or defaulted under (nor, to the Knowledge of CE, does there exist any
condition under which, with the passage of time or the giving of notice or both, would
reasonably be expected to cause such a breach, violation or default under); any CEW Contract
material to the operationn of the Business.

         (d)    Each CEW Contract is a valid, binding and enforceable obligation of CEW and,
to the Knowledge of CE, of the other party or parties thereto, in accordance with its terms and is
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in ftill force and effect, in each case except to the extent enforcement may be limited by
applicable bankruptcy, insolvency, reorganization, moratorium or other laws affecting creditors'
rights generally or by general equitable principles or by principles of good faith and fair dealing
(regardless of whetlier enforcement is sought in equity or at law).

2.15      hitellectual Propertv.

         (a)    Sectioii 2.15 of the Disclosure Schedule contains a complete and accurate list of
all: (i) Patents owned by CEW or otherwise used or held for use by CEW in the Business
("CEW Patents"), registered and material unregistered Marks owned by CEW or othei-wise used
or held for use by CEW in the Business ("CEW Marks") and registered and material

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unregistered copyrights owned by CEW or otherwise used or held for use by CEW in the
Business ("CEW Copyriglits"), (ii) Proprietary Softtivare, (iii) licenses, sublicenses or other
agreements tulder wliich CEW is granted rights by others in CEW Intellectual Property Assets
(other than commercial off-the-shelf software which is made available for a total cost of less than
S2;000) ("Licenses In"), (iv) licenses, sublicenses or otlier agreements under which CEW has
granted rights to others in CEW hitellectual Property Assets ("Licenses ®ut"); (v) Products;
and (vi) social media accounts, websites, poi-tals, and databases ("CEW Accounts").

       (b)     Except as set fortli on Section 2.15 of the Disclosure Schedule:

               (i)      CEW exclusively owns or possesses adequate and enforceable rights to
use, without payment to a third party, all of the Intellectual Property Assets necessary for the
operation of the Business, free and clear of all mortgages, pledges, charges, liens, equities,
security interests, or other encumbrances or similar agreements. CEW has the right, power and
authority to grant rights, title and interest in CEW Intellectual Property Assets granted in this
Agreement. CEW exclusively owns the "Convergen Energy" name, and convergeneneray.com
domain, which will transfer with it as part of this transaction. CE can continue to use the
Convergen Energy name (but not domain) for 6 montlis after Closing at which point it will to
cease using the name.

                (ii)     all CEW Patents, CEW Marks and CEW Copyrights which have been
issued by or registered with, as applicable, the U.S. Patent and Trademark Office, the U.S.
Copyright Office or in any similar office or a-ency anywhere in the world, are currently in
compliance with foi-mal legal requirements (including without limitation, as applicable, payment
of filing, examination and mauitenance fees, proofs of working or use, timely post-registration
filing of affidavits of use and incontestability and renewal applications) and, to CE's Knowledge,
are valid and enforceable:

                (iii)   there are no pending, or, to CE's Knowledge, threatened claims against
CEW or any of its CE, managers, officers or employees alleging that any use of CEW
Intellectual Property Assets or the operation of the Business, infringes or conflicts with the rights
of others ("Third Party IP") or constitutes a misappropriation of any subject matter of any
Third Party IP or that any of CEW Intellectual Property Assets is invalid or unenforceable;

               (iv)    to CE's Knowledge, neither the operation of the Business, nor any activity
by CEW, nor manufacture, use, importation, offer for sale and/or sale of any Intellectual
Property Assets infi-inges or violates (or in the past infringed or violated) any Third Party IP or
constitutes a misappropriation of (or in the past constituted a misappropriation ot) any subject
matter of any Third Party Right;

               (v)      CEW does not have any obligation to conlpensate any person for the use
of any Intellectual Property Assets; CEW has not entered into any agreement to indcmnify any
other person against any claim of infringeinent or niisappropriation of any Intellectual Property
Assets; there are no settlements, covenants not to sue, consents, judgments, or orders or similar

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obligations that: (A) restrict CEW's rights to use any Intellectual Property Asset; (B) restrict the
Business, in order to accommodate any Third .Party .IP; or (C) pei-mit third parties to use any
CEW Intellectual Property Assets(s) other than in the ordinary course of the Business;

                (vi)    all former and cuirent employees, consultants, and independent
contractors of CEW that have invented or created any CEW Intellectual Property Assets have
executed written instruments with CEW that assign to CEW all rights, title and interest in and to
any and all: (A) inventions, improvements, discoveries, writings, and other works of autliorship,
and information developed or conceived in the course of their employment or engagement with
CEW, except to the extent any such failure to so perform would not reasonably be expected to
llave an CEW Material Adverse Effect; and (B) applicable Intellectual Property Assets relating
tliereto, and in each case where an CEW Patent is held by CEW by assignmcnt, the assignment
has been duly recorded with the U.S. Patent and Trademark Oftice and all siniilar offices and
agencies anywhere in the world in which foreign counterparts are registered or issued;

               (vii) to CE's Actual Knowledge, there is not, nor has there been any,
infringement, violation or misappropriation by any Person of any of CEW Intellectual Property
Assets or the subject matter thereof or CEW's rights therein;

                 (viii) CEW has taken commercially reasonable steps and seciLrity measures to
protect the secrecy, confidentiality and value of all Trade Secrets used in the Business (the
"CEW Trade Secrets") and Intellectual Property Assets, including but not limited to, ensuring
that all employees, contractors and agents and other persons having access to CEW Trade
Secrets and Intellectual Property Assets have executed valid confidentiality and assignment of
invention agreements or similar agreements or contracts, copies or forms of which have been
provided to NVE, and (A) there has been no misappropriation of any material trade secrets or
other material confidential CEW Intellecthial Property Assets by any Person; (B) no employee,
independent contractor or agent of any of the Sellers has misappropriated any trade secrets of
any otlier Person ui the course of his performance as an employee, independent contractor or
agent of CEW; and (C) no current or former employee, independent contractor or agent of CEW
is in default or breach of any term of any employment agreement, non-disclosure agreement,
non-compete obligation., assignment of invention agrecment or similar agreement or contract
relating in any way to the protection, own.ership, development, use or transfer of CEW
Intellectual Property Assets;

              (ix)    the Proprietary Software and each Product perfoi-rn in accordance with its
documented specifications, except to the extent any such failure to so perform would not
reasonably be expected to have a CEW Material Adverse Effect;

               (x)     (A) CEW is .in actual possession of and has exclusive control over a
complete and correct copy of the source code for all proprietary components of the Proprietary
Software and the Products, including all previous major releases; (B) the source code for all
software developed by CEW has been documented; (C) CEW has not granted to any Person,
directly or indirectly, any current or contingent rights, licenses or interests in or to the source

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code of any of the software created by CEW or used by CEW in the conduct of the Business; (D)
since the time of development of such source code, CEW has not provided or disclosed such
source code to any Person; (E) Section 2.14(b)(x) of the Disclosure Schedule identifies eacli
agreement pursuant to wliich CEW is or may be required to deposit, with an escrow agent or any
other Person any Proprietary Software or Product source code, and fiirther describes whether the
execution of this Agreement or the consummation of the Contemplated Transactions, in and of
itself, would reasonably be expected to result in the release from escrow of any such source
code; (F) to CE's Knowledge, as of the date hereof, there has been no unauthorized theft, reverse
engineering, decompiling, disassembling, or otlier unauthorized disclosure of or access to any
source code; (G) none of the Proprietary Software nor Products contain, incorporate, link or call
to or otlierwise use any software (u1 source or object code forna) licensed from another party
under a license commonly refei-red to as an open source, free software, copyleft or community
source code license- (including but not limited to any library or code licensed under the GNU
General Public License, GNU Lesser General Public License, Apache Software License, or any
other public source code license arrangement) (collectively "®pen Source"); and (H) CEW has
not embedded any Open Source, copy left or cominunity source code in any of its Proprietary
Software or Products, including but not limited to any license arrangement that would require
CEW to (xx) make any public disclosure or to make available any source code or other
Intellectual Property Assets either used, developed, or modified by CEW or (yy) grant licensees
rights under the Proprietary Software or otlier CEW Iiitellectual Property Assets or that contains
other provisions that relinquish or compromise any liztellectual Property Assets or (zz) violates
any Intellectual Property Agreements.

                (xi)   all Proprietary Software and Products: (A) comply with all Applicable
Laws and industry standards, including with respect to security; and (B) confoi-iii to all
applicable contractual commitments, express and implied warranties (to the extent not subject to
legally effective express exclusions thereof), representations and claims in packaging, label.ing,
advertising, and marketinc, materials, and applicable specifications, user manuals, training
materials and otlier documentation.

              (xii) neither the Proprietary Software nor the Products contain any substantial
bug, defect, or error that materially adversely affects, or could reasoiiably be expected to
adversely affect, the value, functionality, or performance of such Proprietary Software or
Products.

               (xiii) neither the Proprietary Software nor the Products or any otlier software
used in or in connection witb the operation of the Business, contain any, and CEW has taken
commercially reasonable steps to prevent the introduction of, a"time bomb," "Trojan horse,"
"back door," "worm," virus, malware, spyware, or other device or code (collectively, "Malicious
Code") into the Proprietary Software or Products.

               (xiv) (A) the IT Systems are reasonably sufficient for the immediate needs of the
Business, including as to capacity, scalability, and ability to process current and anticipated pealc
volumes in a timely manner; (B) the IT Systems are in sufficiently good working condition to

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perforni all information teclhnology operations, include sufficient licensed capacity (whether in
terms of authoi-ized sites, units, users, seats, or otheiwise) for all software, in each case as
necessary for the conduct of the Business as currently conducted, and liave been used and
maintained stibstantially in accordance with their manufacturer's recluirements, if any, as
specified in the documentation for sanie and applicable insurance policies; (C) without limiting
the foregoing, CEW owns or licenses the right to use all software development tools, library
functions, or compilers used by CEW to provide, create, modify, compile, or support any
Proprietary Software or Products; and (D) without limiting the foregoinv, as of the Closing Date,
CEW will own or license the right to use all software used in connection with the Proprietary
Software and Products.

               (Yv)     in the last thirty-six (36) months, there has been no lcnown or suspected
unauthorized access, use, intrusion, or breach of security, or material failure, breakdown,
perforiilance reduction or other adverse event affecting the IT Systenis, that has caused or could
reasonably bc expected to cause any: (A) substantial disruption of or interi-tiption in or to the use
of sucli IT Systems or the conduct of the Business; (B) loss, destruction, damage, or harm of or
to CEW or its operations, personnel, property, or other assets; or (C) liability of any kind to
CEW. CEW has taken all reasonable actions, consistent witli applicable industry best practices,
to protect the integrity and security of the IT Systems and the data and other infoi-mation stored
or processed thereon.

                (xvi) CEW has delivered or made available to NVE correct and coniplete copies
of all agreements relating to Licenses In or Licenses Out (together, "Intellectual Property
Agreements") to wliicll CEW or CE is a party, except "slirink-wrapped" or "off-the-shelf'
software that is readily available to the public. With respect to each such Intellectual Property
Agreement: (A) such Intellectual Property Agreement is valid and binding on CEW, is in full
force and effect and, together with the related invoices, represent the entire agreement between
the respective parties with respect to the subject matter of such Intellectual Property Agreement;
(B) assuming the receipt or making of all necessary consents, approvals, waivers, authorizations,
novations, notices and filings in connection with the Contemplated Transactions, such
I.ntellectual Property Agreement will not cease to be valid and binding and in full force and effect
on terms identical to those currently in effect as a result of the consummation of the
Contemplated Transactions, nor will the consummation of the Contemplated Transactions
constitute a breach or default under such hitellectual Property Agreement or otherwise give a
party a right to terminate such Intellectual Property Agreement; (C) CEW has not (i) received
any notice of termination or cancellation under sucli Intellectual Property Agreement, (ii)
received any notice of a breach or default under such Intellectual Property Agreement, which
breach has not been cured, or (iii) Qranted to any other tliird party any rights, adverse or
otherwise, under such Intellectual Property Agreement that would constitute a breach of such
Intellectual Property Agreement; and (D) assuming the receipt or making of all necessary
consents, approvals, waivers, authorizations, novations, notices and tilings in connection with the
Contemplated Transactions, neither CEW nor, to CE's Knowledge, any other party to such
Intellectual Property Agreement is in breach or default in any material respcct under an


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Intellecttial Property Agreement and, to CE's Knowledge, no event has occurred that, witli notice
or lapse of time would constitute such a breach or default or permit tenriination, modification or
acceleration under such Intellectual Property Agreement.

             (xvii) CEW has not entered into any agreements vvith the United States
government (or any of its agencies) pursuant to wliich CEW or any its employees are required to
assign any CEW Intellectual Property Assets rights in favor of such government or agency.

              (xviii) (A) CEW maintains commercially reasonable backLip and data recovery,
disaster recovery, and business continuity plans, procedures, and facilities; (B) acts in
compliance therewith; and (C) tests such plans and procedures on a regular basis, and such plans
and procedures liave been. proven reasonably effective by such tests.

       (c)     For purposes of this Agreement,

              (i)      "Business" means the business of CEW as conducted immediately prior to
the Closing Date.

               (ii)    "CEW Intellectual Property Assets" means all Iiitellectual Property
Assets owned by CEW or used or held for use by CEW in the Business, including without
limitation CEW Patents, CEW Marks, CEW Copyrights, CEW Trade Secrets, CEW Accounts,
Proprietary Softvvare and Products.

                (iii)  "Intellectual Property Assets" means any and all of the following, as
they exist throughout the world: (A) patents, patent applications of any kind, patent rights,
inventions, discoveries and invention disclosures (whether or not patented) (co.11ectively,
"Patents"); (B) rights in registered and unregistered trademarks, service marks, trade names,
trade dress, logos, packaging design, slogans and Internet domain names, and registrations and
applications for registration of any of the foregoing (collectively, "Marks"); (C) copyrights in
both published and trnpublished works, including without limitation all compilations, databases
and computer programs, software, manuals and other documcntation and all copyright
registrations and applications, and all derivatives, translations, adaptations and combinations of
the above (collectively, "Copyrights"); (D) rights in know-how, trade secrets, confidential or
proprietary information, research in progress, algorithms, data, designs, processes, formulae,
drawings, schematics, blueprints, flow charts, models, strategies, prototypes, techniques, Beta
testing procedures and Beta testing results (collectively, "T'rade Secrets"); (E) any and all other
intel.lectual property rights and/or proprietary rights relating to any of the foregoing; and (F)
goodwill, franchises, licenses, permits, consents, approvals, and claims of infringement and
misappropriation against third parties.

               (iv)   "IT Systems" means all personal property, equipment and pliysical or
electronic media relating to communications and computer systems, including computer
liardware, networks and peripherals.



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              (v)    "Products" means those sei-vices and hardware and software products,
including related documentation, currently or previously rescarched, designed, developed,
manufactured, marketed, sold, distributed, liceilsed, performed or otherwise made available by
CEW in coiuiection with the Business.

                (vi)    "Proprietary Software" means all proprietary software developed and
owned CEW, including all new versions, updates, revisions, improvements, and moditications
thereof, whether in source code, object code, or executable code format, including systems
software, application software (including niobile apps), firmware, middleware, progrannning
tools, scripts, routines, interfaces, libraries, and databases, and all related specifications and
documentation, including developer notes, cotnments and annotations, user manuals, and training
materials relatin.g to any of the foregoing.

2.16 Litifration. CEW has not received notice of any pending litigation or governmental or
administrative proceeding or investigation. To CE's Knowledge, no liti-ation or governmental
or administrative proceeding or investigation has been tlueatened: (a) against CEW; (b) affecting
the property or assets of CEW; or (c) as to matters related to CEW, against any manager,
Member or key employee of CEW in their respective capacities in such positions. To CE's
Knowledge, there has not occurred any event, and there does not exist any condition, on the basis
of which any litigation or governmental or administrative proceeding or investigation may
reasonably be asserted.     There has been no litigation, governmental or administrative
proceedings or, to CE's Knowledge, uivestigations involvulg CEW or any of its managers, CE or
key employees in connection with the Business, occurring, arising or existing during the past five
(5) years.

2.17 Labor iVtatters. CEW employs approximately twenty-six (26) full-time and no (0) part-
time employees. In addition, Ted Hanseii, Dennis Conn, Brian Mikkelson, and Raiidall
Pai-mentier will be transferred to CEW under current employment terms immediately prior to
Closing. CEW is not delinqiient in paytnents to any of its employees for any wages, salaries,
commissions, bonuses or other direct compensation for any services performed for CEW as of
the date hereof or amounts required to be reimbursed to such employees. CEW is and heretofore
has bcen in compliance in all material respects with all applicable laws an.d regulations
respecting labor, employinent, fair employment practices, teims and conditions of employment,
occupational safety and health, and wages and hours. There are no charges of employment
discrimuiation, harassment or unfair labor practices or strikes, slowdowns, stoppages of work, or
any other concerted interference with normal operations existing, pending or, to the Knowledge
of CE, threatened against or involvirig CEW. CEW is, and during the period CE has owned
CEW, CEW has been, in compliance in all material respects witli the requirements of the
Immigration Reform Control Act of 1986. CEW has not received notice of any changes pending
or threatened with respect to (including, wlthout Imlltatlon, the resignation of) the key employees
or key independent contractors of CEW. During the period CE has owned CEW, CEW has not
implemented any plant closing or mass layoff of employees as those terms are defined in the
Worlcer Adjustment Retraining and Notification Act of 1988, amended, or any similar state or


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local law or regulation, and no layoffs that could implicate such laws or regulations are currently
contemplated. To CE's Actual Knowledge, none of CEW's eniployees is obligated under any
contract (including licenses, covenants or commitments of any nature) or other agreement, or
subject to any judgment, decree or order of any court or administrative agency, that would
materially interfere with such employee's ability to fulfill their job responsibilities or that would
conflict witli the Business. Neither the execution or delivery of tliis Agreement or the
agreements contemplated hereby, nor the carrying on of the Business by the employees of CEW,
nor the conduct of the Business as now conducted, will, to CE's Knowledge, conflict with or
result in a breach of the tei-tns, conditions, or provisions of, or constitute a default under, any
contract, covenant or insti-ument under which any such employee is now obligated. CEW is not
bound by or subject to (and none of its assets or properties is bound by or subject to) any written
or oral, express or implied, contract, commitment or arrangement with any labor union, and no
labor union lias requested or, to CE's Actual Knowledge, has sought to represent any of the
employees, representatives or agents of CEW. There is no strilce or other labor dispute involving
CEW pending, or to CE's Actual Knowledge, threatened, which could reasonably be expected to
have a CEW Material Adverse Effect, nor are CE aware of an.y labor organization activity
involving CEW's employees.

2.18 Permits; Compliance witli Laws. CEW has all franchises, authorizations, approvals,
orders, consents, licenses, certificates, pei-mits, registrations, qualifications or other rights and
privileges (collectively "Permits") necessary to permit it to own its property and to conduct its
Business as it is presently conducted, and all such Permits are valid and in full force and effect.
Section 2.18 of the Disclosure Schedule sets forth a list of all Permits obtained or othenvise held
by CEW. No Pei-init that CEW has is subject to termination as a result of the execution of this
Agreement or consummation of the Contemplated Transactions. To CEW's Knowledge, CEW is
now and has heretofore been in comptiance in all material respects with all applicable statutes,
ordinances, orders, rules and regulations promulgated by any U.S. federal., state, municipal, non-
U.S. or othei- Goveniment Authority, which apply to the conduct of its Business. During the
period CE has owned CEW, CEW has not entered into or been subject to any judgment, consent
decree, compliance order or administrative order with respect to any aspect of the Business,
affairs, properties or assets of CEW or received any request for infoi-tnation, notice, demand
letter, administrative inquiry or fonnal or informal complaint or claim from any regulatory
agency with respect to any aspect of the Business, affairs, properties or assets of CEW. To CE's
Knowledge, there are no pending or tlireatened filings against CEW of an action relating to CEW
under any foreign, federal, or state whistleblower statute.

2.19 Emplovee Benefrt ProRrams. Section 2.19 of the Disclosure Schedule describes all
Employee Benefit Programs (as such term is de6ned 'ui Exhibit A) niaintained by CEW.

2.20 Insurance Coverage. Section 2.20 of the Disclosure Schedule contains a list of the
insurance policies cui-rently maintained by CEW. There are currently no claims pending against
CEW under any insurance policies currently in effect and covering the property, Business or
enlployees of CEW, and all premiums due and payable witli respect to the pol.icies maintauied by


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CEW have been paid to date. To CE's Knowledge, there is no threatened tei-mination of any such
policies or arrangements.

2.21 Investment BankinR; Brokeraize. There are no claims for investment banking fees,
brokerage commissions, broker's or finder's fees or similar compensation in connection with the
Contemplated Transactions payable by CEW or based on any arrangement or agreement made
by or on behalf of CEW.

2.22 Environmental Matters. CEW is, and has been dtiring the period CE has owned CEW, in
compliance in all material respects with all applicable environmental, health and safety laws,
rules, ordinances, by-laws and regulations, and with all permits, registrations and approvals
required under such laws, rules, ordinances, by-laws and regulations (collectively,
"E iiviron mental Laws"). CE is not aware of any fact or circumstance that could reasonably be
expected to involve CEW in any litigation, or impose upon CEW any liability, arising under any
Environmental Law.

2.23 Customers. .Distributors and Partners. Section 2.23 of the Disclosure Schedule sets forth
the name of each customer of CEW who accounted for more than five percent (5%) of the
revenues of CEW for any of the fiscal years ended December 31, 2017 and December 31, 2018
and December 31, 2019 (t11e "Customers") together with the names of any persons or entities
witli which CEW has a material strategic partnership or similar relationship ("Partners").
Except as set forth in Section 2.22 of the Disclosure Schedule, no Customer or Partner of CEW
has canceled or otherwise teriiunated its relationship with CEW or has materially decreased its
usage or purchase of the sei-vices or products of CEW in the last twelve (12) months. No
Customer or Partner has, to CE's Actual Knowledge, any plan or intention to tenninate, cancel or
otherwise materially and adversely modify its relationship witli CEW or to decrease materially or
limit its usage, purchase or distribution of the services or products of CEW.

2.24 Suppliers. CEW's relationships with its major suppliers are good commercial working
relationships. Within the last twelve (12) months, no supplier that CEW has paid, or is under
contract to pay, S25,000.00 or more has canceled, materially modified, or otherwise terminated
its relationship with C.EW, or materially decreased its services, supplies or materials to CEW,
nor to the Actual Knowledge of CE, does any supplier have any plan or uitention to do any of the
foregoing.

2.25 WaiTanty and Related Matters. There are no existing or, to the Actual Knowledge of CE,
threatened, claims against CEW relating to any work performed by CEW, product liability,
warranty or other similar claims against CEW alleging that any CEW Product (as defined below)
is defective or fails to meet any product or service warranties. To CE's Kiiowledge, there are: (a)
no inherent design defects or systemic or chronic problems in any CEW Product; and (b) no
claims relating to any defects or problems with a CEW Product which could reasonably be
expected to have a CEW iUlaterial Adverse Effect. The term "CEW Product" means products or
services that CEW distributes, services, markets, sells or produces for itself, a custonier or a tliird
party.

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2.26 Nlonev Laundering. The operations of CEW are and, during the period CE has owned
CEW, have been conducted at all times in compliance with the money laundering statutes of
applicable jurisdictions, the rules and regulations thcreunder and any related or similar rn.iles,
reg.ilations or guidelines, issued, adiniiustered or enforced by any applicable governmental
agency (collectively, the "iVIoney Launderinb i.aws"). To CE's Knowledge, no action, suit or
proceeding by or before any court, Govennnent Authority, or any arbitrator involvina CEW with
respect to the Nloney Laundering Laws, is pending or threatened.                    ~

2.27 Illegal Payments. During the period CE has owned CEW, neither CEW nor, to CE's
Acttial Knowledge any Affiliate of CEW, has offered, made or received on behalf of CEW any
illegal payment or contribution of any kind, directly or indirectly, including, without limitation,
paymcnts, gifts or gratuities, to any person, entity, or United States or foreign national, state or
local government officials, employees or agents or candidates therefor or other Persons.

2.28 Government Contracts.             CEW has (a) no contractual obligation to renegotiate
governmeiit, quasi-goverrunent, sovereign or quasi-sovereign contracts or subcontracts, (b) not
been suspended or debarred from bidding on contracts or subcontracts with any federal, state or
local agency or governmental or sovereign authority, (e) not been audited or investigated by any
such agency or authority with respect to contracts entered into or goods and services provided by
CEW or any of its Aftiliates or (d) not had a contract terminated by any sucli agency or autliority
for default or failure to perfoi-in in accordance with applicable standards. During the period CE
has owned CEW, CEW lias not had any outstanding agreements, contracts or commitments that
require it to obtain or maintain a United States government security clearance or a foreign
government security clearance. CEW has no government contracts.

2.29 Reaulatory Authorities. Neither CEW, nor, to CE's Actual Knowledge, any Member,
manager, a;ent, employee, Affiliate or Person acting on behalf of CEW, is currently subject to
any U.S. sanctions administered by any applicable reglilatory autliorities.

2.30 Securitv Program; Privacv. (a) To CE's Knowledge, CEW has in all material respects
complied at all tinles with all Applicable Laws regarding the collection, use, storage, transfer, or
disposal of persoiial information in connection with the operation of the Business; (b) CEW is in
material compliance with the terms of all contracts to which it is a party relating to data privacy,
security, or breach notification (including provisions that impose conditions or restrictions on the
collection, use, storage, transfer, or disposal of personal information); (c) no Person (including
aiiy Government Authority) has commenced any action relating to CEW's infonnation privacy
or data security practices, including with respect to the collection, use, transfer, storage, or
disposal of personal information maintained by or on behalf of CEW, or, to CE's Knowledge,
threatened any such action or made any complaint, investigation, or inquuy relating to such
practices; (d) CEW has established and implemented policies, programs, and procedures that are
in conipliance witli applicable industry practices, including administrative, technical, and
physical safeguards, to protect the confidentiality, integrity, and security of personal information
in its possession, custody, or control against unautliorized access, use, modification, disclosure,
or otlier misuse of any personal iiiformation in CEW's possession, custody, or cont-rol, or

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otherwise held or processed on its behalf, and (e) to CE's Knowledge, CEW has not esperienced
any loss, damage, or unauthorized access, disclosure, use, or breach of security of any personal
information in CEW's possession, custody, or control, or otherwise held oi- processed on its
behalf.

2.31 Disclosure. The representations and warranties made or contained in this Agreement, the
Disclosure Schedule and exhiUits hereto and the certiticates and statements executed or delivered
in connection herewith and all other information provided in writing by CEW and CE to NVE in
connection with the Contemplated Transactions, when taken together, do not and shall not
contain any untrnie statement of a material fact and do not and sliall not omit to state a material
fact required to be stateci herein or tlierein or necessaiy in order to make such representations,
wai-ranties or other material not misleadina in the li~ht of the circumstances in which they were
made or delivered. No Member or manager of CEW has been: (a) convicted in a criminal
proceeding or named as a subject of a pending criminal proceeding (excluding traffic violations
and other minor offenses) or been otherwise accused of any act of moral turpitude; (b) the
subject of any order, judgment, or decree (not subsequently reversed, suspended or vacated) of
any court of competent jurisdiction permanently or temporarily enjoining him or her froni, or
otherwise imposing limits or conditions on his or her ability to engage in any Securities,
investment advisory, banking, insurance or other type of business or acting as an officer or
director of a public company; or (c) has engaged in other conduct that would be required to be
disclosed in a prospectus under Item 401(f) of Regulation S-K promulgated by the Securities and
Exchange Commissiori.


                                         AR'TICI,E III

                     REPRESENTATIONS AND WARRANTIES OF NVE

       NVE represents an.d warrants to CE as follows, except as set forth in a disclosure
schedule (the `NVE Schedule") delivered by NVE contemporaneously with the execution of this
Agreement:

3.1.    Organization, Powers and Qualitications. NVE is a corporation duly organ.ized and
validly existing and in good standing under the laws of the State of Delaware. NVE has all
requisite corporate power and authority to carry on its business as it has been and is now being
conducted and to own, lease and operate the properties and assets used in connection therewitli.
NVE is dtdy qualified as a foreign corporation authorized to do business and is in good standing
in every jurisdiction in which such qualification is required, other than such jurisdictions where
the failure so to qualify would not have a NVE Material Adverse Effect, as such term is defined
in Exhibit A.

3.2.   Authoritv. The cxecution and delivery of this Agreement and the consunimation of the
Contemplated Transactions have been authorized by all necessary corporate action on the part of
the Board of Directors of NVE and by those shareholders of NVE holding voting common stock


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and no other corporate proceedings on the part of NVE are necessary to authorize th.is
Agreement or to carry out the Conteniplated Transactions. This Agi-eement is binding and
enforceable upon NVE in accordance with its terms, subject to any bankruptcy, insolvency,
moratoriuin or other laws affecting the enforcement of creditors' rights.

3.3.      Conflict with Other AQreements; Consents and Approvals.

         With respect to the following: (a) the Certiticate of Formation and Operating AQreement
of NVE; (b) any law, statute, ilile or regulation applicable to NVE; (c) any contract to which
NVE is a party or may be bound or any Permit held by NVE; and (d) any judgment, order,
injunction, decree oi- ruling of any court, arbitrator or governmental or regulatory ofFcial, body
or authority applicable to NVE; the execution, delivery and performance by NVE of this
Agreement and the Contemplated Transactions will not (i) result in any violation, conflict or
default, or give to others any interest or riQhts, includina riglits of ternlination, cancellation or
acceleration whicli would have a NVE Material Adverse Effect, or (ii) require any authorization,
consent, approval or exemption by any person, the failure to obtain which would have a NVE
Material Adverse Effect, whicli has not been obtained, or any notice to or filing which has n.ot
been given or done, other than filings pursuant to applicable state and federal securities laws, and
the filing of appropriate Acquisition documentation under the Acts.

3.4. , BrokeraQe. In connection with the Contemplated Transactions, no broker, finder or
similar agent has been employed by or on behalf of NVE, and no person with which NVE has
had dealings or communications of any kind is eiititled to any brokerage or finder's fee or other
commission in connection with the transactions.

3.5.    Disclosure. The representations and wai-ranties made or contained in this Agreement, the
Disclosure Schedule and exhibits hereto and the certificates and statements executed or delivered
in connection herewith and all other information provided in writing by NVE to CE in
connection with the Contemplated Transactions, when taken together, do not and shall not
contain any untnie statement of a material fact and do not and shall not omit to state a material
fact required to be stated herein or tlierein or necessary in order to make such representations,
warranties or other material not misleading in the light of the circumstances in which they were
made or delivered. No officer or director of NVE has been: (a) convicted in a criminal
proceeding or named as a subject of a pending criminal proceeding (excluding traffic violations
and otlier minor offenses) or been othei-wise accused of any act of moral turpitude; (b) the
subject of any order, jtidgment, or decree (not subsequently reversed, suspended or vacated) of
any court of competent jui-isdiction permanently or temporarily enjoining him or her from, or
otherwise imposing limits or conditions on h.is or her ability to engage in any Securities,
investment advisory, banking, insurance or other type of business or acting as an officer or
director of a public company; or (c) has engaged in other conduct that would be required to be
disclosed in a prospectus under Item 401(f) of Reaulation S-K promulgated by the Securities and
Exchange Cominission.                              y




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                                            AR'I'ICLE IV

                                            CO VENANTS

4.1.      Conduct of Business Prior to Closina.

        From the date of this Agreement to the Closing Date, CEW (except as expressly
contemplated or pei-mitted by this Agreement, or to the extent that NVE shall othenvise consent
in writing) agrees that it:

        (a)    will conduct and operate its Business only in the ordinary course consistent with
past practice;

       (b)     will not conduct its Business in such a manner so as to purposely cause the
representations and warranties made by it herein not to be true on the Closing Date as though
such representations and warranties were made on and as of such date;

       (c)    will use its reasonable best efforts to keep available the services of its present
eniployees and agents and to maintain its current business relationships and goodwill;

         (d)     will not modify or amend its Organizational Documents or Bylaws;

        (e)    will not enter into or amend any employment contracts or any employee benefit
plan or arrangement, increase the rate of compensation (or other bonus or benefit) payable or to
become payable by it to any officer or any other executive employee, extend any credit or make
any loans to any employee, make any general increase in compensation or rate of compensation
(or other bonus or benefit) payable or to become payable to hourly employees or except in the
ordinary course of business consistent with past practice, or make any material increase in the
contributions to any employee benefit program or arrangement;

       (f)     will not incur or guarantee any debt in excess of $ 10,000.00 except in the ordinary
course of business consistent with past practice;

       (g)    will not sell or dispose of atiy assets (tangible or intangible) except for sales in the
ordinary course of business consistent with past practice;

        (h)      will not transfer, assign, license or encumber, or permit any of its employees or
agents to transfer, assign, license or encumber, in whole or in part, any proprietaiy right owned
or held by it, including but not limited to any rights to or interest in CEW Intellectual Assets;

        (i)      will not change in any material respect its accounting and tax practices, policies or
principles;




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      (j)     will not cancel or waive any debts or claims having a value of $ 10,000.00 in the
aggregate, except for such cancellations and waivers which will not cause an CEW Material
Adverse Effect;

        (k)     will pay all Taxes as they become due, file all federal, state, local and foreigil tax
rethirns, reports and statements required to be filed by CEW within the time and in the manner
prescribed by Applicable Law, and collect or withhold all Taxes required to be collected or
withlield from employees, independent consultants or other third parties;

       (1)      will not enter into any (or modify any ex.isting) lease, contract, commitment or
agreement or engage in any transaction (including without limitation any boi-rowing, capital
expenditure, capital financing, leasing arrangement or purchase commitment) except in the
ordinary course of business consistent with past practice (other than special arrangements with
brokers, attorneys, and accountants to consummate a fimdamental transaction).

Notwithstanding the foregoing, the Parties acknowledge that, on or before the Closing Date,
CEW anticipates makuig distributions to CE representing all available cash and cash equivalents
prior to the Closing Date. For purposes of computing CEW's Closing Date Net Working
Capital, such distributions shall be deemed to have been made prior to the Closing Date.




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4.2.    UpdatinQ of Schedules. From the date of tliis Agreement to the Closing Date, each of
CEW and NVE agrees that it will promptly infonn the otlier Party ul writing if any infonnation
set forth in a Schedule provided hereunder is not accurate and complete in all material respects as
of such later date and will promptly disclose to the otlier Party in writing any iiiformation which
arises after the date hereof and which would have been required to be included in its Schedule to
make such Scbedule accurate and complete in all material respects as of such later date;
provided, however, that none of such disclosures shall be deemed to modify, amend or
supplement its representations and warranties or its Schedule for purposes of any provision
hereof unless the other shall have consented tliereto in writing.

4.3.     Access. From the date of this Agreement to the Closing Date, each of the Parties hereto
agrees that it vvill give to the other Party hereto and its respective financial advisers, cotuisel,
accountants and other representatives full access, during normal business hours upon reasonable
advance notice, to all personnel, properties, books, contracts, documents and records vvith respect
to its affairs as such requesting party may reasonably request, including without limitation all
work papers, schedules and calculations relating to financial statements, and any other
information that may be necessary for such requesting party to conduct aii audit of the books and
records of such other party. Aiiy such information shall be delivered subject to the provisions
regarding confidentiality set forth in the Confidentiality Agreement between the Parties, dated
September 6, 2019, shall be deemed to be Confidential Information as defined thereiii, and NVE
and CEW shall be bound by the provisions of the Confidentiality Agreement vvhicli are
incorporated herein by this reference.

4.4. Member and Manager Approvals. The Parties acknowledge and agree that Contemplated
Transactions and the execution of this Agreement have been approved by the Managers of CE
and NVE.

4.5.    Third Party Consents. Prior to the Closing Date, each of NVE and CEW shall make
commercially reasonable efforts to obtain all consents, approvals or authorizations of third
parties vvhich are required to be obtained by each of them in order to effect the Contemplated
Transactions and such other consents, approvals or authorizations the absence of which would
have an CEW Material Adverse Effect or a NVE Material Adverse Effect, as applicable.

4.6.    Satisfaction of Conditions. Each Party hereto will use its reasonable best efforts to
satisfy all. the conditions to be satisfied by it to effect the Contemplated Transactions.

4.7.    Public Aiinouncenients. The Parties acknowledge and agree that the tenns of this
Agreement and the Acquisition are strictly confidential and that significant damages may result
if either Party improperly discloses such temis to anyone witllout the need to know. Neither CE,
CEW nor NVE will make, issue or release any oral or written public announcement or statement
concerning, or acicnowledgtnent of the existence of, or reveal the terms, conditions and status of,
the Contemplated Transactions (otller than to their respective shareholders and CE), or issue any
other communications to the public, directly or i.n.directly (including, without limitation, press
releases), without flrst obtaining the written consent and authorization of the other Party.




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4.g.     Other Proposals. CE hereby agrees that it shall not nor shall it authoi-ize or permit any
managers, employees, Affiliates, or otlier representatives or agents (collectively, the "CE
Representatives") to, directly or indirectly, solicit, encourage (including by way of fur.nishing
non-public infonnation), initiate discussions or negotiations relating to or take any other action to
facilitate, any inquiries or the making of any proposal for an Acquisition. Transaction. As used
lierein, the term "Acquisition 'Transaction" shall mean the occurrence of any of the followina
events: (i) all or any part of CEW is acquired by Acquisition or othei-wise by any Person, other
than NVE or any of NVE's Afftliates (a "'Third I'arty"); (ii) a Third Pai-ty acquires all or any
part of the assets of CEW other than in the ordinary course of business; or (iii) CEW enters into a
preliminary or definitive agreement with a Third Party relating to any of the transactions referred
to in clauses (i) through (ii) above. CEW agrees that it shall promptly notify NVE in writuig of
any such inquiries or proposals relat'ulg to an Acquisition Transaction, which notification shall
include the identity of the Person making sucli proposal or request, the tei-ms thereof, and any
other inforination with respect thereto as NVE may reasonably request.

4.9.   Assurances. CE shall use its reasonable best efforts to obtain reasonable assurances that
all material contractual rights of CEW will survive the Acquisition, except where the failure to
do so will not cause a CEW Material Adverse Effect.

4.10. CEW's Employees. CEW shall use its reasonable best efforts to retain all of CEW's
employees througb Closing.

                                           ARTICLE V

                          CONDITIONS TO OBLIGATIONS OF NVE

        The obligations of NVE to consuinmate the Acquisition provided for in this Agreement
shall be subject to satisfaction, on oi- before the Closing Date, of the following conditions:




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5.1.    Due DiliLyence Investi2ation. NVE shall have completed its due diligence investigation
of the assets, properties, Business and operations of CEW to its sole satisfaction.

5.2.   Representations, Warranties. and Covenants of CEW. The representations and wai-ranties
of CEW herein contained and the information contained in CEW Disclosure Schedule and other
documents delivered by CEW in corulection with this Agreement shall be tnie and correct at the
Closing Date with the sanie effect as though made at such time, except to the extent waived
hereunder or affected by the Contemplated Transactions; CEW shall have performed in all
material respects all obligations and complied in all material respects with all agreements,
undertakings, covenants and conditions required by this Agreement to be performed or complied
with by CEW prior to the Closing Date.

5.3.      Reseived.

5.4.      Reserved.

5.5.    No Iniunctions. No preliminary or permanent injunction or other order, decree or ruling
by any federal, state or provincial court in the United States or by any United States
govei-nmental, regulatory or administrative agency which prevents the consummation of the
Contemplated Transactions (including the Acduisition) shall have been issued and remain in
effect.

5.6.  Consents. All consents of third parties reasonably necessary to the consummation of the
Contemplated Transactions, including but not limited to those set forth in CEW's Disclosure
Schedule, shall have been obtained.

5.7.   Securities Laws. All approvals, consents, permits, licenses or qualifications from
authorities administering the securities laws of any state having jurisdiction, required in the
reasonable judgment of NVE for the consummation of this Agreement and the Acquisition, shall
have been obtained and shall be in full force and effect.

5.8.     Reserved.

5.9    Supply Conti-act and Transition Services Agreement. CE shall have executed and
delivered the Supply Contract and a Transition Services Agreement in the foi-m attached hereto
as Exhibit I and J("Supply Contract" and "'I'ransitioii Services Agreement" respectively) on
terms acceptable to the Parties.

5.10 CEW Material Adverse Effect. There shall not have occurred after the date of this
Agreement, and be continuing as of the Closing Date, any CEW Material Adverse Effect, except
where such CEW Material Adverse Effect is due to any negligence or willful act or omission on
the part of NVE.




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                                        ARTICLE VI

                           CONDITIONS TO OBLIGATION OF CE

        The obligations of CE to consummate the Acquisition provided for in this Agreement
                                                                                      1-1


shall be subject to satisfact.ion, on or before the Closu7g Date, of the following conditions:

6.1.    Due DiliQence Investiaation. CE shall have completed its due diligence investigation of
the assets, properties, business and operations of NVE to its sole satisfaction.

6.2.   Representations, Wai-ranties, and Covenants of NVE. The representations and warranties
of NVE herein contained and the uiformation contained in NVE's Disclosure Schedule and other
documents delivered by NVE in connection with this Agreenzent shall be true and correct at the
Closing Date with the saine effect as thouQh made at such time, except to the extent waived
hereunder or affected by the Contemplated Transactions; NVE shall have performed in all
material respects all obligations and complied in all material respects with all agreements,
undertakings, covenants and conditions required by this Agreement to be performed or complied
with by them at or prior to the Closing Date; and NVE shall have delivered to CEW a certificate
in form and substance satisfactory to CEW dated the Closing Date and signed by the President
and Chief Executive Officer of NVE to such effect.

6.3.   Approvals. The requisite approval of this Agreement and the Conteniplated Transactions
s11a11 have been given by Board of Directors of NVE. Additionally, the consent of the holders of
the Voting Conimon Stock of NVE shall have been given.

6.4.   Consents. All consents of third parties necessary or appropriate to the consummation of
the Contemplated Transactions, including but not limited to those set forth in CEW Disclosure
Schedule, shall have been obtained.

6.5.    NVE Material Adverse Effect. There shall not have occurred after the date of this
Agreement, and be continuing as of the Closing Date, any NVE Material Adverse Effect, except
where such NVE Material Adverse Effect is due to any negligence or willful act or omission on
the part of CEW or a Member.

6.6     Employee Transfer. Ted Hansen, Dennis Conn, Brian Mikkelson, and Randall Parnientier
will be transferred to CEW as employees under current employment tenns immediately prior to
Closing.



                                        ARTICLE VII

                      TERMINATION, WAIVER AND AMENDMENT




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7.1.    Termination. This Agreement may be tei-minated by written notice of termination at any
time before the Closing Date (whether before or after action by CE or vlanagers of CE or NVE)
only as follows:

        (a)   - by mutual consent of NVE and CE;

        (b)     by NVE:

               (i)     upon written notice to CE given prior to the Closing Date, if the
representations and warranties of CEW contained in Ai•ticle II hereof were not true and correct
when made or if CE fails to perform in all material respects all obligations and comply in all
material respects with all agreenients, undertakings, covenants and conditions required by this
Agreement to be performed or complied with by it at or prior to the Closing Date, unless CE
cures the same prior to the Closing Date; or

                (ii)     upon written notice to CE given prior to the Closing Date, if the Closing
Date shall not have occui-red on or before April 1, 2020 unless the absence of such occurrence
shall be due to the failure of NVE to perform in all material respects each of its obligations under
this Agreement required to be performed by it at or prior to the Closing Date (except to the
extent such performance or compliance is qualified by materiality .in which event such
perfonnance or compliance shall have failed to occur); and

        (c)    By CE:

                (i)   upon written notice given to NVE prior to the Closing Date, if the
repi-esentations and warranties of NVE contained in Article III hereof were not true and correct
when made or as of the Closing Date or if NVE fails to perform in all material respects all
obligations and comply in all material respects with all agreements, undertakings, covenants and
conditions required by this Agreement to be performed or complied with by it at or prior to the
Closing Date, unless NVE cures the same prior to the Closing Date; or

                (ii)     upon written notice to NVE given prior to the Closing Date, if the Closing
Date shall not have occurred on or before April 1, 2020 unless the absence of such occurrence
shall be due to the failure of CE to perform each of its obligations undei- this Agreement required
to be performed by it at or prior to the Closing Date (except to the extent such perfoi-mance or
compliance is qualitied by materiality in wliich event such perforniance or compliance shall have
failed to occur).


7.2.    Effect of Termination. In the event of the termination of this Agreement and the
abandonment of the Acquisition, the provisions of this Agreement shall thereafter become void
and have no effect, and no Party hereto shall have any liability to any other Party hereto or its
Affil.iates, directors or ofticers in respect thereof, except that nothing herein shall relieve any
Party tiom liability for any willftil breach thereof or from its obligations under the confdentiality



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provisions of the Confidentiality Agreement beriveen the Parties, referred to and incoiporated by
refei-ence in Section 4.3.

7.3       Waiver of Tei-ms. Any of the terms or conditions of this Agreement may be waived at
any time prior to the Closing Date by the Party which is, or whose Affiliates are, entitled to the
benefit thereof, by action taken by the Managers or Affiliates of such party, or by its cliaii-man,
president or any officer authorized to act for such party; provided, however, that such waiver
shall be in writing and shall be taken only if, in the judgment of such Managers or Aff liates or
officei- taking sucli action, such waiver will not have a materially adverse effect on the benefits
intended hereunder to the shareholders of such corporation, or Affiliates of such limited liability
company, and the other Parties hereto may rely on the delivery of sucli a waiver as conclusive
evidence of such judgment and the validity of the waiver.

7.4 Amendment of Agreement. Anything herein or elsewhere to the contrary
notwithstanding, to the extent permitted by law, this Agreement may be amended, supplemented
or interpreted at any tinie prior to the Closing Date only by written instrument duly authorized
and executed by each of the Parties hereto.

7.5    Fees and Expenses. All costs and expenses incurred in connection with this Agreement
and the Contemplated Transactions shall be paid by the Party incurring such expenses.


                                          ARTICL,E VIII

                                POST-CLOSING OBLIGATIONS

8.1.   Survival of Representations. All representations, wai-ranties, covenants, indemnities and
other agreements made by any .Party to this Agreement herein or pursuant hereto shall also be
deemed made on and as of the Closing Date as though such representations, warranties,
covenants, indemnities and other agreements were made on and as of such date, and all such
representations, warranties, covenants, indemnities and other agreements shall survive the
Closing for a period of twelve (12) tnonths after the Closinc, Date, except to the extent that the
applicable statute of limitation for clainis relating to such representations, warranties, covenants,
indemnities and other agreements expires earlier or later than twelve (12) mollths after the
Closing Date.

8.2.     Indemnification Agrecment

         (a)    Indemnification by CE

                (i)     Subject to the conditions and provisions of this Section 8.2, CE (the
"Indemnifying Party") hereby agree to inden-mify, defend and hold harmless NVE, an.d its
officers, directors, shareholders, employees, representatives, agents, predecessors, successors,
subsidiaries, Affiliates and assigns (collectively, the "NVE Indemnified Persons") in proportion
to tlieir post-Closing ownership interests in CEW from and against and in respect of ala. claims,

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losses, damages, judgments, penalties, deficiencies, liabilities, costs and expenses (including,
without limitation, reasonable attorneys' fees and costs of litigation), including but not limited to
responsibility for payments of any amounts due in connection witll an audit by the IRS or the
State of Delaware (collectively, "Claims") asserted against, resulting to, imposed upon or
incun'ed by the NVE Indemnified Persons, directly or indirectly, by reason of or resulting fi-om
any misrepresentation or breach of any representation or warranty, or noncompliance with
conditions, covenants or other agreements, given or imde by CE in this Agreement or in the
Schedules or Exhibits attached hereto or in any document furnished by or on behalf of CEW or
the Indemnifying Party pursuant hereto or thereto; and (ii) all liability for Taxes of CEW with
respect to any taxable period (or portion thereot) ending on or before 1 1:59 p.m. on the day prior
to the Closing Date ("Pre-Closing 'I'aY Period"). The Parties ag      11~ree that CE's obligation to
defend and indemnify under this Section shall not apply to the extent that there is insurance
coverage with respect to such Claim and its defense.

                   (ii)   Notwithstanding the foregoing: (A) CE shall not have any obligation to
indemnify the NVE Indemnitied Persons in accordance with subparagraph (i) above unless and
until the NVE Indemnified Persons have suffered damages arisulg from Claims in excess of Ten
Thousand (S10,000.00) Dollars in the aggregate (at whicli point CE will be obligated to
indemnify the NVE Indemnified Persons from and against all such damage relating back to the
first dollai~); (B) the aggregate amount of indemnifiable damages which may be sought, claimed
and/or recovered by the NVE hidemnifted Persons (collectively) from CE on account of Claims
arising ffrom breaches of any Non-Fundamental Representations shall not exceed two percent
(2%) of the Acquisition Consideration; and (C) the aggregate amount of indemnitiable damages
which may be sought, claimed and/or recovered by the NVE Indemnified Persons (collectively)
from CE on account of Clainis arising fi-om breaches of any Fundamental Representations shall
not exceed seven and one-half percent (7.5%) of the Acquisition Consideration; provided,
however, the limitations on indeiniiifiable damages set forth. in clause (B) and (C) of tllis Section
8.2(a)(11) shall not apply witli respect to any damages incurred by the NVE Indemnified Persons
as a restilt of fi-aud committed by CE.

       (b)     Indemnification by NVE.

                (i)     Subject to the conditions and provisions of this Section 8.2, NVE hereby
agrees to indemnify, defend and hold harmless CE and its officers, di.rectors, shareliolders,
employees, representatives, agents, predecessors, successors, subsidiaries, Affiliates and assigns
(collectively, the "CEW Indemnified Pe►-sons") fi-om aiid against and in respect of all Claims
asserted against, resulting to, imposed upon or incurred by CEW Indemnified Persons, directly or
indirectly, by reason of or resulting from: (i) any misrepresentation or breach of any
representation or warranty, or noncompliance with conditions, covenants or other agreements,
given or made by NVE in this Agreement or in the Schedules or Exhibits attached hereto or in
any document furnished by or on bchalf of NVE pursuant hereto or thereto; and (ii) all liability
for Taxes of CEW with respect to any taxable period (or portion thereol) ending after the Pre-
Closing Tax Period. The Parties agree that NVE's obligation to defend and indcmnify under this


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Section shall not apply to the extent that there is insurance coveraQe with respect to such Cl.aim
and its defense.                                                    ~

               (ii)   Notwithstanding the foregoing: (A) NVE shall not have any obligation to
indemnify CEW Indemnified Persons in accordance with subparagraph (i) above unless and until
CEW Indemnified Persons have suffered damages arising from Claims in cYcess of Ten.
Thousand ($ 10,000.00) Dollars in the aggregate (at which point NVE will be obligated to
indemnify CEW Indemnified Persons from and aaainst all such damage relating back to tlle first
dollar); (B) the aggregate aniount of indemnifiable damages whicli may be souglit, claimed
and/or recovered by CEW Indemnified Persons (collectively) from NVE on account of Claims
arising from breaches of any Non-Fundamental Representations shall not exceed two (2%)
percent of the Acquisition Consideration; and (C) the aggregate amount of indenvlitiable
damages which may be sought, claimed and/or recovered by CEW Indemnified Persons
(collectively) from NVE on account of Claims arising from breaches of any Fundamental
Representations shall not eYceed even and one-half percent (7.5%) of the Acquisition
Consideration; provided, however, the liniitations on indemnitiable damaaes set forth in clause
(B) and (C) of this Section 8.2(b)(ii) sliall not apply with respect to any~damages incurred by
CEW Indenuiified Persons as a result of fraud committed by NVE.

       (c)     Definitions.

                (i)    "Ftindamental Representations" shall mean, collectively, the
representations and warranties of CE set forth in Section 2.1, Section 2.2, Section 2.3, Section
2.4, Section 2.5, Section 2.7, Section 2.12, Scction 2.14, Section 2.15, Section 2.16, Section 2.18,
Section 2.26, Section 2.27, Section 2.29, and Section 2.30; and of NVE set foi-th in Scction 3.1,
Section 3.2, Section 3.3, Section 3.4, Section 3.5, and Section 3.6

              (ii)  "Non-Fundamental Representations" shall mean all of the
representations and warranties of CE and NVE set forth in this Agreement other than the
Fundamental Representations.

       (d)     Indemnification Procedure

               (i)     In the event that any claim or demand for indemnification is brought by
NVE Indemnified Persons or CEW Indemnitied Persons (together, the "Indemnified Persons"),
the Person fi•om whom indemnification is claimed shall be called an "Indemnifying Party". In
the event that any claim or demaiid for which the hidemnifying Party would be liable to an
hidemnified Person hereunder is asserted against or sought to be collected from an Lldemnif'ied
Person by a third party, the Indemnified Person shall promptly notify the Indemnifying Party of
such claim or d-emand and the amount or the estimated amount thereof to the extent then feasible
(which estimate shall not be conclusive of the final amount o.f such claim and demand (the
"Claim Notice"). The Indemnifying Party shall have thirty (30) days from the personal delivery
or mailing of the Claim Notice (the "Notice Period") to notify the Indemnified Person: (i)
whether or not the Indemnifying Party disputes his liability to the Indemnified Person hereunder

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witli respect to such claim or demand, and (ii) notwithstan.ding any such dispute, whether or not
the Indemnifying Party desii•es, at his sole cost and eYpense, to defend the Indemnified Party
against such claim or demand; Urovided, liowever, that no delay on the part of the Indemnified
Party in giving the Claim Notice shall relieve the Indenuiifying Party f:rom any obligation
hereunder unless (and solely to the extent) the Indemnifying Party is prejudiced thereby.

               (ii)   If the Indemnifying Parry disputes his liability with respect to such claim
or deman.d or the amount thereof (whether or not the Indemnifying Pai-ty desires to defend the
Indemnified Person against such claim or denland as provided in subparagraphs (iii) and (iv)
below), such dispute shall be resolved in accordance with Section 8.2(d) hereof. Pendin(Y the
resolution of any dispute by the Indemiufying Party of his liability with respect to any claim or
demand, such claim or demand shall not be settled without the prior written consent of the
Indemnified Person and the Indenlnifying Pai-ty.

                (iii)   In the event that the Indemnifying Party notifies the hldemnified Person
within the Notice Period that he desires to defend the Indetnnified Person against such claim or
demand then, except as hereinafter provided, the Indemnifying Party sliall have the right to
defend the Indemnified Person by appropriate proceedings, which proccedings shall be promptly
settled or prosecuted by the Indemnifying Party to a Iinal conclusion in such a manner as to
avoid any risk of any Indenuiitied Person becoming subject to liability for any other matter;
provided, however, the Indemnifying Party shall not, without the prior written consent of the
Inderrulified Person, consent to the entry of any judgment against the Indemnified Person or
enter into any settlement or compromise which does not inctude, as an unconditional tenn
thereof, the giving by the claimant or plaintiff to the Indemnified Person of a release, in foi-m and
substance satisfactory to the Indenuiified Person, as the case may be, fi-om al.l liability in respect
of such claim or litigation. If any Indemnified Person desires to participate in, but not control,
any such defense or settlement, it may do so at its sole cost and eYpense. If, in the reasonable
opinion of the Indemnified Person, any such claim or demand or the litigation or resolution of
any such claim or demand involves an issue or matter which could have a materially adverse
effect on the business, operations, assets, properties or prospects of the Indemnified Person,
including without limitation the administration of the tax returns and responsibilities under the
tax laws of any Indemnified Person, then the Indeninified Person shall have the right to control
the defense or settlenient of any such claim or demand and its reason.able costs and expenses
shall be included as part of the indemnification obliQation of the Indemnifying Party hereunder;
provided, however, that the Indemnified Person shall not settle any such claim or demand
without the prior written consent of the Lidemnifying Party, which consent shall not be
uiucasonably withheld or delayed. If the Indetnnified Person should elect to exercise such right,
the Indemnifying Party shall have the right to participate ui, but not control, the defense or
settlement of such claim or demand at his sole cost and expense.

               (iv)   If the Indemiifyuig Party elects not to defend the Indemnified Person
against such claim or demand, whether by not giving the Indemnified Person timely notice as
provided above or otherwise, tlicn the amount of any such claim or demand, or if the same be


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defended by the Indemnifying Party or by the Indemnitied Person (but the Iridemnilied Person
shall not liave any obligation to defend any such claim or demand), then that portion thereof as to
which such defense is unsuccessfiil, in each case shall be conclusively deemed to be a liability of
the Indemnifying Party hereunder, unless the Indemnifying Party shall have disputed liis liability
to the Indemnified Person hereunder, as provided in (b) above, in which event sucli dispute sliall
be resolved as provided in Section 8.2(d) hereof.

               (v)     In the event any Indemnitied Person should Ilave a claim against the
Indenulifying Party hereunder that does not involve a cl.aim oi- demand being asserted against or
sought to be collected fi•om it by a third party, the Indemnified Person shall promptly send a
Claim Notice with respect to such claim to the Indemnifying Party. If the Indemnifying Party
disputes his liability with respect to such claim or demand, such dispute shall be resolved 'ui
accordance with Section 8.2(d) hereof; if the Indemnifying Party does not notify the Indeninitied
Person within the Notice Period that the Indemnifying Party disputes such claim, the amount of
such claim shall be conclusively deemed a liability of the Indemnifying Party hereunder.

               (vi)     Any dispute by the Indemnifying Party of his obligations pursuant to this
Section 8.2 shall be stibmitted to arbitration in accordance with Section 9.7 hereof.

8.3. Tax Matters; Audits. The following provisions sliall govern the allocation of
responsibility as betwecn NVE, CEW and CE, for certain tax matters following the Closing
Date:

         (a)    CE covenants and agrees that it will cause outside accountants ("Outside
Acc®untants") of its indirect parent, First North American Holdings II, liic.("FNA"), to prepare,
at FNA's or C.E's expense, and will file or cause to be filed, within the time and in the manner
provided by law, and will pay all amounts owed with respect to, all Tax Retui7is not already filed
on behalf of CEW by FNA for all tax periods ended or ending on or before the end of the taxable
year immediately prior to the Closing Date (the "Ilnfiled 'Tax Returns"). CE covenants an.d
aQrees that it will send or cause to be sent a copy of all Unliled Tax Returns to NVE for its
review and comnients and, if required, appropriate execution, at least filteen (15) days prior to
the filing thereof.

        (b)     The Unliled Tax Retums shall be prepared in a manner consistent with Tax
Returns previously filed by FNA on behalf of CEW. Notwitlistanding the foregoing, if NVE's
accountants believe that there is not a reasonable basis for any position that FNA directs be taken
in connection with any Unfiled Tax RetLnn, Otitside Accountants, NVE's accountants, NVE and
CE sliall confer with respect to the matter and if they are unable to resolve their differences, the
matter will be referred to arbitration ui accordance with the procedure set forth in. Section 9.7 and
the decision of the arbitrator shall be final and binding.

       (c)    Except with respect to the Unfiled Tax Returns, NVE shall be responsible for the
preparation and timely filing of all Tax Rettu•ns due with respect to CEW after the Closing Date
and shall timely pay all amounts owed with respect to such returns. NVE wil.l provide CEW

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with all information available to NVE to assist FNA to fulfill its obligations with respect to the
Unfiled Tax Retui-ns, and CE will provide Iv'VE with all information available to C.E to assist
NVE to fulfill its obligations with respect to all Tax Returns of CEW other than the Unfiled Tax
Returns.

        (d)     NVE, on one hand, and CE, on the other hand, shall: (i) cooperate fully, as
reasonably requested, in connection with the preparation and filing of Tax RetLu-ns pursuant to
this Section 8.3 and any audit, litigation or other proeeeding witli respect to Ta.xes; (ii) make
available to the othei-, as reasonably requested, all information, records or documents with
respect to Tax matters pertinent to CEW for all periods ending prior to or including the Closing
Date; and (iii) preserve infonnation, records or documents relating to Tax matters pertinent to
CEW that are in their possession or under tlieir control for the longer period of: (x) seven (7)
years; or (y) the expiration of any applicable statute of limitations or extensions thereof. NVE
and CE shall notify the other of any audit by any regulatory agency, vvhich may result in an
assessment for which C.E may be liable under this AQreement and sliall not consent to any such
actual or proposed assessment without the prior written consent of CE, vvhich shall not be
unreasonably withheld.

        (e)    Notwithstanding anything to the contrary contained in this Agreement, NVE shall
have no obligation to pay or make any provision for the payinent of, by indemnification or
otberwise, and CE shall be solely responsible for all, Taxes of CEW for periods ending on or
before the Closing Date, and CE will be liable directly to the applicable regulatory autliorities for
all such Taxes; and, if CE is not directly liable, such Taxes must be accrued under the Closing
Balance Sheet.

       (t)    All tax sharing agreements or similar agreements with respect to or involving
CEW shall be terminated as of the Closing Date and, after the Closing Date, NVE shall not be
bound thereby or have any liability thereunder.

       (g)    After the Closing Date, NVE shall permit CE and their representatives reasonable
access to such books and records of CEW as may be necessary for the purpose of preparing
CEW's final TaY Retuin for the period up to and including the Closing Date.

8.3      Convera-en Enertry Name and Domain Name. On or before the six (6) month anniversary
of the Closing Date, CE shall, and shall cause its Affiliates to, (i) discontinue the use of the
corporate name "Convergen Energy" in connection with CE's and its Affiliates' business and
operations, including, without limitation, discontinuing the use of the natne "Convergen Energy"
with respcct to any website or letterliead of CE or its Affiliates and removing any placard or sign
containing the name "Convergen Energy" located in or around the offices or facilities of CE or
its Affiliates, and (ii) transfer and assign to CEW, at actual cost, any domain name owned by CE
or its Affiliates containing the term "Convergen Energy."

                                          AI2TICLE IX



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                                    GENERAL PROVISIONS

9.1.   CooUeration. Subject to the tei-ms and conditions herein provided, each Party sliall
cooperate with the other Parry in carrying out the provisions of this Agreement and shall execute
and deliver, or cause to be executed and delivered, such governmental notif cations and
additional documents and instruments and do, or cause to be done, all additional things
necessary, proper or advisable under applicable law to consummate and make effective the
Contemplated Transactions.

9.2.    As.sianment; Third Partv Beneficiaries. Neitlier this Agreement nor any right, interest or
obligation hereunder shall be assigned by any of the Parties hereto without the prior written
consent of the other Parties hereto. This Agreement shall be binding upon and inure to the
benefit of the Parties. hereto and their respective successors and permitted assigns. This
Aareement is not intended to confer any rights or remedies upon any Person other than (i) the
Parties hereto; and (ii) the Indemnitied Persons only after the Closing Date and only witli respect
to Section 8.2.

9.3.    Contents of Aa-reement. This Agreement and the Confidentiality Agreement, including
the exhibits hercto and the documents and instnnnents refcrred to herein (including the
Disclosure Schedule) embody the entire agreement and understanding of the Parties with respect
to the subject matter hereof. Any previous aQreements or understandings between the Parties
regarding the subject matter hereof. There are no representations, promises, warranties,
covenants, or unctertakings, other than those expressly set fortb or referred to herein and therein.

9.4.   Section Headinu. Gender. The Section lieadings herein have been uiserted for
convenience of reference only and shall in no way modify or restr.ict any of the terms or
provisions hereof. The use of the masculine or any other pronoun herein when refei-ring to any
person has been for convcnience only and shall be deemed to refer to the particular person
intended regardless of the actual gender of such person. Each Party has been participated in the
drafting of this Agreement, which each Party hereto acknowledges is the result of extensive
negotiations among the Parties hereto. Consequently, this Agreement will be interpi-eted without
reference to any rule or precept of Applicable Law that states that any ambiguity ui a document
be construed against the drafter.

9.5.   Counterparts. This Agrecment may be executed in any number of counterparts, and by
facsimile signature, any one of which need not contain the signatures of more than one Party and
each of which shall be an original, but all such counterparts taken together shall constitute one
and the same instniment. The exchange of copies of this Agreement or amendments thereto and
of signature pages by facsimile transmission or by e-mail transmission in portable digital fonnat
(or similar format) shall constitute effective execution and delivery of such insti-ument(s) as to
the Parties and may be used in lieu of the original Agreement or amendment for all pui-poses.
Signatures of the Parties transniitted by facsimile or e-mail transmission in portable digital
format (or similar format) shall be deemed to be their original signatures for all purposes.



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9.6     Notices. All notices, consents, waivers or other communications which are required or
permitted hereunder shall be sufficient if given in writing and delivered personally, by overnight
mail service, by facsimile transmission (which is confiniied) or by registered or certified mail,
return receipt requested, postage prepaid, as follows (or to such other addressee or address as
shall be set forth in a notice given in the same manner):

       If to NVE:

            NianticVista Energy, LLC
            222 Ridgedale Ave., Suite 302
            Cedar Knolls, NJ 07927
            Attention:
            Facsimile


       With a required copy to:

           Clemente, Mueller P.A.
           PO BoY 1296
           Moi-ristown, NJ 07962-1296
           Attention: Jonathan D. Clemente, Esq.
           Facsimile: (973) 455-8118
           Lclemente.a<em-legal.conl

       With a required copy to:

           Joseph F Andolino Esq.
           Andolino & Associates
           110 Nativa Circle
           North Palm Beach Florida 33410
           joe(c-e,andolinoassociates.com


With a required copy to:

           Ted Hansen
           Convergen Energy WI LLC
           600 Liberty Street
           Green Bay, WI 54304
           ted.hansenPa,convei-Qener6y.com

       If to CEW and CE:

           Convergen Energy, LLC
           c/o Libra Capital US, Inc.


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            134 E. 40th Street
            New York, NY 10016
            Steven.brooks@llbra.com

         With a required copy to:

            Libra Capital US, Inc.
            134 E. 40th Street
            New York, NY 10016
            bert.diaz@libra.com

        All such notices shall be deemed to have been given tliree business days after mailing if
sent .by registered or certified mail, one business day after mailing if sent by overnight cotu•ier
service or on the date delivered or transmitted if delivered personally or sent by facsimile
transmission.

9.7     Arbitration.

        (a)     Any dispute arising between the Parties in connection with this Agreement, which
cannot be resolved by the Parties themselves, shall be submitted to bindinQ arbitration. Either
Party may initiate arbitration by giving written notice to that effect to the other Party. Within ten
(10) days after service of such written notice, each Party shall designate one arbitrator. If either
Party fails to designate its arbitrator in a timely fashion, the other Party may designate an
arbitrator on belialf of that Party. The two arbitrators so named shall designate a third arbitrator,
who shall be an attorney licensed to practice law in the State of Delaware, to act as the head
arbitrator; provided, however, that should the partisan arbitrators be uuiable to agree upon a third
arbitrator, then the third arbitrator shall be named pursuant to the applicable rules of the
American Arbitration Association upon the application of eitlier Party.

        (b)     Except as moditied herein, the arbitration shall be conducted in accordance with
the then-prevailing Commercial Rules of the American Arbitration Association. In connection
with the arbitration, the arbitrators shall, at the request of either Party, direct that discovery be
provided. In rendering dleir decision and award, the arbitrators shall not add to, subtract from or
otherwise modify the provisions of this Agreenlent, but ratlier shall be bound thereby. Each
Party shall bear its own costs and expenses in connection with the arbitration and the costs and
expenses of the arbitrators shall be borne equally; provided, however, that if the arbitrators
detei-mine that either party has intentionally breached his or its obligations under this Agreement,
the arbitrators shall assess all costs and expenses of the prevalling Party against the Party found
to have intentionally breached its obligations.

       (c)     Judgment upon the award rendered by the arbitrators may be entered by any court
having jurisdiction tliereof.




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9.8.   GovenzinQ Law. This AQreement shall be governed by and interpreted and enforced in
accordance with the laws of the State of Delaware witliout Qiving effect to any conflicts of law
provisions.

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       IN WITNESS WHEREOF, the Parties have executed this Agreement and Plan of
Acquisition as of the date first above written.

                                     NIANTICVISTA ENERGY, LLC


                                     By:
                                    Title-,Ze

                                     CONVERGEN ENER WI, LLC


                                     By:


                                                 ~s t ~ Lq-T-
                                                            -
                                     CONVERC E~N ElY.F
                                                    ~RGY, LLC


                                     By: J,




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                         ACQUISITION AGREEMENT

                                   AlIlolla

                      NIANTICVISTA ENERGY, LLC,

                      CONVERGEN ENERGY `VI, LLC,

                                     and

                       CONVERGEN ENERGY, LLC,

                         Dated as of January 29, 2020




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                                                                        EXHIBIT E
                                                                        TO COMPLAINT




       OPERATIONS A>iD 1IANAGEdIENT SEI2VICES AGI2EEMENT



                                       between



                    L'AYSE `'VARDEN ELECTRIC COMPANY, LI,C



                                         and



                         CONI'ERGEN EVERGI' `VI, I.I,C


                                      dated as of

                                   January 31, 2020




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         OPERATIONS AND M.ANAGEl~IENT SERVICES AGREEiv1ENT


       This Operations and Management Services Agreement, dated as of January 31,
2020 (this "Agreement"), is entered into bettiveen L'Anse Warden Electric Company,
LLC, a Delaware limited liability company ("LWEC"), and Convergen Energy WI, LLC,
a Delaware limited liability company ("CEWI") (and collectively "tlie Parties").

                                      RF('.T'➢'AT,S-

        WHEREAS, Convergen Energy LLC, a Delaware limited liability company
("Seller"), and Nianticvista Energy, LLC, a Delaware limited liability company
("Buyer"), have entered into that certain Acquisition Agreetnent of even date herewitli
(the "Purchase Agreement"), pursuant to which Seller has agreed to sell to Buyer, and
Buyer has agreed to purcliase from Seller, all (100%) of the membership interest of
CEWI;

       WHEREAS, prior to the consummation of the Purchase Agreement (the
"Closing"), each of LWEC and CEWI were wholly-own.ed subsidiaries of the Sellcr

       WHEREAS, after the Closing, LWEC shall continue to be a wholly-ownied
subsidiary of Seller;

        WHEREAS, prior to the Closing Ted Hansen ("Hansen") was employed by
Seller and provided managerial services to both LWEC and CEWI;

      d6'HEREAS, after the Closing Hansen has had terminated his respective
employment with Seller and has become an employee of CEWI;

        `VHEREAS, in order to ensure an orderly transition of LWEC's business after
the Closing, CEWI and LWEC have agreed to enter into this Agreement, pursuant to
which CEWI will provide LWEC, solely tlu•ough Hansen, certain services in each case on
a transitional basis and subject to the terms and conditions set fortli herein.

       NOW, THERE;F'ORE, in consideration of the mutual agreements and covenants
hereinafter set forth, CEWI and LWEC hereby agree as follows:




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                                        ARTICLE I
                                          SERVICES


        Section 1.01 Provision of Services.
        (a)     CEWI agrees to provide the services (tlie "Services") set forth on Exhibit A
attached hereto (the "Service Exliibit") to LWEC for the period and on the other terms and
conditions set forth in this AQreement.
        (b)    The parties hereto acknowledae the transitional nature of the Services.
Accordingly, prior to the expiration of the End Date (as defined below ), LWEC agrees to
use commercially reasonable efforts to make a transition of the Services to its own
internal organization or to obtain alternate third-party sources to provide the Services.
        (c)     Subject to Section 2.03, Section 2.04 and Section 3.05, the obligations of
CEWI under tliis Agreement to provide Services shall terminate with respect to the
Services on .Decen7ber 31, 2020 (the "End Date"). Notwithstanding the foregoing, the
parties acknowledge and agree that eitlier party may tenninate the Service, in whole and
not in part, upon no less than ninety (90) days' prior written notice.


        Section 1.02 Standard of Service.
        (a)     CEWI represents, wairants and agrees that the Services shall be provided
in good faith, in accordance witli applicable law and, except as specifically provided in
the Service Exhibit, in a manner generally consistent with the historical provision of the
Services and with the same standard of care as historically provided. Subject to Section
1.03, CEWI agrees to make available Hansen for an average of 20 hours per month (tlie
"'parget Work Period") in accordance with the standards set forth in the preceding
sentence; provided that CEWI and LWEC agree to increase or decrease, as applicable, on
a case-by-case basis the compensation paid to CEWI for the provision of the Services
pursuant to Article II on an equitable basis if during any period covered by an Invoice (as
defined below) the time reasonably required for Hansen to perfoi-m the Services is
materially different from the Targct Work Period (such case-by-case adjustment to the
compensation, a"TI'argeted Compensation Adjustment"), as determined by CEWI and
LWEC in their respective reasonable discretion.
         (b)    Except as expressly set forth in Section 1.02(a), CEWI makes no
representations and warranties of any kind, implied or expressed, with respect to the
Services, including, without limitation, no warranties of inerchantability or fitness for a
particular purpose, which are specifically disclaimed. LWEC acknowledges and agi-ees
tliat this Agreement does not create a fiduciary relationship, partnership, joint venture or
relationsllips of tnist or agency between the parties and that all Services are provided by
C.EWI as an independent contractor.




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        Section 1.03 No 'I'hird-Party Service Providers. [It is understood and agreed
that the Services shall be provided exclusively by Hansen and that CEWI may not use
other CEWI employees or retain any third-party sei-vice providers to provide the Services
or any portion tliereof to LWEC.


       Section 1.04 Access to Premises.
         (a)     In order to enable tlle provision of the Services by CEWI, LWEC agrees
that it shall provide Hansen, at no cost to CEWI, access to the facilities, asscts and books
and records of LWEC, in all cases to the extent necessary for CEWI to full7l its
obligations under tliis Agreement.
        (b)    CEWI agrees that Hansen, when on the property of LWEC or when given
access to any eduipment, computer, software, network or files owned or controlled by
LWEC, shall confonn to the policies and procedures of LWEC concerning health, safety
and security which are made known to CEWI in advance in writing.


                                       ARTICLE II
                                      COMPENSATION

       Section 2.01 Responsibility for Wages and F'ees. For such time as Hansen is
providing the Services to LWEC under this Agreement. Hansen will reniain an employee
of CEWI and shall not be deemed to be an employee of LWEC for any purpose, and (b)
CEWI shall be solely responsible for the payment and provision of all wages, bonuses
and commissions, employee benefits, including severance and worker's compensation,
and the withholding and payment of applicable Taxes relating to such employment.


       Section 2.02 Terms of Payment and Related Matters.
        (a)     As consideration for provision. of the Services, LWEC shall pay CEWI the
amount specified for the Services on the Service Exhibit. In addition to such amount, in
the event that CEWI incurs, on behalf of Hansen, reasonable and documented out-of-
pocket expenses in the provision of the Services, including, w.itliout limitation, travel and
lodging expenses, but excluding payments made Hansen pursuant to Section 2.01 (such
included expenses, collectively, "Out-of-Pocket Costs"), LWEC shall reimburse CEWI for
all such Out-of-Pocket Costs in accordance with the invoicing procedures set forth in
Section 2.02(b).
       (b)     As more fully provided in the Service Exhibit and subject to the terms and
conditions therein:
                (i)    CEWI shall provide LWEC, in accordance with Section 6.01 of
this Agreement, with moiithly invoices ("lnvoices"), which shall set forth in reasonable
detail, with such supporting documentation as LWEC may reasonably request with
respect to Out-of-Pocket Costs, amounts payable under this Agreement; and




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                (ii)    payments pursuant to this Agreement shall be made witliin tliirty
(30) days after the date of receipt of an Invoice by LWEC fi•om CEWI.
        (c)     It is the intent of the parties that the compensation set forth in the Sei-vice
EYhibit reasonably approximate the cost of providing the Services, including the cost of
Hansen's wages and compensation, without any intent to cause CEWI to receive profit or
incur loss. As opposed to a Targeted Compensation Adjustment pursuant to Section
1.02(a) hereof, if at any time CEWI believes that the payments contemplated by the
Service Exhibit are materially .insufficient to compensate it for the cost of providing the
Services it is obligated to provide hereundei-, or LWEC believes that the payments
contemplated by the Service Exhibit materially overcompensate CEWI for such Services,
such party sliall notify the otlier party as soon as possible, and the parties hereto will
commence good faith negotiations toward an agreement in writing as to the appropriate
coiirse of action with respect to pricing of such Sei-vices for futtire periods.


        Section 2.03 Estension of Services. The parties agree that CEWI shall not be
obligated to perform any Service aftei- tlie applicable End Date; pt-ovided, hoivevet-, that if
LWEC desires and CEWI agrees to continue to perform any of the Services after the
applicable End Date, the parties shall negotiate in good faith to determine an amount that
compensates CEWI for all of its costs for such performance, including the time of Hansen
and Out-of-Pocket Costs. The Services so perfonned by CEWI after the applicable End
Date shall continue to constitute Services under this A~reement and be subject in all
respects to the provisions of this Agreement for the duration of the agreed-upon extension
period.


        Section 2.04 Terminated Services. Upon termination or expiration of the
Services pursuant to this Agreement, or upon the termination of this Agreement in its
entirety, CEWI shall have no ftirther obligation to provide the applicable tei-minated
Services and LWEC will have no obligation to pay any future compensation or Out-of-
Pocket Costs relating to such Services (other than for or in respect of Services already
provided in accordance with the tenns of this Agreement and received by LWEC prior to
such termination).


        Section 2.05 Invoice Disputes. In the event of an Invoice dispute, LWEC shall
deliver a written statement to CEWI no later than ten (10) days prior to the date payment
is due on the disputed Invoice listing all disputed items and providing a reasonably
detailed description of each disputed item. Amounts not so disputed shall be deemed
accepted and shall be paid, notwithstanding disputes on other items, witllin the period set
forth in Section 2.02(b)(11). The parties shall seek to resolve all such disputes
expeditiously and in good faith. CEWI shall continue performing the Services in
accordance witli this Agreement pending resolution of any dispute.




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         Section 2.06 No 12ight of Setoff. Each of the parties hereby ackn.owledges that
it shall have no right under this Agreement to offset any amounts owed (or to become due
and owing) to the other party, whether under t11is Agreement, the Purchase Agreement or
otlierwise, ao7ainst any other amount ovved (or to become due and ovving) to it by the other
party.


       Section 2.07 TaYes. LWEC shall be responsible for all sales or use Taxes
iniposed or assessed as a result of the provision of Services by CEWI.


                                       AR'I'ICI.E III
                                       rl'ERNIINATIOV

        Section 3.01. Termination of Agreement. Subject to Section 3.04, this
Agreement shall terminate in its entirety (i) on the date upon which CEWI shall have iio
continuing obtigation to perform any Services as a result of the expiration or termination
of this Agreement in accordance with Section 1.01 or Section 3.02 or (ii) in accordance
with Section 3.03.


        Section 3.02 Breach. Any party (the "Non-Breaching Party") may terminate this
Agreement with respect to the Service, in wliole but not in part, at any time upon prior
written notice to the other party (the "Breaching Party") if the Breaching Party has failed
(other than ptirstiant to Section 3.05) to perform any of its material obligations under this
Agreement relating to such Service, and such failure shall have continued without cure
for a period of fifteen (15) days after receipt by the Breaching Party of a written notice of
such failtu-e from the Non-Breacliinc, party seeking to terminate suclh service. For the
avoidance of doubt, non-payment by LWEC for the Service provided by CEWI in
accordance vvith this Agreement and not the subject of a good-faitli dispute shall be
deemed a breach for purposes of this Section 3.02.


         Section 3.03 Insolvency. In the event that either party hereto shall (i) file a
petition in bankruptcy, (ii) become or be declared insolvent, or become the subject of any
proceedings (not dismissed within sixty (60) days) related to its liquidation, insolvency or
the appointmen.t of a receiver, (iii) make an assignment on behalf of all or substantially
all of its creditors, or (iv) take any corporate action for its winding up or dissolution, then
the otlier party shall have the right to terminate this Agreement by provid'uzg written
notice in accordance with Section 6.01.


        Section 3.04 Effect of'I'ermination. Upon termination of this Agreement in its
entirety pursuant to Section 3.01, all obligations of the parties hereto shall tei-ininate,
except for the provisions of Section 2.04, Section 2.06, Section 2.07, Artiele IV, Article
V and Article VI, which shall survive any teniiination or expiration of this Agreement.




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         Section 3.05 Force Majeure. The obligations of CEWI under this Agreement
witli respect to any Sei-vice shall be suspended during the period and to the extent that
CEWI is prevented or hindered from providing such Service, or LWEC is prevented or
hindered from receivina such Service, due to any of the following causes beyond such
party's reasonable control (such causes, "Force Nlajeure Events"): (i) acts of God, (ii)
flood, fire or explosion, (iii) war, invasion, riot or other civil unrest, (iv) governmental
order or applicable law, (v) actions, embargoes or blockades in effect on or after the date
of this Agreement, (vi) action by any governmental authority, (vii) national or regional
emergency, (viii) strikes, labor stoppages or slowdowns or other industrial disturbances,
(ix) shortage of adequate power or transportation facilities, or (x) any other event which
is beyond the reasonable control of such party. The party suffering a Force Majeure
Event shall give notice of stispension as soon as reasonably practicable to the other party
stating the date and exteiit of such suspension and the cause thereof, and CEWI shall
resume the performance of its obligations as soon as reasonably practicable after the
removal of the cause. Neitlier LWEC nor CEWI shall be liable for the nonperformance or
delay in performance of its respective obligations under this Agreement when such
failure is due to a Force Majeure Event. The applicable End Date for any Service so
suspended shall be automatically extended for a period of time equal to the time lost by
reason of the suspension.


                                       AR'I'ICLE IV
                                     CONFIDENTIALITY

        Section 4.01           Confidentialitv.
        (a)      During the terni of this Agreement and thereafter, the parties hereto shall,
and shall maintain in confidence and not disclose the other party's financial, technical,
sales, marketinQ, development, personnel, and other information, records, or data,
including, without limitation, customer lists, supplier lists, trade secrets, designs, product
formulations, product specifications or any other proprietary or confidential infoniiation,
however recorded or preserved, whether written or oral (any such information,
"Confidential Information"). Each party hereto shall use the same degree of care, but no
less than reasonable care, to protect the otlier party's Confidential Information as it uses to
protect its own Confidential Infonnation of like natLire. Unless otherwise authorized in
any other agreement between the parties, any party receiving any Confidential
Infonnation of the other party (the "Receiving Party") may use Confidential Information
only for the purposes of fulfilling its obligations tuider this Agreement (the "Permitted
Purpose"). Any Receiving Party may disclose such Confidential Information only to its
representatives who have a need to know such information for the Pern-dtted Purpose and
who have been advised of the terms of this Section 4.01 and the Receiving Party shall be
liable for any breach of tliese confidentiality provisions by such Persons; pr•ovidecl,
li.owever, that any Receiving Party may disclose such Confidential hiformation to the
extent such Contidential Information is required to be disclosed by a governmental order,




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in wliich case the R-eceiving Party shall promptly notify, to the extent possible, the
disclosing party (the "Disclosinb Party"), and take reasonable steps to assist in contesting
such governmental order or in protecting the Disclosing Party's rights prior to disclosure,
and in which case the Receivina Party shall only disclose such Confidential Infoi-mation
that it is advised by its counsel in writing that it is legally bound to disclose under such
goverrunental order.
       (b)     Notwitlistanding the foregoing, "Confdential Infoi-mation" shall not
include any infonnation that the Receiving Party can demonstrate: (i) was publicly
known at the time of disclosure to it, or has become publicly known through no act of the
Receiving Party or its Representatives in breach of this Section 4.01; (ii) was rightfully
received from a third party without a duty of confidentiality; or (iii) was developed by it
independently witliout any reliance on the Confidential Infoi-mation.
       (c)     Upon demand by the Disclosing Party at any time, or upon expiration or
termination of tliis Acyreement with respect to any Service, the Receiving Party agrees
promptly to return or de5troy, at the Disclosing Parry's option, all Confidential
Information. If such Confdential Information is destroyed, an authorized officer of the
Receiving Party shall certify to such destruction in writing.


                                     ARTICLE V
                     L1XlITATION ON LIABILITY[; IvDEMvIFICATIO'N']


       Section 5.01 Limitation on Liability. hl no event shall CE`VI have any liability
under any provision of this Agreement for any punitive, incidental, consequential, special
or indirect damages, uicluding loss of fiiture revenue or income, loss of busuiess
reputation or opporttniity relating to the breach or alleged breach of this Agreement.
LWEC acknowledges that the Services to be provided to it hereunder are subject to, and
that its remedies under this Agreement are limited by, the applicable provisions of
Section 1.02, including the limitations on representations and warranties witli respect to
the Services.


                                       ARTICLE VI
                                      NIISCELLA-NEOUS


        Section 6.01 iilotices. All Invoices, notices, requests, consents, claims, demands,
waivers and other cotnmunications hereunder shall be in writing and shall be deemed to
have been given: (a) wlien delivered by hand (witlh written confirmation of receipt); (b)
when received by the addressee if sent by a nationally recognized overnight courier
(receipt requested); (c) on the date sent by facsimile or e-mail of a PDF document (with
confirmation of transmission) if sent during normal business hours of the recipient, and
on the next Business Day if sent after normal business hours of the recipient; or (d) on the
[third] day after the date tnailed, by certified or registered mail, return receipt requested,




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postage prepaid. Such cominunications must be sent to the respective parties at the
following addresses (or at such otlier address for a party as shall be specitled in a notice
given in accordance witli this Section 6.01.):
        (a)    if to CEWI:
CONVERGEN ENERGY WI, LLC
600 Liberty Street, Green Bay, WI 54304
E-mail: ted.hansen @vconvergenenergy.com
Attention: Ted Hansen: President



        (b)    if to LWEC:
L'ANSE WARDEN ELECTRIC COiVIPANY LLC
157 S. vlain Street
L'Anse, MI 49946
E-mail: Steven.Brooks colibra.com
Attention: Steven Brooks, Vice President

with a copy (which shall not constitute notice) to:

LIBRA CAPITAL US, NC.
134 E. 40"' Street
New York, NY 10016
E-mail: Bert.Diaz a libra.com
Attention: Bert Diaz, gcneral Counsel


       Section 6.02 Headings. The headings in this Agreement are for reference only
and shall not affect the interpretation of this Agreement.


         Section 6.03 Severability. If any term or provision of this Agreement is invalid,
illegal or unenforceable in any jurisdiction, such invalidity, illegality or unenforceability
shall not affect any other term or provision of this Agreement or invalidate or render
unenforceable such term or provision in any other jurisdiction. Upon sucli determination
that any temz or other provision is invalid, illegal or unenforceable, the parties hereto
shall negotiate in good faith to modify this Agreement so as to effect the original intent of
the parties as closely as possible in a mutually acceptable manner in order that the
transactions contemplated hereby be consummated as originally contemplated to the
greatest extent possible.


       Section 6.04 Entire Agreement. This Agreement, including the Service
Exhibit, constitutes the sole and entire agreement of the parties to this Agreement with




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respect to the subject matter contained herein and supersedes all prior and
contemporaneous understandings and agreements, both written and oral, with respect to
such subject matter. In the event and to the extent that there is a conllict between the
provisions of this Agreement and the provisions of the Purchase Agreement as it relates
to the Services hereunder, the provisions of this Agreement shall control.


       Section 6.05 Suecessors and Assigns. This Agreement shall be binding upon
and shall intn-e to the benefit of the parties hereto and their respective successors and
permitted assigns. Neither party may assign its rights or obligations hereunder without the
prior written consent of the other party.


        Section 6.06 No Third-Party Beneficiaries. This Agreement is for the sole
benefit of the parties hereto and their respective successors and pei-mitted assigns and
notliinb lierein, express or implied, is intended to or shall confer upon any other person
any legal or equitable right, benefit or remedy of any nature whatsoever, under or by
reason of this Agreement.


         Section 6.07 Amendment and dIodification; dtiaiver. This Agreement may
only be amended, modified or supplemented by an agreement in writin(Y signed by each
party hereto. No waiver by any party of any of the provisions hereof shall be effective
unless eYplicitly set forth in writing and siE-ned by the party so waiving. No faih.ire to
exercise, or delay in exercising, any right, remedy, power or privilege arising from this
Agreement shall operate or be construed as a waiver thereof; nor shall any sulgle or
partial exercise of any right, remedy, power or privilege hereunder preclude any other or
further eYercise thei-eof or the exercise of any other riglit, remedy, power or privilege.


         Section 6.08 Governing Latii-; Submission to Jurisdiction. This Aureement
shall be governed by and construed in accordance with the intei-nal laws of the State of
Wisconsin without giving effect to any choice or conflict of law principles. Any leg'al
suit, action or proceeding arising out of or based upon this agreement or the transactions
contemplated hereby may be instituted in the federal courts of the United States of
America or the courts of the state of Wisconsin in each case located 'ui the city of
Madison and county of Dane, and each party irrevocably submits to the exclusive
jurisdiction of such courts in any such suit, action or proceeding. Service of process,
summons, notice or other document by mail to such party's address set forth herein shall
be effective service of process for any suit, action or other proceedino - brought in any
such court. The parties irrevocably and unconditionally waive any objection to the laying
of venue of any suit, action or any proceeding in such courts and irrevocably waive and
agree not to plead or claim in any such court that any such suit, action or proceeding
brought in any such court has been brought 'tn an inconvenient forum.




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        Section 6.09 `Vair-er of Jury 'Trial. Each party irrevocably and unconditionally
waives any right it may have to a trial by jury in respect of aiiy legal action arising out of
or relating to this agreement or the transactions contemplated hercby. Each party to this
agreement certifies and acknowledQes that (a) no representative of any other party has
represented, expressly or otherwise, that such other party would not seek to enforce the
foregoing waiver in the event of a legal action, (b) such party has considered the
implications of this waiver, (c) such party makes this waiver voluntarily, and (d) such
party has been induced to enter into this agreement by, among other things, the mutual
waivers and certifications in this Section 6.09.


        Section 6.10 Counterparts. This Agreement may be executed in cotulterparts,
each of which shall be deemed an oriainal, but all of which together shall be deemed to
be one and the same agreement. A signed copy of this Agreement delivered by facsimile,
e-mail or otlier means of electronic transmission shall be deemed to have the same legal
effect as delivery of an. original signed copy of this Agreement.




                            [SIGNATURE PAGE FOLLOWS]




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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed as of the date first written above by their respective officers thereunto duly
authorized.

                                                 L'ANSE WARDEN ELECTRIC
                                                 COMFA.NY, L. C

                                                 By ~~
                                                     t         ~ A
                                                 Name: --f=- }~ C L .A   -oiL 2-.j~
                                                 Title:

                                                 CONVERGEN ENERGY WI,
                                                LLC
                                                 By
                                                 Nam : regory Merle
                                                 Title: President




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                                    EXHIBIT A


                                    SEI2VICES


Desci•iption of Service:      Hansen is to provide managenient services to LWEC
                              in a manner tha.t is consistent with the services he
                              provided to LWEC immediately prior to the Closing.


End Date:                     December 3 l, 2020

Fee:                          $10,000 per month

Time Commitment:              20 hotu-s per montli

CEWI Contact:                 Ted Hansen
                              c/o Convergen Energy WI, LLC
                              600 Liberty Street
                              Green Bay, WI 54304
                              Plione No.: (920) 427-5390
                              E-mail: ted.hansen~i,convergenenergy.com
I,dVEC Contact:               Steven Brooks
                              c/o LIBRA CAPITAL US, INC.
                              134 E. 40`h Street
                              New York, NY 10016
                              Phone No.: (212) 401-9324
                              E-mail: Steven.BrooksClibra.com




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                                                                                                                                       EXHIBIT F TO COMPLAINT

                                         AYIENDED AiVD RESTATED CLOSING STATENIENT
                                                      (February 21, 2020)

SELLER:                                             CONVERGEN ENERGY LLC
BUYER:                                              NIANTICVISTA ENERGY LLC
TARGET:                                             100% 1VIEMBERSHIP INTEREST OF CONVERGEN ENERGY WI. LLC
PROPERTY:                                           Fuel Pellet Cotnpany located at 600 Libeity St, Green Bay, W I 54304
CLOSliNG DATE:                                      January 31, 2020
>'F%h>f~;k:fJ::~•lcticX=~:hk•Y.~~=~%k~==::X.CX~ktie~•ix~-kl=%kz>k:o-;F'Y,.sF1e•i%f~* -Y„%1='J,e~ ic:Y•x:~ -,X~'r,.~%c•X, #:,l•h:Fk~:;tX;;•:f~#a=.gY~;e~k



Purchase Price per Acpiiisition Aareement                                                                                                       $5,450,000.00
       Adiustnient to Ptu-chase Price
       ®       Reversal of'Hard DeBosit Discourrt                                                                                               300.000.00
       ®       Reversal of'Daae Diligence Reinibursenzent                                                                                       50,000.00
               Revised Purchase Price                                                                                                           $5,800,000.00

Credits to Buver
        WC Adiustinents - per Section 1.2(b)(vi)
               IiTitial GVCA Closire1; BalaJzce                                                                                                 (S300,94?.39)
               Modifications of' iVCA in Sellet•'s Favot•
               ®         50% of Latvia Receivable Balance (8/31/19)                                                                             175, 401.16
               ~         Total WCA Modifications in Seller's Favor                                                                              175,401.16
               ®         Final ClosinQ WCA in Btayer's Favor:                                                                                   ($125,541..27)

             Cash Adiustments - ner Section
                    ®      Reversal of WEDC Payable                                                                                             19,873.00
                    ®      Reversal of WPS Payable                                                                                              36,042.71
                    ®      Adjustinent to Closing Receivables Amount                                                                            37.043.16
                    ®      Total Cash iVlodifications in Seller's l+avor                                                                        S92,958.87

            Additional Credits to Buver
                   ®       BMO Indebtedness - per Section 1.2(b)(11)                                                                            (2,552,555.00)
                   ®       Equipment Financing Indebtedness per Section 1.2(b)(ii)                                                              (206,077.24)
                   e       Capital expenditures — per Section 1.2(b)(iii)                                                                       (377,850.31)
                   ®       Hard deposit (held by Seller)                                                                                        (1,0001000.00)
                   ®       Portion of Pnrchase Price paid to Seller at Closinty                                                                 (1,012,575.18)
                           Total Additional Credits to Buver:                                                                                   (5,149,057.73)

                         Total C'rerlit to Bctyer:                                                                                              [$5,274,598.961

BALANCE DUE TO SELLER:                                                                                                                          $618,359.91

Atlditioinal Notes:
         ®       Convergen Energy WI. LLC ("Target") actually distributed Closing cash by to Seller in
         an amount equal to 24,599.60
         ®       Seller paid to BMO loan modification closing costs in the amount of S20,000.00
         ®       This Amended and Restated Closing Stateiiient amends, restates and replaces in its
         entirety any prior closing statement relating to this transaction previously signed by Buyer and
         Seller.




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~        Buyer and Seller hereby agree that the Closing Adjustments reflected in this doctunent
shall be deemed, witliout further action, to amend the Acquisition Agreement, dated as of
January 29, 2020, as required, cntered into among Seller, Buyer aiid Target (the "Acquisition
Agreement"), to (i) conform to tei-ms of this Amended and Restated Closing Statement and (ii)
the Parties fiirther agree to modify 12.5(b)(i) ofthe Acquisition Agreement to extend the timing
of the transfer of the ConvergenEnergy.com dotnain name atid the Libra Group's use of the
"Convergen Energy" name ti•om six months to 12 montlis.
®        L'Aiise Warden Electric Company LLC ("LWEC") and Target Buyer hereby agree that
this Closing Adjustments shall be deenied, without fiirtlier action, to amend the Operations and
Management Services Agreement (the "O&M Agreement"), dated as of January 31, 2020,
between Target and LWEC to add Brian iVlikkelson as an additional consultant under the O&M
Agreement.
®        The Buyer and Seller agree that tliere will be no further adjustments or changes to this
Amended and Restated Closina Statement after the date hereof, as both Parties have confinned
that this document is now complete and accurate in all regards.
®        By signing this Amended and Restated Closing Statement each Party confinns and
ratifies that the Closing was completed on the Closing Date.
®        Other than as expressly modiFied pursuant to this Amended and Restated Closing
Statcment, all of the terms, conditions and other provisions of the Acquisition Agreement and
The O&M Agreement are hereby ratified and confirmed and sliall continue to be in full force
and effect in accordance with their respective terms. No reference to this Amended and
Restated Closing Statement need be made in any instrument or document making reference to
the Acquisition Agreement or the O&M Agreement. Any reference to the Acquisition
Agreement or the O&M Agreement, as applicable, in any such instrument or document shall be
deemed a reference to the Acquisition Agreement or the O&M Agreement, as applicable, as
anlended liereby. Li the event of any conflict or inconsistency between the provisions of the
Acquisition Agreement or the O&M Agreement, as applicable, and the provisions of this
Amended and Restated Closing Statement, the provisions of this Amended and Restated
Closing Statement shall control.
®        The parties liereto agree to take such further action as is reasonably necessary to
implement tlie provisions set fortli in this Amended and Restated Closing Statement.
®        This Amended and Restated Closing Statement may be signed in any number of
counterparts, all of which taken together shall constitute one and the same instrument. Any
party hereto may enter into this Amendment by signing any such counterpart and a facsimile
signature sball constitute an original for all puiposes and each such counterpart shall be as valid
and effectual as if executed as an original.
®        No provision of this Amended and Restated Closing Statement may be amended or
modified except by an instnmlent in writing executed by the each pf the Parties hereto.
®        Aiiy action or proceeding seeking to eiiforce any provision of, or based on any right
arising out of, this Agreement may be brought against aiiy of the parties in the courts of the
State of New York, Cotuity of New York, or, if it has or can acquire jurisdiction, in the United
States District Court for the Southern District ofNew York, and each of the parties consents to
the jurisdiction of such courts (and of the appropriate appellate courts) in any such action or
proccedin a and waives any objection to venue laid therein.

                                   (SiQnatures on Next Page)



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        IN WI'I'NESS dVHEREOF, the pat-ties hereto have executed tlus Agreement as of the date
tirst above written.




Buyei.                                             Seller

NLFINTICVISTA EI\IERGY LLC                         CONVERGEN ENERGY, I,LC,
 a Delaware limited liability company


    By:
    Name: Greg Merle
    Title:




CONVERGEN ENERGY bVI, LLC                          L'ANSE WARIIEN EL.ECTRIC
 a Delaware limited liability compaiiy             COIVII'ANY, LLC,


    BY:
    Name: Greg Merle
    Title:




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        IN 'WI'TNESS `VHEI2EOF, the parties hereto have executed tliis Agreement as of the date
first above written.



Buyer                                             Seller

NIAi'TICVISTA ENERGY LLC                          CONVERGEN ENERGY, LLC,
 a Delaware limited liabitity company             a Delaware limited liability company


    By:                                               By:
    Name: e; NIe                                      Name: Bcrt Diaz
    Title: C                                          Title: Secretary




CONVERGEiV ENERGY W1, LLC                         L'ANSE WARDEN ELECTRIC
 a Delaware limited ~ bility company              CO.M?'ANY, LLC,
                                                  a Delawrare limited liability company

    By:
    Name e,rle                                        By:
    Title: PC8SId8nt                                  Name: Bert Diaz
                                                      Title: Secretary




                                              3

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